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 Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and 25-1677
                                (Consolidated)

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE THIRD CIRCUIT
                        ––––––––––––––––––––
ATLAS DATA PRIVACY CORP., AS ASSIGNEE OF INDIVIDUALS WHO ARE COVERED
     PERSONS; JANE DOE 1, A LAW ENFORCEMENT OFFICER; JANE DOE 2,
 A LAW ENFORCEMENT OFFICER; EDWIN MALDONADO; SCOTT MALONEY;
              JUSTYNA MALONEY; PATRICK COLLIGAN;
            PETER ANDREYEV; AND WILLIAM SULLIVAN,
                                                  PLAINTIFFS-APPELLEES,
                                  v.
                           WE INFORM LLC, ET AL.
                                                      DEFENDANTS-APPELLANTS.

 On Appeal from the Order and Memorandum of the United States District Court
            for the District of New Jersey dated November 26, 2024

                       JOINT BRIEF OF APPELLANTS
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Deluxe Corp. (No. 25-1559);             Reuters Canada Limited, Thomson Reuters
PropertyRadar Inc.                      Centre GmbH, and West Publishing Corp.
(No. 25-1584); and DM Group Inc.       (No. 25-1570)
(No. 25-1558)
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           RULE 26.1 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Third Circuit

LAR 26.1.1, Defendants-Appellants make the following disclosures:

For We Inform, LLC (No. 25-1555):

      1.    We Inform, LLC’s parent corporation is WEI LLC.

      2.    There are no publicly held companies that hold 10% or more of We

            Inform, LLC’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Infomatics, LLC (No. 25-1556):

      1.    Infomatics, LLC has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of

            Infomatics, LLC’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For The People Searchers, LLC (No. 25-1557):

      1.    The People Searchers, LLC’s parent corporation is DMXH, LLC.

      2.    There are no publicly held companies that hold 10% or more of The

            People Searchers, LLC’s stock.

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       3.      There is no publicly held corporation that is not a party to the

               proceeding before this Court with any financial interest in the

               outcome of this proceeding.

For DM Group, Inc. (No. 25-1558):

       1.      DM Group, Inc. has no parent corporation.

       2.      There are no publicly held companies that hold 10% or more of DM

               Group, Inc.’s stock.

       3.      There is no publicly held corporation that is not a party to the

               proceeding before this Court with any financial interest in the

               outcome of this proceeding.

For Deluxe Corporation (No. 25-1559):

  1.        Deluxe Corporation is a publicly traded company on the New York Stock

            Exchange under the symbol DLX.

  2.        BlackRock, Inc. and Vanguard Group Inc. both own more than 10% of

            Deluxe’s stock.

  3.        There is no publicly held corporation that is not a party to the proceeding

            before this Court with any financial interest in the outcome of this

            proceeding.

For Quantarium Alliance, LLC (No. 25-1560):

       1.      Quantarium Alliance, LLC has no parent corporation.



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      2.    There are no publicly held companies that hold 10% or more of

            Quantarium Alliance, LLC’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Quantarium Group, LLC (No. 25-1560):

      1.    Quantarium Group, LLC has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of

            Quantarium Group, LLC’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Yardi Systems, Inc. (No. 25-1561):

      1.    Yardi Systems, Inc. has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of Yardi

            Systems, Inc.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.




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For Digital Safety Products, LLC (No. 25-1562); Civil Data Research, LLC
(No. 25-1563); and Scalable Commerce, LLC & National Data Analytics, LLC
(No. 25-1564):

      1.    None of these Defendants-Appellants have a parent corporation.

      2.    There are no publicly held companies that hold 10% or more of any of

            these Defendants’-Appellants’ stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Labels & Lists, Inc. (No. 25-1565):

      1.   Labels & Lists, Inc. has no parent corporation.

      2.   There are no publicly held companies that hold 10% or more

           of Labels & Lists, Inc.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Innovis Data Solutions, Inc. (No. 25-1566):

      1.    The parent corporation of Innovis Data Solutions, Inc. is CBC

            Companies, Inc., which holds 100% of Innovis Data Solutions, Inc.’s

            stock.




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      2.    CBC Companies, Inc. is privately held, and there are no publicly held

            companies that hold 10% or more of Innovis Data Solutions, Inc.’s

            stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Accurate Append, Inc. (No. 25-1567):

      1.    Accurate Append has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of

            Accurate Append, Inc.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Zillow, Inc. (No. 25-1568):

      1.    Zillow, Inc.’s parent corporation is Zillow Group, Inc.

      2.    Zillow Group, Inc. holds 10% or more of Zillow, Inc.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Zillow Group, Inc. (No. 25-1568):

      1.    Zillow Group, Inc. has no parent corporation.

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      2.    There are no publicly held companies that hold 10% or more of

            Zillow Group, Inc.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Equimine, Inc. (No. 25-1569):

      1.    Equimine, Inc. is a wholly owned subsidiary of Stewart Information

            Services Corp. (“SISCO”), a publicly held corporation traded on the

            New York Stock Exchange with the ticker “STC.”

      2.    BlackRock, Inc. owns more than 10% of SISCO’s stock.

      3.    SISCO is not a party to, but has a financial interest in the outcome of,

            this proceeding solely in its capacity as the ultimate parent company

            of Equimine, Inc.

For Thomson Reuters Corporation, Thomson Reuters Canada Limited, Thomson
Reuters Enterprise Centre GmbH, and West Publishing (No. 25-1570):

      1.    Thomson Reuters Canada Limited, Thomson Reuters Enterprise

            Centre GmbH, and West Publishing are wholly owned subsidiaries of

            Thomson Reuters Corporation, which has no parent corporation.

      2.    Thomson Reuters Corporation is a publicly held company. No other

            publicly held companies hold 10% or more of Thomson Reuters

            Corporation’s outstanding stock. No other publicly held corporation


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            directly or indirectly owns 10% or more of Thomson Reuters Canada

            Limited, Thomson Reuters Enterprise Centre GmbH, and West

            Publishing.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Melissa Data Corp (No. 25-1571):

      1.    Melissa Data Corporation has no parent corporation.

      2.    There are no publicly held companies that hold stock in Melissa Data

            Corporation.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Restoration of America, Inc. (No. 25-1572):

      1.    Restoration of America, Inc. has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of

            Restoration of America Inc.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.



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For Voter Reference Foundation LLC (No. 25-1572):

     1.    Voter Reference Foundation LLC is wholly owned by Restoration of

           America, Inc.

     2.    There are no publicly held companies that hold 10% or more of Voter

           Reference Foundation LLC’s stock.

     3.    There is no publicly held corporation that is not a party to the

           proceeding before this Court with any financial interest in the

           outcome of this proceeding.

For i360, LLC (No. 25-1573):

     1.    Koch, Inc. is the parent corporation of i360, LLC. Koch, Inc. is a

           privately held corporation.

     2.    There are no publicly held companies that hold 10% or more of i360,

           LLC’s stock.

     3.    There is no publicly held corporation that is not a party to the

           proceeding before this Court with any financial interest in the

           outcome of this proceeding.

For GoHunt, LLC (No. 25-1574):

     1.    GoHunt, LLC has no parent corporation.

     2.    There are no publicly held companies that hold 10% or more of

           GoHunt, LLC’s stock.



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      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For GoHunt Management Holdings, LLC (No. 25-1574):

      1.    GoHunt Management Holdings, LLC has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of

            GoHunt Management Holdings, LLC’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For GoHunt Management Holdings II, LLC (No. 25-1574):

      1.    GoHunt Management Holdings II, LLC has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of

            GoHunt Management Holdings II, LLC’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For AccuZip, Inc. (No. 25-1575):

      1.    AccuZip, Inc. has no parent corporation.




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      2.    There are no publicly held companies that hold 10% or more of

            AccuZip, Inc.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Synaptix Technology, LLC (No. 25-1576):

      1.    Synaptix Technology, LLC is wholly owned by its parent corporation,

            Synaptix Group LLC.

      2.    There are no publicly held companies that hold 10% or more of

            Synaptix Technology, LLC’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Joy Rockwell Enterprises, Inc. (No. 25-1577):

      1.    Joy Rockwell Enterprises, Inc. has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of Joy

            Rockwell Enterprises, Inc.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.



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For Fortnoff Financial, LLC (No. 25-1578):

      1.    Fortnoff Financial, LLC has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of

            Fortnoff Financial, LLC’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For eMerges.com, Inc. (No. 25-1580):

      1.    eMerges.com, Inc. has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of

            eMerges.com, Inc.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Nuwber, Inc. (No. 25-1581):

      1.    Nuwber, Inc. has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of

            Nuwber, Inc.’s stock.




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      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For RocketReach LLC (No. 25-1582):

      1.    RocketReach LLC has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of

            RocketReach LLC’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Belles Camp Communications, Inc. (No. 25-1583):

      1.    Belles Camp Communications, Inc. (“Belles Camp”) has no parent

            corporation.

      2.    There are no publicly held companies that hold 10% or more of Belles

            Camp’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For PropertyRadar, Inc. (No. 25-1584):

      1.    PropertyRadar, Inc. has no parent corporation.



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      2.    There are no publicly held companies that hold 10% or more of

            PropertyRadar, Inc.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For The Alesco Group, L.L.C. (improperly pled as Alesco AI, LLC, Alesco
Marketing Solutions, L.L.C., Stat Resource Group Inc., and Response Solutions
Group, LLC) (No. 25-1585):

      1.    The Alesco Group, L.L.C. has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of The

            Alesco Group, L.L.C.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Searchbug, Inc. (No. 25-1586):

      1.    Searchbug, Inc. has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of

            Searchbug, Inc.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.



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For Amerilist, Inc. (No. 25-1587):

      1.    Amerilist, Inc. has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more

            of Amerilist, Inc.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For US Data Corporation (No. 25-1588):

      1.    US Data Corporation has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of US

            Data Corporation’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Smarty, LLC (No. 25-1589):

      1.    Smarty, LLC, d/b/a SmartyStreets, LLC (“Smarty, LLC”), has no

            parent corporation.

      2.    There are no publicly held companies that hold 10% or more of

            Smarty, LLC’s stock.




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      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Compact Information Systems, LLC (No. 25-1590):

      1.    Compact Information Systems, LLC has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of

            Compact Information Systems, LLC’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Accudata Integrated Marketing, Inc. (No. 25-1590):

      1.    Compact Information Systems, LLC is the parent corporation of

            Accudata Integrated Marketing, Inc.

      2.    There are no publicly held companies that hold 10% or more of

            Accudata Integrated Marketing, Inc.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.




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For Alumnifinder (No. 25-1590):

      1.    Accudata Integrated Marketing, Inc. is the parent corporation of

            Alumnifinder.

      2.    There are no publicly held companies that hold 10% or more of

            Alumnifinder’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For ASL Marketing, Inc. (No. 25-1590):

      1.    Compact Information Systems, LLC is the parent corporation of ASL

            Marketing, Inc.

      2.    There are no publicly held companies that hold 10% or more of ASL

            Marketing, Inc.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For College Bound Selection Service (No. 25-1590):

      1.    ASL Marketing, Inc. is the parent corporation of College Bound

            Selection Service.

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     2.    There are no publicly held companies that hold 10% or more of

           College Bound Selection Service’s stock.

     3.    There is no publicly held corporation that is not a party to the

           proceeding before this Court with any financial interest in the

           outcome of this proceeding.

For Deepsync Labs (No. 25-1590):

     1.    Compact Information Systems, LLC is the parent corporation of

           Deepsync Labs.

     2.    There are no publicly held companies that hold 10% or more of

           Deepsync Lab’s stock.

     3.    There is no publicly held corporation that is not a party to the

           proceeding before this Court with any financial interest in the

           outcome of this proceeding.

For Homedata (No. 25-1590):

     1.    Compact Information Systems, LLC is the parent corporation of

           Homedata.

     2.    There are no publicly held companies that hold 10% or more of

           Homedata’s stock.




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      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Student Research Group (No. 25-1590):

      1.    Compact Information Systems, LLC is the parent corporation of

            Student Research Group.

      2.    There are no publicly held companies that hold 10% or more of

            Student Research Group’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For DarkOwl LLC (No. 25-1591):

      1.    DarkOwl LLC has no parent corporation.

      2.    There are no publicly held companies that hold 10% or more of

            DarkOwl LLC’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.

For Spy Dialer, Inc. (No. 25-1592):

      1.    Spy Dialer, Inc. has no parent corporation.



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      2.     There are no publicly held companies that hold 10% or more of Spy

             Dialer, Inc.’s stock.

      3.     There is no publicly held corporation that is not a party to the

             proceeding before this Court with any financial interest in the

             outcome of this proceeding.

For Lighthouse List Company, LLC. (No. 25-1593):

      1.     Lighthouse List Company, LLC has no parent corporation.

      2.     There are no publicly held companies that hold 10% or more of

             Lighthouse List Company, LLC’s stock.

      3.     There is no publicly held corporation that is not a party to the

             proceeding before this Court with any financial interest in the

             outcome of this proceeding.

For First Direct, Inc. (No. 25-1676):

      1.     First Direct, Inc. has no parent corporation.

      2.     There are no publicly held companies that hold 10% of more of First

             Direct, Inc.’s stock.

      3.     There is no publicly held corporation that is not a party to the

             proceeding before this Court with any financial interest in the

             outcome of this proceeding.




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For Greenflight Venture Corp. (No. 25-1677):

      1.    Greenflight Venture Corp. has no parent corporation.

      2.    There are no publicly held companies that hold 10% of more of

            Greenflight Venture Corp.’s stock.

      3.    There is no publicly held corporation that is not a party to the

            proceeding before this Court with any financial interest in the

            outcome of this proceeding.




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                        JURISDICTIONAL STATEMENT

      The district court has jurisdiction over the cases consolidated in this appeal

under 28 U.S.C. § 1332. JA091. On November 26, 2024, the district court denied

Defendants’ motion to dismiss. JA080. On December 2, the district court sua

sponte certified that order for appeal under 28 U.S.C. § 1292(b). JA131. On

December 12, Defendants filed a petition to appeal, which this Court granted on

March 18, 2025. JA014.




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                       STATEMENT OF THE ISSUE

      Whether N.J.S.A. 56:8-166.1, a section of New Jersey’s Daniel’s Law,

facially violates the First Amendment. JA089-122.




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                     STATEMENT OF RELATED CASES

      These cases have not been before this Court previously. The Court

previously considered petitions to appeal in Case Nos. 24-8044, 24-8045, and

24-8048. Those remanded cases are now before New Jersey state courts. The

Court also considered a petition to appeal in Case No. 24-8046. That case is not

part of this appeal and is currently before the district court. Atlas Data Privacy

Corp. v. Delvepoint, LLC, No. 24-cv-4096-HB (D.N.J.). Defendants are aware of

two other related cases now before the district court. Atlas Data Privacy Corp. v.

PeopleWhiz, Inc., No. 25-cv-237-HB (D.N.J); Atlas Data Privacy Corp. v.

Innovative Web Solutions, LLC, No. 25-cv-1535-HB (D.N.J.).

      In addition, based on information and belief, the Plaintiffs in the cases

consolidated in this appeal are pursuing more than 100 other cases alleging

violations under Daniel’s Law in various New Jersey state courts.




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                          STATEMENT OF THE CASE

I.    Preliminary Statement

      This appeal centers on a state law that restricts fully protected speech based

on its content. The law thus poses a facial affront to the First Amendment. In

upholding the law, the district court strayed from venerable constitutional

principles and bedrock precedent. That ruling should be reversed.

      In a well-intentioned effort to protect the safety of judges, law enforcement

officials, and their family members, New Jersey enacted Daniel’s Law. The Law

grants covered persons the authority to bar private entities and individuals from

ever “disclosing” their home addresses and “unpublished” home telephone

numbers – in any way to any person in any circumstance, including when the

disclosure would pose no ascertainable risk to a covered person’s safety. Notably,

this ban applies even if the same information is made public elsewhere – through

government websites, from other entities, or by covered persons themselves. The

Law mandates that private entities comply with notices barring disclosure within

ten business days, without exception. If they do not, the Law imposes harsh

penalties.

      The Law was not always so broad. Two years ago, it was amended without

any justification in the legislative record. The amendment removed a requirement

that the State verify persons’ eligibility for the Law’s protections before they could



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send notices barring private entities’ disclosures, leaving those entities with no

mechanism to determine whether a person is actually covered by the Law. At the

same time, the State enacted severe consequences for any entity that does not

comply with the rigid ten-day deadline: a new mandatory award for actual

damages of at least $1,000 per violation, along with mandatory attorney’s fees and

possible punitive damages. Compounding the magnitude of those changes, the

amendment allowed covered persons to assign their claims to third parties, who

can aggregate claims and prosecute them en masse. Atop all this, the Law now

imposes liability without requiring any degree of fault, punishing even disclosures

that are inadvertent or accidental.

      The result is a chill on speech necessary to a functioning society and a

potential windfall for the plaintiff’s bar. The 40 cases consolidated for this appeal

were commenced by a corporation that, after lobbying for these legislative

changes, now allegedly holds the right to assert claims of over 19,000 individuals.

It sought to harness the newly amended Law’s unique combination of speech-

restrictive tools to overwhelm each Defendant with thousands of nondisclosure

notices. It then brought hundreds of thousands of claims against Defendants that

pose the specter of hundreds of millions of dollars in statutory damages.

      When Defendants challenged Daniel’s Law on First Amendment grounds,

the district court mostly agreed with them. It rejected Plaintiffs’ contention that



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the Law does not regulate speech. It likewise rejected Plaintiffs’ argument that the

Law concerns commercial speech. And it recognized that a strict-liability

restriction on speech would be unconstitutional.

      In a surprising twist, however, the court declined to subject the Law to strict

scrutiny and instead upheld it as a rare breed of content-based regulation that can

constitutionally punish truthful, protected speech. Then, to save its

constitutionality, the court rewrote the Law to add a mens rea requirement, despite

the Legislature’s amendment removing any culpability standard. These aberrant

holdings break from settled constitutional law.

      As a content-based restriction on speech, Daniel’s Law must withstand strict

scrutiny. No one challenges the State’s interest in protecting the security of

covered persons whose safety might be at risk. Yet, good intentions alone do not

suffice. The Law must be narrowly tailored and use the least restrictive means to

achieve that worthy goal. The Law’s unprecedented sweep in banning and

punishing all disclosures of any kind by private entities, while continuing to permit

disclosures of the same information in public records and by covered persons

themselves, is ill-tailored to serve the State’s interest. Less restrictive alternatives

abound. Indeed, they are evident in prior versions of New Jersey’s Law and laws

enacted around the country addressing the same concern. Foundational First

Amendment precedent instructs the government to take maximum care before



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trespassing on the most constitutionally sensitive terrain, yet New Jersey jettisoned

these more restrained approaches without explanation.

      Because content-based regulations like Daniel’s Law do what the First

Amendment expressly forbids, strict judicial scrutiny is required to ensure that

such a law extends no further than is absolutely essential. Daniel’s Law does not

come close to satisfying that scrutiny and should be held facially unconstitutional.

II.   The Vital Role and Historical Availability of Home Addresses and
      Phone Numbers

      Home addresses and telephone numbers have been considered public

information for centuries. Since before this country’s founding, home addresses

have been publicly recorded. In the early 1600s, Massachusetts enacted the first

recording law. See Dean Arthur R. Gaudio, Electronic Real Estate Records: A

Model for Action, 24 W. NEW ENG. L. REV. 271, 272, 314 n.4 (2002). “By the

Revolution, every English colony had adopted statutes requiring that parties to a

mortgage record their names and a description of the property in [a] public office

designed for that purpose.” Christopher L. Peterson, Foreclosure, Subprime

Mortgage Lending, and the Mortgage Electronic Registration System, 78 U. CIN.

L. REV. 1359, 1364 (2010); see, e.g., Burton v. Tuite, 44 N.W. 282, 285 (Mich.

1889) (recognizing right “to examine the title of my neighbor’s property” as well

as “any title . . . recorded in the public offices”). Since then, the public availability

of title information has been “nearly universal and uninterrupted.” Peterson,


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supra, at 1364. Names and addresses also are published in voter rolls, a

tradition dating back to an English law passed in 1696. See Parliamentary

Elections Act of 1695, 7 & 8 Will. III c. 25, available at

http://bit.ly/3G2bcdn. The first similar law in the United States was enacted in

Massachusetts in 1800. See 1800 Mass. Acts ch. 74 (requiring voter rolls to be

published), available at https://bit.ly/3EfbQUe. Such laws became widespread to

combat election fraud and facilitate political canvassing by the late 1800s and early

1900s. Joseph P. Harris, REGISTRATION OF VOTERS IN THE UNITED STATES 65, 89-

92, 169-70, 179 (1929) (describing public distribution and availability). Just as

addresses have long been a matter of public record, so too have telephone numbers,

with telephone directories becoming “a ubiquitous part of American life, found in

virtually every household and office.” Dex Media W., Inc. v. City of Seattle, 696

F.3d 952, 953 (9th Cir. 2012).

      Throughout history, this information has served important purposes. It has

permitted transfers of property, facilitated the exchange of goods and services, and

enabled people to communicate with each other. Today, as the district court

recognized below, this information continues to serve myriad purposes “necessary”

for “society to function.” JA112. For instance, it allows financial institutions to

detect fraud, businesses to conduct credit checks, advocacy groups to canvass for

causes, and law enforcement agencies to investigate crimes. See infra at 15-16.



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For this reason, New Jersey law has long required this information to be publicly

available. It is against this historical backdrop that this case proceeds.

III.   New Jersey’s Daniel’s Law

       In July 2020, Judge Esther Salas’s son Daniel was murdered at the family’s

home. In response to that horrific tragedy, the New Jersey Legislature enacted

Daniel’s Law to “enhance the safety and security” of judges, law enforcement

officers, and other government officials. 2020 N.J. Sess. Law Serv. Ch. 125.

Daniel’s Law sought to achieve this laudable objective by carving out an

exemption to the historically free exchange of addresses and phone numbers.

Specifically, the State enacted a mechanism for covered officials and certain

family members to restrict disclosure of their contact information. Although the

Law nominally applies to disclosures by both private and government entities, it

imposes far greater restrictions on private entities’ speech. Subsequent

amendments to the Law have compounded those restrictions.

       A.    The Law’s Rigid Restrictions on Disclosures by Private Entities

       Daniel’s Law allows “any covered person” – defined to include current and

former judges, law enforcement officers, and certain other public officials, as well as

immediate family members residing in the same household – to “prohibit the

disclosure of the[ir] home address or unpublished home telephone number” by any

“person, business, or association.” N.J.S.A. 56:8-166.1(a)(2), (d). The Law



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provides that, upon receipt of “written notice” that a covered person “is seeking

nondisclosure,” the recipient “shall not disclose or re-disclose on the Internet or

otherwise make available” the covered person’s information. N.J.S.A. 56:8-

166.1(a)(1), (2).

      The Law broadly defines “disclose” as “to solicit, sell, manufacture, give,

provide, lend, trade, mail, deliver, transfer, post, publish, distribute, circulate,

disseminate, present, exhibit, advertise, or offer.” N.J.S.A. 56:8-166.1(d). The

definition also includes making information “available or viewable within a

searchable list or database, regardless of whether a search of such list or database is

actually performed.” Id. The Law’s restrictions are not limited to information

publicly posted on the Internet; they apply to any disclosure for any reason

whatsoever, without exception. N.J.S.A. 56:8-166.1(a)(2).

        Daniel’s Law does not specify how a nondisclosure notice is to be made,

 other than that it must be “written” and provided by someone “authorized” to do

 so. N.J.S.A. 56:8-166.1(a)(2). The Law does not require, or provide any

 mechanism for, verification that the person seeking nondisclosure is actually a

 “covered person.” And it demands compliance “not later than 10 business days

 following receipt” of a notice, without exception. N.J.S.A. 56:8-166.1(a)(1).

        If the ten-day deadline is not met, “the covered person or the covered

 person’s assignee” can “bring a civil action.” N.J.S.A. 56:8-166.1(b). The Law



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 provides that a “court shall award” “actual” damages “not less than” “$1,000

 for each violation,” which it calls “liquidated damages.” N.J.S.A. 56:8-166.1(c)

 (emphasis added). The Law imposes these damages on a strict-liability basis.

 The Law also provides mandatory awards for attorney’s fees and litigation costs.

 Id. And, it provides for “punitive damages upon proof of willful or reckless

 disregard of the law.” Id.

      The provisions authorizing civil actions reached their current form in several

steps. The original version of Daniel’s Law provided two kinds of claims. One

applied where recipients of nondisclosure notices did not comply, similar to the

Law’s current claim. That claim allowed covered persons to seek an injunction

requiring compliance and recover fees and costs if successful. 2020 N.J. Sess. Law

Serv. Ch. 125, § 7. The other claim allowed recovery of money damages, but only

if “a reasonable person would believe that providing that information would

expose another to harassment or risk of harm to life or property.” Id. § 6.

      In 2021, the Legislature changed the Law to remove the fault standard and

create a single notification-based claim, which provided a court “may” award

$1,000 in “liquidated damages” for violations. 2021 N.J. Sess. Law Serv. Ch. 371,

§ 8. The Legislature also added a requirement that a covered person obtain

“approval from the [New Jersey] Office of Information Privacy” before submitting




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a notice, thereby protecting against abusive requests and enabling recipients to

verify a person’s eligibility for coverage. Id.

      In 2023, the Legislature amended the provisions governing civil actions in

three ways, each of which paved the path for the present litigation, filed just over

six months later:

            First, the Legislature removed the discretionary element of the

      damages provision, changing “may” to “shall.”

            Second, it eliminated the requirement that a covered person obtain

      approval from the State before submitting a nondisclosure notice.

            Third, it permitted covered persons to assign their claims for money

      damages.

2023 N.J. Sess. Law Serv. Ch. 113, § 6. The Legislature did not explain its

rationale for broadening the Law in any of these respects.

      B.      The Law’s Permissive Regulation of Disclosures by Public Entities

      New Jersey’s stringent mandate imposed on private entities stands in stark

contrast to the lax treatment of information held by government agencies. Daniel’s

Law allows covered persons to seek redaction of their addresses (but not their

phone numbers) from specified public records. N.J.S.A. 47:1B-2. That process

requires requests to be made to the Office of Information Privacy, which has no

deadline to review and approve the requests. Id. If approved, public agencies have


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30 days to comply. Id. If they do not comply, covered persons have no recourse to

require compliance, and there is no civil remedy. Id.

      The Law also includes many exceptions that allow government agencies to

disclose covered persons’ information to other agencies, to private actors, and in

public records on the Internet, even after requests for redaction are approved.

N.J.S.A. 47:1B-3. For example, records held by public agencies “evidencing any

lien, judgement, or other encumbrance upon real or other property” are not subject

to requests for redaction or nondisclosure. N.J.S.A. 47:1B-3(a)(4)(d). Similarly, a

title insurance company, real estate broker, or title search company may obtain

from a public agency, unredacted, “a document affecting the title to real property”

and then disclose that information in their ordinary course of business – even if

they have received a nondisclosure notification from a covered person. N.J.S.A.

47:1B-3(a)(2); N.J.S.A. 56:8-166.1(e).

      Notably, Daniel’s Law does not require a covered person to provide a

nondisclosure request to public agencies before, or after, providing a nondisclosure

notice to private entities. Thus, covered persons can pursue civil actions against

private entities that receive nondisclosure notices, despite their information

remaining publicly available online through governmental sources or their own

online postings.




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IV.   Atlas and This Litigation

      Atlas Data Privacy Corporation is a Delaware company that “owns and

operates an online platform” designed to facilitate the removal of covered persons’

information from the Internet. JA099. It was incorporated in April 2021, shortly

after the original version of Daniel’s Law was passed. JA795.1 As early as spring

2023, Atlas solicited members of New Jersey police unions for its services.

JA798. At the same time, its lawyers in this litigation lobbied the Legislature for

the amendments making Atlas’s claims here possible.2 Atlas subsequently

received money from investors to fund this litigation. E.g., JA149.

      Atlas leveraged the amended legislation to build its business model, as

reflected in the Terms of Service governing covered persons’ use of the Atlas

platform. JA801-13. Under the Terms, Atlas “schedule[s] the delivery dates of

[customers’] takedown notices” and can “batch[] notices” for “delivery.” Id. The

Terms require Atlas’s customers to “irrevocably assign[]” to Atlas “all of [their]


1
 The Court may take judicial notice of the public records, as well as materials and
websites referenced in Plaintiffs’ Complaints, cited herein. See Anspach ex rel.
Anspach v. City of Phila. Dep’t of Pub. Health, 503 F.3d 256, 273 n.11 (3d Cir.
2007); In re Burlington Coat Factory Sec. Litig., 114 F.3d 1410, 1426 (3d Cir.
1997).
2
 Specifically, attorneys from Genova Burns LLC (who are now at PEM Law LLP)
were registered lobbyists for Atlas in New Jersey, JA781, and one of the Boies
Schiller attorneys representing Atlas touts his “work[] on amendments to Daniel’s
Law in New Jersey in 2022 and 2023,” https://www.bsfllp.com/people/mark-
mao.html.

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rights to bring a claim (and seek damages . . .) for violations” under Daniel’s Law.

JA806. Atlas can unilaterally “trigger” this assignment at its “discretion.” Id. If

Atlas decides to bring “civil litigation,” the Terms authorize “individual claims . . .

[to be] aggregated and prosecuted by Atlas.” Id.

         Starting around Christmas in 2023, approximately 150 companies were sent

thousands of emails within seconds of each other demanding nondisclosure under

Daniel’s Law – all from addresses with an “Atlasmail” domain, and none

containing information demonstrating persons were “covered” under the Law.

E.g., JA550-51. Then, in February 2024, Atlas and several individuals filed

approximately 150 nearly identical lawsuits in state court, purportedly based on

assignments from over 19,000 covered persons, alleging violations of the Law.

E.g., JA541.3

         The lawsuits consolidated in this appeal name as Defendants an array of

entities that provide contact information for a range of uses central to the economy,

political process, and public safety. These uses include credit reporting regulated

under the Fair Credit Reporting Act;4 real estate transactions;5 business-to-business



3
  In some complaints, the alleged number of assignors is less than 19,000. See,
e.g., JA520 (alleging assignment of 14,476 claims).
4
    See https://innovis.com, cited in JA572.
5
    See https://www.zillow.com, cited in JA526.

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direct-mailing and marketing;6 threat intelligence services;7 background

information used by law enforcement officials for criminal investigations, courts

for use in cases, law firms for service of process, and financial institutions for

fraud prevention;8 address autocomplete functions for business websites using data

from the U.S. Postal Service;9 and dissemination of voter information to political

campaigns, government offices, news outlets, and universities,10 and by advocacy

groups seeking to ensure transparent and fair elections.11

         The complaints allege Defendants violated Daniel’s Law by failing to cease

disclosing thousands of covered persons’ information within ten business days of

Atlasmail notifications being sent. JA552. For each violation, the complaints seek

“liquidated damages,” attorney’s fees, costs, and punitive damages. JA553. In

total, the lawsuits consolidated in this appeal involve hundreds of thousands of

claims with the potential for hundreds of millions of dollars in liquidated damages

alone.



6
    See https://www.directmail.com, cited in JA548.
7
    See https://www.darkowl.com, cited in JA595.
8
    See https://legal.thomsonreuters.com/en/products/clear, cited in JA622.
9
    See https://www.smarty.com, cited in JA646.
10
     See https://www.emerges.com, cited in JA671.
11
     See https://voteref.com/Content/AboutUs, cited in JA695.

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V.    The District Court’s Ruling

      The lawsuits involved in this appeal were removed to federal court.

Following the district court’s direction for sequencing the litigation, JA718-20,

Defendants filed a consolidated motion to dismiss solely on the ground that

Daniel’s Law is facially unconstitutional. Defendants argued that the Law facially

violates the First Amendment because, inter alia, it is (1) a content-based restriction

on protected speech that cannot satisfy strict scrutiny, and (2) a strict-liability

statute that regulates truthful speech without any culpability standard.

      The district court denied the motion. JA080. The court agreed with

Defendants that Daniel’s Law is a content-based restriction on non-commercial

speech, but nevertheless held it was not subject to strict scrutiny. JA104, 108-09.

The court concluded the Law is exempt from strict scrutiny because it protects

covered persons’ “right to privacy,” JA106-08, and, in the court’s view, “privacy

laws” are assessed under a different test set forth in Florida Star v. B.J.F., 491 U.S.

524 (1989), and Smith v. Daily Mail Publishing Co., 443 U.S. 97 (1979). JA108-

09. The district court held the Law passed this test, reasoning that “the distinctions”

Daniel’s Law makes between private and government entities “are sound – not

arbitrary or discriminatory,” and that, although New Jersey could have made

different policy choices, “the perfect is not the enemy of the good.” JA109-13.




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      The district court also recognized that the Law’s text does not include a mens

rea requirement and acknowledged that imposing strict liability would be

unconstitutional. JA118. To save the Law, the court read a “negligence standard”

into it, holding liability can be imposed “only if a defendant unreasonably disclosed

or made available the home addresses and unlisted telephone numbers of covered

persons after the statutory deadline had expired.” JA119-20.

      The district court sua sponte certified its order for immediate appeal, JA131,

and this Court granted Defendants’ Petition seeking interlocutory review, agreeing

to hear this appeal on an expedited basis.

                            SUMMARY OF ARGUMENT

      The current version of Daniel’s Law is facially unconstitutional. The district

court correctly held that Daniel’s Law – a direct prohibition on what people can

say about certain public officials – is a content-based restriction on noncommercial

speech. But, the court then took a series of missteps, leading it down various paths

foreclosed by longstanding First Amendment jurisprudence.

      I.       Daniel’s Law is subject to – and fails – strict scrutiny. Like all

content-based restrictions on speech, the Law must be “narrowly tailored to further

a compelling government interest.” Reed v. Town of Gilbert, 576 U.S. 155, 172

(2015). While Defendants do not dispute that the State’s interest in enhancing the

safety of covered persons is compelling, the Legislature must pursue that goal



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through the least restrictive means, curtailing as little speech as possible. The Law

does not do so.

      In its current form, Daniel’s Law is both “seriously underinclusive” and

“seriously overinclusive.” Brown v. Ent. Merchs. Ass’n, 564 U.S. 786, 805 (2011).

The Law paints with far too broad a brush, imposing liability for every conceivable

disclosure, regardless of why, how, where, or to whom the information is made

available. It also applies without regard to the information’s source, prohibiting

even republication of information available in public records. Meanwhile, the Law

allows the government, and covered persons themselves, to continue disclosing the

same information publicly, undermining the Law’s purpose. The Legislature could

have adopted numerous alternatives that would be both less burdensome on speech

and more likely to advance the safety interest, as evidenced by prior versions of the

Law and other laws around the country pursuing its identical purpose in a less

speech-restrictive manner.

      II.    The district court’s error in holding that Daniel’s Law need not

withstand strict scrutiny stemmed from its view that the Law protects against an

“invasion of privacy.” JA105-06. But there is no “privacy” exemption to strict

scrutiny. Even if there were, Daniel’s Law would not qualify, as the information it

restricts is not actually private and has long been a matter of public record. In any

event, the district court did not apply the Daily Mail test correctly. Instead, it



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employed a watered-down version, akin to rational basis review, conducting only a

superficial analysis of the Law’s underinclusiveness and no analysis of its breadth.

Under the correct application of that exacting test, the Law would fail.

      III.   Although the district court correctly held that a strict-liability

restriction on speech would be unconstitutional, it swept aside the Law’s lack of a

fault standard and wrote in its own standard. That revision is contrary to precedent

from both the United States and New Jersey Supreme Courts, which forbids courts

from rewriting unambiguous statutes. Making matters worse, the standard the

district court created is fundamentally insufficient to address the Law’s

constitutional defect.

                            STANDARD OF REVIEW

        This Court reviews a district court’s decision on a motion to dismiss de

 novo. Taksir v. Vanguard Grp., 903 F.3d 95, 96 (3d Cir. 2018). Further, the

 constitutionality of a statute is subject to “plenary review.” Delaware Strong

 Families v. Att’y Gen. of Delaware, 793 F.3d 304, 307 (3d Cir. 2015).

                                    ARGUMENT

I.    DANIEL’S LAW IS A CONTENT-BASED SPEECH RESTRICTION
      THAT CANNOT WITHSTAND STRICT SCRUTINY.

      Daniel’s Law is a content-based restriction on fully protected speech. Such

laws are “presumptively unconstitutional” and cannot survive a facial challenge

unless they withstand strict scrutiny. Reed, 576 U.S. at 163. Under strict scrutiny,


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the government bears the burden of establishing that the restriction both “furthers a

compelling interest” and “is narrowly tailored to achieve that interest.” Id. at 171.

A law is narrowly tailored only if the government has chosen the “least restrictive

means among available, effective alternatives.” Camp Hill Borough Republican

Ass’n v. Borough of Camp Hill, 101 F.4th 266, 271 (3d Cir. 2024). Strict scrutiny

presents a “daunting burden.” Schrader v. Dist. Att’y of York Cnty., 74 F.4th 120,

127 (3d Cir. 2023). Consequently, “[i]t is rare that a regulation restricting speech

because of its content will ever be permissible.” Brown, 564 U.S. at 799.

      This case presents a facial constitutional challenge. Outside the First

Amendment context, a litigant “bringing a facial challenge must establish that no

set of circumstances exists under which the [law] would be valid,” or “show that

the law lacks a plainly legitimate sweep.” Ams. for Prosperity Found. v. Bonta,

594 U.S. 595, 615 (2021) (cleaned up). To “provide[] breathing room for free

expression,” however, the Supreme Court has substituted a “less demanding”

standard for facial First Amendment challenges. Moody v. NetChoice, LLC, 603

U.S. 707, 723 (2024) (cleaned up). To succeed on a First Amendment challenge, a

litigant must show that “a substantial number of [the law’s] applications are

unconstitutional, judged in relation to [its] plainly legitimate sweep.” Bonta, 594

U.S. at 615 (cleaned up). Regardless, a law that fails strict scrutiny is, by

definition, facially unconstitutional: “Where a statute fails the relevant



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constitutional test (such as strict scrutiny . . . ), it can no longer be constitutionally

applied to anyone – and thus there is ‘no set of circumstances’ in which the statute

would be valid.” Bruni v. City of Pittsburgh, 824 F.3d 353, 363 (3d Cir. 2016)

(cleaned up).

       While Daniel’s Law is motivated by good intentions, its current version is

not one of the rare laws that can survive strict scrutiny. That is not to say New

Jersey is powerless to protect covered persons. It simply must do so through a

properly tailored law. Daniel’s Law, as amended, is not. Indeed, New Jersey’s

Law is broader than similar statutes in other states and broader still than analogous

laws that have been struck down. See Brayshaw v. City of Tallahassee, 709 F.

Supp. 2d 1244 (N.D. Fla. 2010) (prohibition on maliciously disseminating law

enforcement officers’ addresses and phone numbers); Sheehan v. Gregoire, 272 F.

Supp. 2d 1135 (W.D. Wash. 2003) (prohibition on releasing information relating to

law enforcement or court personnel, including their addresses and phone numbers,

with intent to harm). The same result should follow here.

       A.     Daniel’s Law Is Subject to Strict Scrutiny.

       Daniel’s Law prevents private entities from disclosing covered persons’

home addresses and unpublished phone numbers. It thus is a content-based

restriction on speech subject to strict scrutiny.




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      Plaintiffs argued below that Daniel’s Law regulates data, not speech. The

district court “quickly dispose[d]” of that argument, correctly ruling that the

disclosure of addresses and phone numbers is speech. JA100-01. As the Supreme

Court has recognized, “dissemination of information” constitutes speech under the

First Amendment. Sorrell v. IMS Health Inc., 564 U.S. 552, 570 (2011). “Facts,

after all, are the beginning point for much of the speech that is most essential to

advance human knowledge and to conduct human affairs.” Id.

      Here, as the district court also correctly recognized, the Law’s speech

restriction “clearly regulates particular subject matter” – covered persons’

addresses and unpublished phone numbers. JA104. The Supreme Court has

repeatedly held that any law “targeted at specific subject matter is content based.”

Reed, 576 U.S. at 169; see also City of Austin v. Reagan Nat’l Advertising of

Austin, LLC, 596 U.S. 61, 71 (2022) (same); Sorrell, 564 U.S. at 564 (law is

content based because it “disfavors marketing, that is, speech with a particular

content”). Daniel’s Law’s prohibition on the disclosure of covered persons’

addresses and phone numbers is the “paradigmatic example of content-based

discrimination” – it “singles out specific subject matter for differential treatment.”

Reed, 576 U.S. at 169.

      For this reason, courts across the country uniformly have held that statutes

designed to restrict the dissemination of public officials’ contact information are



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content-based restrictions on speech. See Publius v. Boyer-Vine, 237 F. Supp. 3d

997, 1012-13 (E.D. Cal. 2017); Brayshaw, 709 F. Supp. 2d at 1249-50; Sheehan,

272 F. Supp. 2d at 1146; see also IMDb.com v. Becerra, 962 F.3d 1111, 1120 (9th

Cir. 2020) (law restricting “dissemination of ‘date of birth or age information’”).

      To be sure, commercial speech presents a limited exception to strict scrutiny.

When solely commercial speech is at issue – i.e., speech that does “no more than

propose a commercial transaction,” Harris v. Quinn, 573 U.S. 616, 648 (2014) –

intermediate scrutiny is appropriate. Cent. Hudson Gas & Elec. Corp. v. Pub.

Serv. Comm’n, 447 U.S. 557, 564 (1980). But, as the district court properly held,

the speech restricted by Daniel’s Law “certainly does not propose a commercial

transaction.” JA103. It makes no difference that certain Defendants might have an

“economic motivation” for disclosing covered persons’ information, as such

motivation is “clearly [] insufficient by itself to turn [the speech] into commercial

speech.” Bolger v. Youngs Drug Prods. Corp., 463 U.S. 60, 67 (1983). Indeed,

courts routinely hold that dissemination of addresses and phone numbers, even by

for-profit businesses, constitutes non-commercial speech. See, e.g., Dex Media W.,

696 F.3d at 962 (phone numbers and community information in telephone

directory); Vrdolyak v. Avvo, Inc., 206 F. Supp. 3d 1384, 1386, 1389 (N.D. Ill.

2016) (attorney profile website containing addresses and phone numbers); cf.

IMDb.com, 962 F.3d at 1122 (online database containing ages and dates of birth).



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      Accordingly, under well-established precedent, the Law’s content-based

restrictions on non-commercial speech must face strict scrutiny. The district court

erred in declining to apply that stringent test.

      B.     Daniel’s Law Fails Strict Scrutiny.

      While the safety interest underlying Daniel’s Law is compelling, that does

not “end the matter.” United States v. Alvarez, 567 U.S. 709, 725 (2012). As the

Supreme Court has instructed, “[a] law that is content based on its face is subject to

strict scrutiny regardless of the government’s benign motive.” Reed, 576 U.S. at

156. Thus, like all content-based restrictions, Daniel’s Law is still “presumptively

unconstitutional.” Id. at 163. The regime enacted by New Jersey cannot stand

unless it is narrowly tailored and deploys the least restrictive means to achieve its

safety interest. Id. The Law must employ “means that are neither seriously

underinclusive nor seriously overinclusive.” Brown, 564 U.S. at 805. Daniel’s

Law is both over- and underinclusive and not the least restrictive means available

to achieve the State’s interest.

             1.     The Law Is Vastly Overinclusive.

      To be narrowly tailored, a content-based law must “curtail speech as little as

possible.” Camp Hill, 101 F.4th at 271. Daniel’s Law, however, prohibits a wide

array of speech that does not implicate covered persons’ safety. The Law is

therefore impermissibly overinclusive. See, e.g., Simon & Schuster, Inc. v.



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Members of N.Y.S. Crime Victims Bd., 502 U.S. 105, 122 (1991) (finding law

“significantly overinclusive” where it “reach[ed] a wide range of literature that

does not enable a criminal to profit from his crime while a victim remains

uncompensated”).

      The Law’s sweeping definition of “disclose.” Daniel’s Law defines

“disclose” to encompass nearly every use of home addresses and phone numbers,

regardless of why, how, where, or to whom the information is made available, or

whether the information is even private. See supra at 10. This expansive

definition extends indiscriminately far beyond disclosures likely to implicate safety

concerns. In fact, the Law prohibits disclosures with no apparent nexus to that

interest, but that are necessary for modern society to function. For example, the

Law prohibits:

          “disseminating” voter addresses to political campaigns or advocacy

      organizations;

          “providing” addresses to law firms to facilitate service of process;

          “giving” addresses to financial institutions to prevent bank fraud;

          “making” addresses “available” to law enforcement agencies in

      “searchable databases” to investigate and prosecute crimes;

          “selling,” or even “offering,” addresses to businesses for use in

      marketing campaigns;


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           “transferring” a customer’s address to a vendor for shipping products;

      and

           “delivering” addresses to businesses in connection with credit checks.

N.J.S.A. 56:8-166.1(a), (d). The Law goes beyond this all-encompassing

definition to prohibit every way an entity might “otherwise make available” the

information, including in searchable databases “regardless of whether a search is

actually performed.” Id.

      The Law’s across-the-board prohibitions bar such “disclosures” without

regard for whether they are subject to significant limitations – e.g., information that

is only disclosed to verified and credentialed entities, only disclosed if recipients

access the information for lawful and legitimate purposes, and only disclosed

pursuant to a contract forbidding further dissemination and unauthorized uses. It is

difficult to understand – and the Legislature has not attempted to explain – how

prohibiting these types of disclosures would meaningfully and directly advance the

safety of public officials. See Simon & Schuster, 502 U.S. at 120-21 (holding law

overinclusive where prohibitions implicated “little if any [state] interest”); see also

Carey v. Wolnitzek, 614 F.3d 189, 205 (6th Cir. 2010) (finding narrow-tailoring

problem where statute’s definition of “solicitation” encompassed “methods of

solicitation” that “present[ed] little or no risk” to state’s purported interest).




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      The Law’s sanctions for publishing matters of public record. Daniel’s

Law restricts private entities from publishing information the government itself has

made, and continues to make, publicly available. That restriction reflects the

Law’s overinclusiveness and, by itself, flouts bedrock First Amendment principles.

      Time and again, the Supreme Court has held that the government is

constitutionally foreclosed from imposing liability for publishing information it

makes available in public records. See, e.g., Fla. Star, 491 U.S. at 527, 541

(identity of rape victim disclosed in police report); Oklahoma Publ’g Co. v. Dist.

Ct., 430 U.S. 308, 308 (1977) (identity of juvenile defendant disclosed in court

hearing); Cox Broad. Corp. v. Cohn, 420 U.S. 469, 472 (1975) (identity of crime

victim disclosed in court records); Nebraska Press Ass’n v. Stuart, 427 U.S. 539,

568 (1976) (incriminating evidence disclosed during preliminary hearing). On this

point, the precedent could not be clearer. In Cox Broadcasting, the Supreme Court

emphasized that “the First and Fourteenth Amendments command nothing less

than that the States may not impose sanctions on the publication of truthful

information contained in official court records open to public inspection.” 420

U.S. at 495. And in Florida Star, the Court stressed that this constraint applies to

all records the government makes publicly available. See 491 U.S. at 539 (“Had

[the newspaper] merely reproduced the news release prepared and released by the




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[government], imposing civil damages would surely violate the First

Amendment.”).

      Yet, Daniel’s Law does precisely that – it subjects private entities to civil

damages for reproducing information released by the government. N.J.S.A.

47:1B-3 (listing government records exempt from redaction); supra at 10-13; infra

at 32-34. By punishing these constitutionally protected disclosures, Daniel’s Law

is plainly overinclusive. For where “the government has failed to police itself in

disseminating information,” the imposition of liability “for its subsequent

publication can hardly be said to be a narrowly tailored means of safeguarding

anonymity.” Fla. Star, 491 U.S. at 538; see also Bowley v. City of Uniontown

Police Dep’t, 404 F.3d 783, 788 (3d Cir. 2005) (“[N]ot releasing [confidential]

information to the media in the first place will more narrowly serve the interest of

preserving confidentiality than will punishing the publication of the information

once inappropriately released.”).

      The Law’s lack of any verification mechanism. The Law’s tailoring

problems are exacerbated by the lack of any process for a private entity to verify

whether a person demanding nondisclosure is actually “covered.” Absent such a

process, the Law contains no means to ensure its protections – and the concomitant

restrictions on private entities’ speech – are reserved for those individuals the Law

was intended to protect. In these cases, for example, the nondisclosure notices sent



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to Defendants contained no information demonstrating persons were covered. See,

e.g., JA551.

      In contrast, the process for requesting nondisclosure from government

agencies includes a verification requirement and makes compliance contingent on

a person receiving approval from the State. Supra at 12-13. By inexplicably

removing this requirement for demands to private entities, the Legislature

unnecessarily extended the Law’s sweep and invited abusive notices from people

who are not protected by the statute.

      The Law’s unusual assignment provision and its award of “liquidated

damages.” The potential for stifling protected speech is compounded by the other

two amendments passed in 2023: allowing “assignment” of claims and providing

that courts “shall award actual damages” of at least “$1,000 for each violation,”

regardless of whether an entity acted with any degree of fault. 2023 N.J. Sess. Law

Serv. Ch. 113, § 6.

      These new provisions incentivize profit-seeking companies to aggregate

nondisclosure notices, send them in a manner that makes prompt compliance

impractical or impossible, and pursue claims en masse for technical

non-compliance as a money-making venture – even when the alleged violations are

purely technical and far removed from the State’s claimed interest. Cf. MNC

Credit Corp. v. Sickels, 497 S.E.2d 331, 333 (Va. 1998) (expressing concern about



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“merchandizing” assigned malpractice claims and encouraging “unjustified

lawsuits”). Because a company can aggregate claims on behalf of individuals who

have not been verified as covered persons, private entities have no choice but to

self-censor upon receiving any notice. Otherwise, they face the incalculable risk of

lawsuits seeking substantial money damages on a strict-liability basis. Daniel’s

Law thus sweeps in far more speech than necessary to achieve the State’s interest

and encourages conduct divorced from any compelling interest. See Schrader, 74

F.4th at 128 (prohibiting enforcement of law where prosecutor “offered little more

than assertion and conjecture to support [his] claim that without criminal sanctions

the objectives of [the law] would be seriously undermined”).

      The Law’s vague prohibition on disclosure of “unpublished” telephone

numbers. Although Daniel’s Law restricts disclosure of “unpublished home

telephone numbers,” it does not define that term or provide any direction as to

what qualifies as a “home” number or what makes a number “unpublished.” The

result is that all personal telephone numbers could be considered “unpublished” –

even though they are often widely available. The overinclusiveness of this

provision is highlighted by the myriad cases Plaintiffs filed, which together allege

that approximately 150 different entities disclosed covered persons’ telephone

numbers – numbers that obviously were widely published, but nonetheless give

rise to statutory violations according to Plaintiffs.



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             2.    The Law Does Not Materially Advance the State’s Interest
                   Because It Is Underinclusive.

      A law is underinclusive when it “plac[es] strict limits on” some activities

while allowing other activities that “create the same problem.” Reed, 576 U.S. at

172. The Supreme Court has explained that a speech restriction’s

underinclusiveness shows “that a law does not actually advance a compelling

interest.” Williams-Yulee v. Fla. Bar, 575 U.S. 433, 449 (2015). Daniel’s Law

does not “meaningfully advance the government’s stated interests” because it is

riddled with “exceptions that ‘undermine and counteract’ those goals.” Yim v. City

of Seattle, 63 F.4th 783, 795 (9th Cir. 2023); see also Barr v. Am. Ass’n of Political

Consultants, Inc., 591 U.S. 610, 621 (2020) (restriction failed strict scrutiny where

government did “not sufficiently justif[y] the differentiation between government-

debt collection speech,” which was allowed, “and other important categories of

robocall speech,” which were prohibited).

      First, although the Law indiscriminately restricts disclosures by private

entities, it requires large categories of government records containing the same

information to be disclosed to the public. For example, “records evidencing any

lien, judgment, or other encumbrance upon real or other property” are not subject

to redaction – even if covered persons ask the government to withhold their

information. N.J.S.A. 47:1B-3(a)(4)(d); JA111 (recognizing the Law “does not

block access to home addresses which appear on property records or on voter


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records”). While the district court brushed this exception aside, saying “this type

of information is generally more difficult to extract from public records than

information found on the Internet,” JA111, there is no such legislative finding in

the record. Nor does the Law mandate that the information be removed from

government websites – which are more accessible than private databases that

require payment or a subscription.12 In fact, the names and addresses of at least

four of the individual Plaintiffs can easily be found in state property records posted

online and searchable by name for free. See JA836-50. Thus, a nefarious actor

relying on the “Internet as the source of intelligence,” JA113, would be able to find

the same information even if the subject of his search submitted nondisclosure

notices to private entities.

      This is paradigmatic underinclusiveness. The Supreme Court has long

recognized that prohibiting “dissemination of information which is already

publicly available is relatively unlikely to advance” the government’s interest. Fla.

Star, 491 U.S. at 535. Indeed, when the government itself disseminates

information, restricting private entities’ dissemination of the same information

“can hardly be said to be a narrowly tailored means.” Schrader, 74 F.4th at 127;

see also Ostergren v. Cuccinelli, 615 F.3d 263, 286-87 (4th Cir. 2010). Having


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  See, e.g., Property Record, County of Essex, N.J.,
https://press.essexregister.com/prodpress/clerk/ClerkHome.aspx?op=basic (last
visited Apr. 9, 2025) (publicly searchable database with addresses).

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“inject[ed] personal identifying information into the public domain,” New Jersey

“cannot credibly take the contradictory position” that dissemination “offends a

compelling state interest.” Sheehan, 272 F. Supp. 2d at 1147.

      Second, although Daniel’s Law permits covered persons to request redaction

of certain public records, see N.J.S.A. 47:1B-1-3, nothing in the Law requires a

person to take advantage of that process before (or even after) sending a

nondisclosure notice to a private entity. Thus, a private entity may be held liable

for disclosing information that a covered person allows to remain readily

accessible in public records. That too is evidence of underinclusiveness. See Fla.

Star, 491 U.S. at 534; see also Publius, 237 F. Supp. 3d at 1020-21 (ruling statute

underinclusive because it proscribed dissemination of official’s home address and

phone number “regardless of the extent to which it is available or disseminated

elsewhere”); Brayshaw, 709 F. Supp. 2d at 1250 (similar); Sheehan, 272 F. Supp.

2d at 1147 (similar).

      Third, although Daniel’s Law restricts every disclosure by a private entity

that receives a nondisclosure notice, the Law allows the same information to be

disclosed with impunity by covered persons themselves. The result is that civil

lawsuits for liquidated damages can, and will, be prosecuted even when covered

persons choose to self-publish their contact information online, as several of the

named Plaintiffs have done. JA851-70. This also is “hopelessly underinclusive.”



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Camp Hill, 101 F.4th at 271; see Reed, 576 U.S. at 172 (“The Town cannot claim

that placing strict limits on temporary directional signs is necessary to beautify the

Town while at the same time allowing unlimited numbers of other types of signs

that create the same problem.”).

      In upholding Daniel’s Law, the district court dismissed these gaping holes in

the Law’s coverage as “distinctions” that are “sound – not arbitrary or

discriminatory.” JA112. But, longstanding precedent requires that speech

restrictions be more than just non-arbitrary or non-discriminatory – they must be

narrowly tailored to serve a compelling interest. Reed, 576 U.S. at 171-72. The

district court also concluded that the “perfect is not the enemy of the good,” relying

on language in Williams-Yulee that the government “need not address all aspects of

a problem in one fell swoop.” JA114 (quoting Williams-Yulee, 575 U.S. at 449).

This misreads Williams-Yulee and would result in the abandonment of the

underinclusiveness inquiry. In reality, the Supreme Court’s instruction there

merely means New Jersey need not address all aspects of officials’ safety in “one

fell swoop.” It does not grant the State license to enact speech restrictions that are

so “riddled with exceptions” that they continue to allow the exact same speech that

poses the exact same risks. Williams-Yulee, 575 U.S. at 449; see also Daily Mail,

443 U.S. at 104-05 (striking down statute that only prohibited “newspapers” from




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identifying juvenile defendants because the law did “not accomplish its stated

purpose” since juveniles could be identified by “electronic media”).

      Because Daniel’s Law allows countless indistinguishable disclosures – by

the government, other private entities, and even covered persons pursuing civil

claims – the Law does “not advance its stated purpose” and is impermissibly

underinclusive. Williams-Yulee, 575 U.S. at 449.

             3.    Less Restrictive Means Are Available.

      The lack of tailoring in the Law’s current version is particularly

“unacceptable” because the Legislature ignored “less restrictive alternatives [that]

would be at least as effective” in advancing officials’ safety. Reno v. ACLU, 521

U.S. 844, 874 (1997). That is anathema to the First Amendment: “If a less

restrictive alternative would serve the Government’s purpose, the legislature must

use that alternative.” United States v. Playboy Entm’t Grp., Inc., 529 U.S. 803,

813 (2000) (emphasis added). The State must show that “proposed less restrictive

alternatives are less effective,” Ashcroft v. ACLU, 542 U.S. 656, 666 (2004), a

burden that cannot be met with surface-level explanations, see Alvarez, 567 U.S. at

729; Playboy, 529 U.S. at 817-24. This requirement is particularly salient here, as

it is “quite remarkable” to punish speech “by a law-abiding possessor of

information” to “deter conduct by a non-law-abiding-third party.” Bartnicki v.

Vopper, 532 U.S. 514, 529-30 (2001).



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      Numerous less restrictive alternatives would similarly serve the State’s

interest in covered persons’ safety. While it is not Defendants’ job to rewrite the

statute, see Playboy, 529 U.S. at 816, at least five prominent alternatives from

similar laws around the country – and prior versions of New Jersey’s Law – stand

out. See Holt v. Hobbs, 574 U.S. 352, 369-70 (2015) (where other jurisdictions

have divergent practices, the government must, “at a minimum, offer persuasive

reasons why it believes that it must take a different course”); Nunez v. Wolf, 117

F.4th 137, 154-55 (3d Cir. 2024) (same); accord Landmark Commc’ns, Inc. v.

Virginia, 435 U.S. 829, 841 (1978) (contrasting law with those in other

jurisdictions).

      First, the definition of “disclose” could be narrowed. As it stands,

“disclose” encompasses 20 different verbs and may even cover purely internal

business activities. N.J.S.A. 56:8-166.1(d) (prohibition on making information

available “within a searchable list” “regardless of whether a search of such

list . . . is actually performed”). Instead, New Jersey could enact a more targeted

prohibition that does not bar disclosures that bear little risk of harm. E.g., Daniel

Anderl Judicial Security and Privacy Act of 2022 (“Federal Daniel’s Law”), Pub.

L. No. 117-263, §§ 5933, 5934, 136 Stat. 2395, 3460-65 (2022) (narrowly defining

“data broker” and allowing various disclosures barred under New Jersey’s Law);




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see also Md. Code Ann., Cts. & Jud. Proc. § 3-2301(f) (prohibiting certain

publications made “available to the general public”).

      Second, the Law could exempt information the government or covered

persons themselves make public. E.g., Federal Daniel’s Law § 5934(d), 136 Stat.

at 3464-65; Md. Code Ann., Cts. & Jud. Proc. § 3-2301(d)(2).

       Third, the Law could include a verification requirement to ensure

individuals qualify as covered persons before they submit nondisclosure notices, as

in the prior version of the Law. See supra at 12-13; see, e.g., Publius, 237 F. Supp.

3d at 1019 (holding statute not narrowly tailored because, among other things, it

did not require “a third-party review whether the official’s request is well-

founded”). Or, it could require nondisclosure notices to provide sufficient

information to allow an entity to verify that the individual is “covered.” E.g., Md.

Code Ann., Cts. & Jud. Proc. § 3-2303.

      Fourth, Daniel’s Law could require covered persons to bring individual

lawsuits, instead of allowing corporate assignees to aggregate claims. The unique

assignment provision, not found in any other state’s laws, enables profit-seeking

ventures to simultaneously bring thousands of claims against a single defendant,

overwhelming that defendant’s capacity to assess whether the claims are brought

by covered persons or if their information was actually disclosed. If the Law did

not allow mass assignment, Plaintiffs with claims based on a reasonable risk of



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harm from disclosure would still be incentivized to vindicate their concerns about

safety. But corporate assignees would not be able to bundle claims to restrict

additional speech without achieving the same interest, burdening far less speech.

      Fifth, the Law could allow a narrower range of remedies than the current

statute’s floor of at least $1,000 in liquidated “actual” damages, which applies

regardless of the scope of any injury or the defendant’s mens rea (or lack thereof).

N.J.S.A. 56:8-166.1(c)(1); see Schrader, 74 F.4th at 127 (emphasizing availability

of alternate remedies). For example, the Law could remove the liquidated

damages provision, tying an award to a plaintiff’s actual harm. Or, as an earlier

version of Daniel’s Law did, the Law could provide only injunctive relief (plus

fees and costs). See supra at 11. Finally, even if the damages floor remained, the

Law could cabin relief to those situations where an entity has reason to know of a

risk from disclosure. See, e.g., Colo. Rev. Stat. Ann. § 18-9-313 (dissemination

must “pose[] an imminent and serious threat to the protected person’s safety”);

Kan. Stat. Ann. § 21-5905(a)(7) (same); Cal. Gov’t Code § 7928.215(c) (requiring

nondisclosure demand to “include a statement describing a threat or fear for the

safety” of requesting official); see also Federal Daniel’s Law § 5934(f), 136 Stat.

at 3466 (authorizing damages only if entity “knowingly” violates an order granting

injunctive or declarative relief under the statute).




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      These comparably effective, but vastly less restrictive, alternatives

demonstrate that the uniquely chilling and punitive provisions of New Jersey’s

Daniel’s Law are not “necessary” to further the State’s interest. See Daily Mail,

443 U.S. at 105.13

      Despite the outlier nature of Daniel’s Law, New Jersey has not “explain[ed]”

why other jurisdictions “with the same compelling interest[]” chose to go another

way. Nunez, 117 F.4th at 155. Nor has New Jersey explained why, in a series of

amendments with no supporting legislative history, it has made the Law broader

and harsher, while abandoning less speech-restrictive alternatives. See Bruni, 824

F.3d at 369-70 (government must show “substantially less-restrictive alternatives

were tried and failed” or “the alternatives were closely examined and ruled out for

good reason”).

      Absent any “meaningful” explanation as to why “alternative measures that

burden substantially less speech would fail to achieve the government’s interests,”

id. at 369, Daniel’s Law fails strict scrutiny, see, e.g., Reno, 521 U.S. at 879 (given

arguments citing “possible alternatives” and “absence of any detailed findings by

the Congress,” Court was “persuaded that the [statute] is not narrowly tailored if




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  Defendants do not concede that these alternatives – individually or collectively –
would be sufficient to render the Law constitutional. Rather, they highlight the
Legislature’s failure to consider available less restrictive means.

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that requirement has any meaning at all”). Consequently, the Law is facially

unconstitutional.

II.   THE DISTRICT COURT ERRED BY RULING THAT DANIEL’S
      LAW IS A PRIVACY STATUTE EXEMPT FROM STRICT
      SCRUTINY AND FURTHER ERRED IN ITS WATERED-DOWN
      APPLICATION OF THE DAILY MAIL TEST.

      Despite holding that Daniel’s Law is a content-based restriction, the district

court ruled that (1) strict scrutiny does not apply to content-based laws that protect

against “invasions of privacy,” saying such laws are instead subject only to the test

set forth in Daily Mail and its progeny, JA106-09; (2) Daniel’s Law is a privacy

law that protects “personal information,” JA105; and (3) Daniel’s Law is

constitutional under its formulation of the Daily Mail test, JA109-15. Each of

those rulings was erroneous.

      A.     There Is No Privacy Exception to Strict Scrutiny.

      Supreme Court precedent is crystal clear: “content-based restrictions on

speech . . . can stand only if they survive strict scrutiny.” Reed, 576 U.S. at 171.

There is no privacy exception to this fundamental rule. To determine whether

strict scrutiny applies, courts assess whether a law regulates specific content – not

why it regulates that content. See id. at 164-65 (“On its face, the Sign Code is a

content-based regulation of speech. We thus have no need to consider the

government’s justifications or purposes for enacting the Code to determine

whether it is subject to strict scrutiny.”). Content-based laws are thus subject to


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strict scrutiny, even when they implicate privacy interests. See, e.g., Barr, 591

U.S. at 615 (applying strict scrutiny to content-based law designed to protect

“consumers from [the] nuisance and privacy invasion” caused by robocalls).

      For example, in IMDb.com Inc. v. Becerra, the Ninth Circuit applied strict

scrutiny to a content-based restriction on disclosing people’s ages and dates of

birth. 962 F.3d at 1125-27. The court observed that although “the First

Amendment and an individual’s right to privacy present competing concerns,” id.

at 1124, only very limited categories of speech, like true threats and obscenity,

evade “the normal prohibition on content-based restrictions,” id. at 1121, 1124

(quoting Nat’l Inst. of Family & Life Advocates v. Becerra, 585 U.S. 755, 767

(2018)). Because “privacy” is not one of those categories, the court firmly rejected

the notion “that content-based restrictions on public speech touching on private

issues escape strict scrutiny.” Id. at 1123.

      The district court eschewed this precedent and split from the Ninth Circuit

based on its misreading of Florida Star and Daily Mail as establishing a separate

test for speech restrictions involving privacy interests. See JA107-08. Nothing in

those cases exempts any category of content-based laws from strict scrutiny.

Indeed, this Court already addressed the relationship between the content-based

restriction test and the Daily Mail test in Schrader, 74 F.4th at 123-24. There, the

Court explained that when a “restriction on speech is content-based,” strict scrutiny



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applies. Id. at 126. Meanwhile, when a law “punishes publishing lawfully

obtained, truthful information of public concern,” the Daily Mail test applies. Id.

Unlike strict scrutiny, this separate “strand of First Amendment law” applies to both

content-based and “content-neutral state laws.” Id. at 127-28; see Bartnicki, 532

U.S. at 525-35 (applying Daily Mail test to “content-neutral” wiretap law).

Because the law at issue in Schrader, which protected privacy interests by

prohibiting dissemination of child abuse information, was content-based and

restricted truthful speech on a matter of public concern, the Court opted to apply

both tests and held that, as applied, the law was unconstitutional under both. 74

F.4th at 126-28.

      Schrader shows that, if anything, a law must survive both tests to be

constitutionally applied. Indeed, other courts have taken similar approaches in

constitutional challenges to laws restricting disclosure of public officials’ addresses

and phone numbers. See, e.g., Sheehan, 272 F. Supp. 2d at 1144-48 (concluding

civil statute was unconstitutional under both tests); Brayshaw, 709 F. Supp. 2d at

1249-50 (same as to criminal statute). But where, as here, a content-based

restriction on truthful speech cannot survive strict scrutiny, see supra at 25-41, it is

unnecessary to consider whether the law can satisfy the Daily Mail test. See, e.g.,

Doe v. Schorn, 711 F. Supp. 3d 375, 404-07 & n.15 (E.D. Pa. 2024) (finding it

unnecessary to reach whether statutory prohibition on disseminating educator



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discipline information designed to “protect the privacy” of teachers and students

could survive Daily Mail test because prohibition could not survive strict scrutiny).

      By failing to apply strict scrutiny, the district court relieved Plaintiffs of their

burden to overcome the presumption of unconstitutionality attached to the content-

based restriction imposed by Daniel’s Law, required Defendants to show the

speech at issue is a matter of public concern, and avoided any analysis of whether

the Law, as currently drafted, is overinclusive. That was error.

      B.     Daniel’s Law Does Not Protect Private Information.

      Even if there were a privacy exception to strict scrutiny, that exception

would not apply because Daniel’s Law is not a statute that seeks to remedy

invasions of privacy. This is clear from the Law’s text, which states that its

purpose is “enhanc[ing] safety and security of certain public officials,” N.J.S.A.

56:8-166.3 – not shielding their privacy. Unlike the confidential, personal

information that other laws protect because it is private – like information in

medical, financial, and educational records – people’s contact information is

public. In fact, Daniel’s Law itself does not ensure privacy at all. It explicitly

allows, and in some instances mandates, the information in question to remain

publicly available – through the government and other sources. See supra at 13.

The district court acknowledged this point, recognizing that covered persons’




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addresses and phone numbers appear in “property records,” “voter registration

lists,” and other public records. JA111.

      The availability of those records continues a long historical tradition of

public access to this information. See supra at 7-8; see also, e.g., W. Buse Tel. Co.

v. Nw. Bell Tel. Co., 248 N.W. 220, 229 (Minn. 1933) (describing directories that

included “names and addresses of all subscribers in the local exchange”). The

information regulated by Daniel’s Law has long been considered a “public fact,”

disclosure of which “cannot be viewed as an invasion of privacy.” McNutt v. N.M.

State Trib. Co., 538 P.2d 804, 808 (N.M. Ct. App. 1975); see also Hechler v.

Casey, 333 S.Ed.2d 799, 812 (W. Va. 1985) (similar).

      Despite this history and the continued public availability of covered persons’

addresses and phone numbers, the district court characterized Daniel’s Law as

“involving the right to privacy” based on its view that the Law is analogous to

privacy torts and laws governing disclosure of public records. JA108. None is

analogous. Each shows why Daniel’s Law is not a “privacy law.”

      First, the “common-law right of privacy” does not extend to the release of

home “addresses of public employees” – or anyone else. Tobin v. Mich. Civil Serv.

Comm’n, 331 N.W.2d 184, 191 (Mich. 1982); see Philip E. Hassman, Public

Addresses as Well as Name of Person as Invasion of Privacy, 84 A.L.R.3d 1159

§ 1 (1978) (concluding that, “under the Restatement, the mere publication of a



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person’s address, no matter what the circumstances, could not constitute an

invasion of his privacy,” and collecting cases). Daniel’s Law is therefore

fundamentally different from the publication-of-private-facts tort cited by the

district court. JA106. That tort concerns publication of matters that are “actually

private.” Romaine v. Kallinger, 537 A.2d 284, 292 (N.J. 1988). By definition, it

exempts publication of matters of public record. See id. at 292-93; see also

RESTATEMENT (SECOND) OF TORTS § 652D cmt. b (1977) (“there is no liability for

giving publicity to facts about the plaintiff’s life that are matters of public record”).

      Next, the district court’s characterization finds no support in cases

addressing what counts as private under the Freedom of Information Act

(“FOIA”). See JA105-06, JA111-12 (citing Paul P. v. Farmer, 227 F.3d 98, 101

(3d Cir. 2000), and U.S. DOJ v. RCFP, 489 U.S. 749, 764 (1989)). Those cases

considered a person’s privacy interest only in connection with FOIA requests from

private actors seeking information in the government’s possession, not whether the

government can restrict private actors from publishing information they already

possess. The latter question is very different and goes to the heart of the First

Amendment’s command that the government “shall make no law” abridging

freedom of speech. U.S. Const. amend. I.

      Indeed, the Ninth Circuit considered – and rejected – this very same

comparison. As that court explained, “FOIA cases typically ask whether, as a



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matter of statutory interpretation, the government must affirmatively disclose

personally identifying information.” IMDb.com, 962 F.3d at 1124 (emphasis

added). Those cases do not address “prohibitions constrained by the First

Amendment.” Id. Whether a state can prohibit publication of information is a

“different question entirely.” Id. The distinction recognized by the Ninth Circuit

echoes what the Supreme Court said in one of the cases relied upon by the district

court: “The question of the statutory meaning of privacy under the FOIA is, of

course, not the same as the question whether a tort action might lie for invasion of

privacy or the question whether an individual’s interest in privacy is protected by

the Constitution.” RCFP, 489 U.S. at 763 n.13.

      Finally, Daniel’s Law is also unlike the other privacy torts cited by Plaintiffs

below. The intrusion-upon-seclusion tort prevents a person from intruding into

someone’s “physical solitude or seclusion, as by invading his or her home, illegally

searching, eavesdropping, or prying into personal affairs.” Rumbauskas v. Cantor,

649 A.2d 853, 856 (N.J. 1994). It has nothing to do with disclosing information.

See RESTATEMENT (SECOND) OF TORTS § 652B cmt. a (intrusion “does not depend

upon any publicity given to the person whose interest is invaded or his affairs”).

And, the misappropriation tort protects the economic value in a person’s “name or

likeness”; it does not prevent merely publishing facts about that person. Bisbee v.

John C. Conover Agency, Inc., 452 A.2d 689, 693 (N.J. App. Div. 1982).



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       C.     Daniel’s Law Is Unconstitutional Under the Daily Mail Test.

       Even if the district court were correct that Daniel’s Law is a “privacy law”

and that such laws need be evaluated only under the Daily Mail test, it erred in its

application of that test.

              1.     The District Court Mischaracterized the Daily Mail Test.

       As an initial matter, the basic premise of the district court’s analysis, i.e.,

that the Daily Mail test is a less speech-protective framework than strict scrutiny, is

incorrect. Daily Mail explicitly stated that “state action to punish the publication

of truthful information seldom can satisfy constitutional standards.” 443 U.S. at

102. The Supreme Court thus emphasized that, to survive constitutional scrutiny, a

“sanction for publishing lawfully obtained, truthful information” on a matter of

public concern must serve “the highest form of state interest to sustain its validity.”

Id. at 101-02. This is the same level of scrutiny required for prior restraints, which

“have been accorded the most exacting scrutiny.” Id. (emphasis added). Applying

this doctrine in Florida Star, the Supreme Court instructed that the government

could punish publication of lawfully obtained truthful information only if the

punishment is “narrowly tailored to a state interest of the highest order.” 491 U.S.

at 541. This Court has explained the test the same way. See Schrader, 74 F.4th at

128; Bowley, 404 F.3d at 786.




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      Yet, the district court applied a substantially different – and far more lenient

– version of the Daily Mail test. The court appeared to focus its analysis on

whether Daniel’s Law serves “significant interests’” and “is not underinclusive,”

without insisting that the Law be “narrowly tailored” to serve an “interest of the

highest order.”14 JA111-14. In undertaking that limited analysis, the court further

watered down the test by holding only that the distinctions drawn by the

Legislature were “good” and “rational,” and “not arbitrary or discriminatory.”

JA112-15.

             2.    The Law Is Unconstitutional Under the Daily Mail Test.

       Under a proper application of the Daily Mail test, Daniel’s Law is

unconstitutional. It is uncontested that the information restricted by Daniel’s Law

is both truthful and lawfully obtained. JA090, JA108. That information also is of

public significance.

      To the extent the government makes covered persons’ addresses and phone

numbers available in public records, they necessarily are matters of public

significance. When the government places information “in the public domain,” as

the Supreme Court has held, “the State must be presumed to have concluded that




14
   While the Court in Florida Star referenced an underinclusiveness problem with
the Florida law, see 491 U.S. at 540, it separately emphasized the need for narrow
tailoring, see id. at 538, 541.


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the public interest was thereby being served.” Fla. Star, 491 U.S. at 535; see also

Cox Broad., 420 U.S. at 495 (“Public records by their very nature are of interest to

those concerned with the administration of government.”).

      Historically, people’s addresses and phone numbers have been publicly

available, including in records made available by the government. See supra at

7-8. And for good reason: that information serves important public interests.

Among many other things, it facilitates commerce, political organizing, and public

safety. See supra at 15-16 (explaining uses of contact information and services

provided by Defendants). In fact, the Library of Congress publishes a research

guide that catalogues its collection of city and telephone directories with address

and phone number information, recognizing that these directories are “a terrific

resource for house history, business history, and local history in general.”

https://guides.loc.gov/united-states-city-telephone-directories.

      Here, the district court made this very point, recognizing that “in some

instances, the availability of home addresses and even phone numbers is necessary

for the government and society to function.” JA112 (emphasis added). Yet, the

district court discounted the significance of the public interest in address and phone

number information for public officials, saying such information is only

“newsworthy” sometimes and “is not information that is necessary or pertinent for

public oversight.” JA109-10. This cramped perspective ignores that addresses and



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phone numbers serve the same important interests whether they relate to public

officials or other members of the public.

      This information also is necessary for public oversight. For example, New

Jersey requires that police officers and members of the judiciary be residents of the

State. See N.J.S.A. 40A:14-122.8; N.J.S.A. 52:14-7(a). For these officials – all of

whom are covered by Daniel’s Law – their address is fundamental to their

qualification to serve and therefore is of public significance.15 In addition, as

courts have noted in striking down laws similar to Daniel’s Law under the Daily

Mail test, public-official address information facilitates accountability in other

ways, including “through aiding in achieving service of process” and “researching

criminal history of officers.” Brayshaw, 709 F. Supp. 2d at 1249; see also

Sheehan, 272 F. Supp. 2d at 1139 n.2, 1145 (“personal identifying information”

related to “police accountability” is a “matter of public significance”).




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  In fact, news publications routinely rely on address information to report on
matters of public interest involving law enforcement. See, e.g., Ellen Gerst,
Chattanooga Police Chief Claims Conflicting Residency in Atlanta, Chattanooga,
Chattanooga Times Free Press (Mar. 11, 2024), https://bit.ly/42xuAqd; Will
Cushman, Many Police Officers in Wisconsin Live Outside the Cities Where They
Serve, PBS Wisconsin (June 9, 2023), https://bit.ly/42izhnm; Ari Ephraim
Feldman, Adams Calls NYPD City Residency Requirements ‘A Smart Idea’,
Spectrum News (Jan. 26, 2022), https://bit.ly/4ibCZFl; Ryan J. Foley,
APNewsBreak: Iowa Patrol Lieutenant Faces Inquiry Over Move, Associated
Press (May 7, 2019), https://bit.ly/4ieCwSX. As these examples show, addresses
of law enforcement officials are a matter of significant concern to the public.

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       The district court further erred in its application of the Daily Mail test by

only examining whether the Law is “underinclusive,” effectively jettisoning the

full narrow tailoring requirement and failing to consider the Law’s vast

overinclusiveness. JA111-15. As explained above, the Law is not narrowly

tailored. See supra at 25-41. Even in its evaluation of underinclusiveness, the

district court neglected to apply the exacting scrutiny required, instead simply

concluding that the Law’s distinctions between banning private disclosures and

allowing government disclosures “are sound.” JA112. This permissive regime

cannot pass muster because, even assuming the interests targeted by the State are

“of the highest order,” the Law “leaves appreciable damage to that supposedly vital

interest unprohibited.” Fla. Star, 491 U.S. at 541-42 (Scalia, J., concurring in part

and concurring in judgment). That alone undermines any notion that the Law is

narrowly tailored.

III.   DANIEL’S LAW IS UNCONSTITUTIONAL BECAUSE IT LACKS A
       MENS REA REQUIREMENT.

       On its face, Daniel’s Law is a strict-liability statute: It allows recovery of

damages without fault. See N.J.S.A. 56:8-166.1(b) (anyone “that violates . . . this

section shall be liable”). That violates the First Amendment and stands as an

independent ground for declaring the Law unconstitutional.




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      A.     Daniel’s Law Imposes Strict Liability on Speakers in Violation of
             the First Amendment.

      As the district court correctly recognized, the First Amendment does not

permit speakers to be sanctioned without some degree of fault. JA116, JA118-19.

Under Supreme Court jurisprudence, liability can be imposed for speech only upon

“a showing of a culpable mental state.” Counterman v. Colorado, 600 U.S. 66, 75

(2023); see New York Times Co. v. Sullivan, 376 U.S. 254, 278-79 (1964)

(recognizing that state-of-mind requirements are “essential” to protect First

Amendment freedoms); accord Rodgers v. Christie, 795 F. App’x 878, 880 (3d

Cir. 2020) (unpublished) (“extending strict liability to the distribution of ideas

would raise serious First Amendment concerns”). This is because “[p]rohibitions

on speech have the potential to chill, or deter, speech outside their boundaries,”

resulting in “self-censorship.” Counterman, 600 U.S. at 75. To “prevent that

outcome,” and provide “breathing space” for people seeking to exercise their

freedom of speech, the Supreme Court has required some level of mens rea –

whether intent, knowledge, recklessness, or negligence – for speech to give rise to

liability. Id. at 75, 79 (for “true threat,” defendant must “consciously disregard[] a

substantial and unjustifiable risk that the conduct will cause harm to another”); see,

e.g., Sullivan, 376 U.S. at 279-80 (for defamation, defendant must make false

statement about public officials “with knowledge that it was false or with reckless

disregard of whether it was false or not”); Hess v. Indiana, 414 U.S. 105, 109


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(1973) (for incitement, speech must be “intended” to produce “imminent

disorder”); Hamling v. United States, 418 U.S. 87, 122-23 (1974) (for obscenity,

defendant must have awareness of “the character and nature” of materials

distributed); Smith v. California, 361 U.S. 147, 152 (1959) (striking down

obscenity ordinance imposing strict liability on booksellers who “had not the

slightest notice of the character of the books they sold”).

      Where the speech in question is true, as it is in this case, the speaker’s state

of mind is especially important. Florida Star is instructive. The statute at issue in

that case, which prohibited publication of names of victims of sexual offenses,

contained no mens rea requirement. 491 U.S. at 528. After a newspaper published

a victim’s name, she filed suit, alleging the newspaper “negligently violated” the

statute, and the trial judge held that the violation, standing alone, was negligence

per se. Id. at 528-29.

      The Supreme Court reversed, holding that strict liability could not be used to

sanction the newspaper’s report of truthful information. Id. at 529. The Court

ruled that imposing liability would be unconstitutional because neither the statute’s

text nor the trial court’s “negligence per se” standard contained a “scienter

requirement of any kind.” Id. at 539. As the Court explained, under the

“negligence per se” standard, “liability follows automatically from publication,”

without regard to how the defendant obtained or used the victim’s identity, leading



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to “the perverse result that truthful publications” would be “less protected by the

First Amendment than even the least protected defamatory falsehoods.” Id. (citing

Gertz v. Robert Welch, Inc., 418 U.S. 323 (1974)).

      Daniel’s Law suffers from this same constitutional infirmity. Without a

textual mens rea requirement, the Law will lead to “self-censorship,” with would-

be speakers “steering wide of the unlawful zone” for fear of liability. Counterman,

600 U.S. at 75 (cleaned up); see, e.g., Video Software Dealers Ass’n v. Webster,

968 F.2d 684, 690-91 (8th Cir. 1992) (holding that strict-liability prohibition on

violent video sales to minors “would make video dealers more reluctant to exercise

their freedom of speech and ultimately restrict the public’s access to

constitutionally protected videos”). Faced with strict liability and mandatory civil

penalties, private entities will feel compelled to remove information in response to

every nondisclosure notice – regardless of whether they believe there is a threat to

a covered person’s safety, should know there is a reasonable risk to a covered

person, or have any reason to know the notification is even valid. This, in turn,

will limit the public’s access to information “that the statute does not purport to

regulate and that the First Amendment fully protects.” Id. Daniel’s Law is

unconstitutional to the extent it imposes strict liability. JA116, JA118-19.




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      B.     The District Court Erred by Writing a Mens Rea Requirement
             into the Law.

      The district court sought to save the Law by predicting the New Jersey

Supreme Court would interpret it to “conform to the Constitution” by writing in the

missing standard. JA117-120. That prediction runs counter to precedent from

both the United States and New Jersey Supreme Courts.

      The New Jersey Supreme Court has instructed that the “doctrine of

constitutional avoidance comes into play when a statute is susceptible to two

reasonable interpretations, one constitutional and one not.” State v. Pomianek, 110

A.3d 841, 855 (N.J. 2014). This instruction mirrors the United States Supreme

Court’s admonition that “the canon of constitutional avoidance has no application

in the absence of statutory ambiguity.” United States v. Oakland Cannabis

Buyers’ Coop., 532 U.S. 483, 494 (2001). Daniel’s Law is unambiguous. It

includes no fault standard in its “actual damages” provision. In contrast, its

punitive damages provision requires “willful or reckless” disregard. N.J.S.A.

56:8-166.1(c)(1), (2).

      In Pomianek, the New Jersey Supreme Court dealt with this identical

situation. It considered a statute that contained a mens rea requirement in two

subsections, but not in another subsection. The court held that the subsection that

was silent on mens rea could not be rewritten to contain such a requirement. As

the Court explained, “[t]he Legislature pointedly decided not to include” a mens


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rea element in that subsection, which was “evident by the presence of mens rea

elements” in the two other subsections. Pomianek, 110 A.3d at 855. The court

thus held that the lower court “erred by rewriting the statute to impose a mens rea

element,” characterizing that decision as “a judicial transplant” rather than “minor

judicial surgery to save a statutory provision.” Id.; see also Oakland Cannabis

Buyers’ Coop., 532 U.S. at 493 (declining to recognize exception to liability that

would “override a legislative determination manifest in a statute”).

      The same principle applies when statutes implicate free speech rights. For

example, in Usachenok v. Department of the Treasury, the New Jersey Supreme

Court declined to “rewrite” a “regulation to render it constitutional,” explaining

that adding the “substantial language” advocated by the State’s Attorney General

to a regulation that was silent on the issue “would extend beyond the limits of

judicial surgery.” 313 A.3d 53, 63 (N.J. 2024); see also United States v. Stevens,

559 U.S. 460, 481 (2010) (refusing to impose limiting construction because it

would invade “the legislative domain”). Here, the district court undertook just the

kind of “judicial transplant” Pomianek and Usachenok forbid.

      The district court’s error in rewriting Daniel’s Law is particularly egregious

because there is no doubt the Legislature intended the Law to impose strict

liability. Originally, the Law permitted damages only if “a reasonable person

would believe that providing . . . information would expose another to harassment



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or risk of harm to life or property.” See supra at 11. But the Legislature repealed

that language and amended the Law to provide that a court “shall award” actual

damages with no fault required. See supra at 11-12. It is well settled that courts

must “presume” the Legislature intended this amendment “to have real and

substantial effect.” Ross v. Blake, 578 U.S. 632, 641-42 (2015); see also Gatto

Design & Dev. Corp. v. Twp. of Colts Neck, 719 A.2d 707, 709 (N.J. App. Div.

1998) (“[A]n amendment to a statute ordinarily implies a purposeful alteration in

substance.”).

      Finally, the district court’s decision to write into Daniel’s Law an otherwise

absent mens rea requirement runs counter to federal appellate court decisions

taking the opposite approach. See Video Software Dealers Ass’n, 968 F.2d at 691

(declaring statute imposing strict liability for renting or selling violent videos to

minors facially unconstitutional); Am.-Arab Anti-Discrimination Comm. v. City of

Dearborn, 418 F.3d 600, 613 (6th Cir. 2005) (declaring ordinance imposing strict

liability for participating in a march without a permit facially unconstitutional).

Like those laws, Daniel’s Law contains no mens rea requirement and should have

been invalidated on this basis alone.

      C.     The District Court’s New Standard Fails to Satisfy the First
             Amendment.

      Even if a mens rea requirement could properly be grafted onto Daniel’s

Law, the standard created by the district court fails constitutional scrutiny. The


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Supreme Court has repeatedly held that for speech to be actionable under the First

Amendment, the mens rea must be tailored to the harm the speech restriction seeks

to prevent. For example, the tort of defamation remedies reputational harm caused

by a material falsehood. Thus, when a public official brings a claim for

defamation, the Supreme Court requires a showing that the defendant either knew

of, or recklessly disregarded, the statement’s falsity. Sullivan, 376 U.S. at 280.

Likewise, laws punishing true threats address speech that places a person in fear

that the speaker plans to “commit an act of unlawful violence.” Counterman, 600

U.S. at 74. Accordingly, the Supreme Court requires a showing that the defendant

“consciously disregarded a substantial risk that his communications would be

viewed as threatening violence.” Id. at 69; see also id. at 76-77 (discussing same

principle with respect to obscenity and incitement).

      Here, in derogation of this precedent, the district court adopted a standard

detached from any harm the speech restrictions imposed by Daniel’s Law seek to

prevent. Rather, the district court construed the Law to impose liability “only if a

defendant unreasonably disclosed or made available the home addresses and

unlisted telephone numbers of covered persons after the statutory deadline had

expired.” JA120. It purported to borrow this standard from the “unreasonable

publication of private facts” tort, JA119-20, but that tort’s unreasonableness

standard considers whether “the matters revealed were actually private” and



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whether “dissemination of such facts would be offensive to a reasonable person” –

the same harms the tort aims to remedy. Romaine, 537 A.2d at 292. The district

court’s test, however, is not tied to the harm Daniel’s Law seeks to prevent: the

safety risk posed to the covered person. Nor is it tied to an alleged loss of privacy.

The standard is not even tied to a defendant’s state of mind. Rather, the standard

exclusively concerns a defendant’s ability to comply with a nondisclosure notice

within the mandatory ten-day period. JA119 (offering fire, hurricane, and

computer failure as exculpatory examples).

      While that standard is necessary, it is not sufficient under Supreme Court

precedent. A culpability standard must account for a person’s ability to comply

with a speech prohibition, but that conduct-based standard is not, standing alone,

sufficient to provide the breathing space required to guard speech protected by the

First Amendment. To pass constitutional muster, a speech restriction imposing

liability must include a robust “scienter requirement.” Fla. Star, 491 U.S. at 539.

      The district court’s new standard – improperly written into the Law in the

first place – is patently insufficient under Supreme Court doctrine. It too violates

the First Amendment.

                                  CONCLUSION

      For the foregoing reasons, Defendants respectfully request that this Court

hold Daniel’s Law facially unconstitutional and reverse the district court’s order.



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                        CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 32(g) of the Federal Rules of Appellate Procedure, and

Local Appellate Rule 31.1, I hereby certify that:

      1.     The foregoing Joint Brief of Appellants complies with the type-

volume limitation of Fed. R. App. P. 32(a)(7)(B), because, according to the word

count of the word-processing system used to prepare the brief, the brief contains

12,987 words, excluding the corporate disclosure statement, table of contents, table

of authorities, and certificates of counsel;

      2.     The foregoing Joint Brief of Appellants complies with the typeface

requirements of Fed. R. App. P. 32(a)(5) and the type style requirements of Fed. R.

App. P. 32(a)(6) because it has been prepared in a proportionally spaced typeface

using Microsoft Office Word 2010 in 14-point Times New Roman font;

      3.     The text of the electronic brief and the text of the paper copies filed

with the Clerk are identical; and

      4      The PDF file of this brief has undergone a virus check using Windows

Defender Advanced Threat Protection Antivirus, Version 1.427.113.0 (last updated

April 7, 2025), and no virus was detected.

      This 14th day of April, 2025.

                                                       /s/ Angelo A. Stio III
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                   CERTIFICATION OF BAR ADMISSION

      Pursuant to L.A.R. 46.1, I hereby certify that at least one of the attorneys

whose names appear on this brief is a member of the bar of this Court.



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                         CERTIFICATE OF SERVICE

      I hereby certify that on this 14th day of April, 2025, I caused a true and

correct copy of this Joint Brief of Appellants and Volumes 1 through 3 of the

accompanying Joint Appendix to be served via ECF and Volume 4 of the Joint

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 Nos. 25-1555 through 25-1578; 25-1580 through 25-1593; 25-1676; and 25-1677
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             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE THIRD CIRCUIT
                        ––––––––––––––––––––
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     PERSONS; JANE DOE 1, A LAW ENFORCEMENT OFFICER; JANE DOE 2,
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              JUSTYNA MALONEY; PATRICK COLLIGAN;
            PETER ANDREYEV; AND WILLIAM SULLIVAN,
                                                  PLAINTIFFS-APPELLEES,
                                  v.
                          WE INFORM LLC, ET AL.
                                                     DEFENDANTS-APPELLANTS.

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            for the District of New Jersey dated November 26, 2024

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                       CASE NO. ________________

            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE THIRD CIRCUIT

ATLAS DATA PRIVACY CORPORATION,
et al.,

         Plaintiffs-Respondents,
                                           Civil Action No. 24-4037
v.

WE INFORM, LLC., et al.,

         Defendants-Petitioners.

ATLAS DATA PRIVACY CORPORATION,
et al.,

         Plaintiffs-Respondents,
                                           Civil Action No. 24-4041
v.

INFOMATICS, LLC, et al.,

         Defendants-Petitioners.


ATLAS DATA PRIVACY CORPORATION,
et al.,

         Plaintiffs-Respondents,
                                           Civil Action No. 24-4045
v.

THE PEOPLE SEARCHERS, LLC, et al.,

         Defendants-Petitioners.




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DM GROUP. INC., et al.,

         Defendants-Petitioners.

ATLAS DATA PRIVACY
CORPORATION, et al.,

         Plaintiffs-Respondents,
                                           Civil Action No. 24-4080
v.

DELUXE CORPORATION, et al.,

         Defendants-Petitioners.


ATLAS DATA PRIVACY
CORPORATION, et al.,

         Plaintiffs-Respondents,
                                           Civil Action No. 24-4098
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QUANTARIUM ALLIANCE, LLC, et al.,

         Defendants-Petitioners.




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         Plaintiffs-Respondents,
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v.

YARDI SYSTEMS, INC., et al.,

         Defendants-Petitioners.

ATLAS DATA PRIVACY
CORPORATION, et al.,

         Plaintiffs-Respondents,
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DIGITAL SAFETY PRODUCTS, LLC, et
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ATLAS DATA PRIVACY
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CIVIL DATA RESEARCH

         Defendants-Petitioners.




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SCALABLE COMMERCE, LLC, et al.,

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ATLAS DATA PRIVACY
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         Plaintiffs-Respondents,
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LABELS & LISTS, INC.

         Defendants-Petitioners.

ATLAS DATA PRIVACY
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         Plaintiffs-Respondents,
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INNOVIS DATA SOLUTIONS INC., et al.,

         Defendants-Petitioners.




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ACCURATE APPEND, INC., et al.

          Defendants-Petitioners.

ATLAS DATA PRIVACY
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ZILLOW, INC., et al.,

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ATLAS DATA PRIVACY
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EQUIMINE, INC., et al.,

          Defendants-Petitioners.




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MELISSA DATA CORP., et al.,

           Defendants-Petitioners.

ATLAS DATA PRIVACY
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RESTORATION OF AMERICA, et al.,

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ATLAS DATA PRIVACY
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i360, LLC, et al.,

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ATLAS DATA PRIVACY
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ATLAS DATA PRIVACY
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JOY ROCKWELL ENTERPRISES, INC., et
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         Defendants-Petitioners.

ATLAS DATA PRIVACY
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FORTNOFF FINANCIAL, LLC, et al.,

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ATLAS DATA PRIVACY
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MYHERITAGE, LTD., et al.,

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E-MERGES.COM, INC.

         Defendants-Petitioners.

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NUWBER, INC., et al.,
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ATLAS DATA PRIVACY
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ATLAS DATA PRIVACY
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THE ALESCO GROUP, L.L.C.

         Defendants-Petitioners.




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SEARCHBUG, INC.

          Defendants-Petitioners.


ATLAS DATA PRIVACY CORPORATION,
et al.,

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AMERILIST, INC., et al.,

          Defendants-Petitioners.


ATLAS DATA PRIVACY CORPORATION,
et al.,

          Plaintiffs-Respondents,

v.                                         Civ. Action No. 24-7324

US DATA CORPORATION, et al.,

          Defendants-Petitioners.




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ATLAS DATA PRIVACY CORPORATION,
et al.,

         Plaintiffs-Respondents,

v.                                        Civ. Action No. 24-8075
SMARTY, LLC, et al.,

         Defendants-Petitioners.


ATLAS DATA PRIVACY CORPORATION,
et al.,

         Plaintiffs-Respondents,

v.
                                          Civ. Action No. 24-8451
COMPACT INFORMATION SYSTEMS,
LLC, et al.,

         Defendants-Petitioners.


ATLAS DATA PRIVACY CORPORATION,
et al.,

         Plaintiffs-Respondents,

v.                                        Civ. Action No. 24-10600

DARKOWL, LLC, et al.,

         Defendants-Petitioners.




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ATLAS DATA PRIVACY CORPORATION,
et al.,

         Plaintiffs-Respondents,

v.
                                          Civ. Action No. 24-04269
THOMSON REUTERS CORPORATION, et
al.,

         Defendants-Petitioners.




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               On Appeal from the United States District Court
            For the District Court of New Jersey, Camden Division
                       The Honorable Harvey Bartle III


District Court Nos. 1:24-cv-04037(HB); 1:24-cv-04041(HB); 1:24-cv-04045(HB);
          1:24-cv-04075(HB); 1:24-cv-04080(HB); 1:24-cv-04098(HB);
          1:24-cv-04103(HB); 1:24-cv-04141(HB); 1:24-cv-04143(HB);
                     1:24-cv-04160(HB); 1:24-cv-04174(HB);
          1:24-cv-04176(HB); 1:24-cv-04178(HB); 1:24-cv-04256(HB);
          1:24-cv-04261(HB); 1:24-cv-04292(HB); 1:24-cv-04324(HB);
          1:24-cv-04345(HB); 1:24-cv-04380(HB); 1:24-cv-04383(HB);
          1:24-cv-04385(HB); 1:24-cv-04389(HB); 1:24-cv-04390(HB);
          1:24-cv-04392(HB); 1:24-cv-04434(HB); 1:24-cv-04609(HB);
          1:24-cv-04664(HB); 1:24-cv-04949(HB); 1:24-cv-05600(HB);
          1:24-cv-05656(HB); 1:24-cv-05658(HB); 1:24-cv-05775(HB);
          1:24-cv-07324(HB); 1:24-cv-08075(HB); 1:24-cv-08451(HB);
                    1:24-cv-10600(HB); and 1:24-04269 (HB)


           JOINT PETITION FOR LEAVE TO FILE APPEAL
                    UNDER 28 U.S.C. § 1292(b)


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                           SUMMARY OF PETITION

      This Petition presents a First Amendment question of first impression and

deep significance: whether a New Jersey statute known as Daniel’s Law is facially

unconstitutional. That Law grants certain public officials the authority to bar

private entities from disclosing their home addresses and unpublished phone

numbers, or face liquidated damages and attorney’s fees. It imposes that liability

without any requirement that a defendant act with a culpable mental state.

      The 37 cases covered by this Petition were commenced by a corporate

assignee allegedly holding the right to assert claims of over 19,600 individuals.

That corporation harnessed the Law’s unique combination of speech-restrictive

tools to bring hundreds of thousands of claims against Petitioners with the potential

for hundreds of millions of dollars in liquidated damages.

      Petitioners moved to dismiss on the ground that the Law facially violates the

First Amendment. The district court agreed the Law is a content-based restriction

on non-commercial speech with no built-in mens rea guardrails. Nevertheless, it

denied Petitioners’ motion, creating a blanket privacy exception to strict scrutiny

that no other court has adopted and rewriting the statute to add a negligence

requirement, the absence of which the court acknowledged would have invalidated

the Law. Recognizing the novel and far-reaching issues at stake, the district court

sua sponte certified its order for immediate appeal under 28 U.S.C. § 1292(b).




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        The threshold constitutional questions presented by the district court’s order

control the outcomes of dozens of cases involving hundreds of thousands of

alleged violations, each subject to complex and costly discovery. Reversal of that

order would end them. Even if the district court’s order were not reversed, any

ruling from this Court would provide essential guidance on issues critical to future

litigation in these and other cases involving Daniel’s Law, as well as similar laws

being enacted around the country. Accordingly, Petitioners respectfully request

the Court permit an immediate appeal from the district court’s certified order.1

           STATEMENT OF FACTS AND PROCEDURAL HISTORY

I.      New Jersey’s Daniel’s Law

        This case involves the constitutionality of New Jersey’s Daniel’s Law.

N.J.S.A. 56:8-166.1. Enacted in response to the tragic murder of Judge Esther

Salas’s son Daniel, the Law seeks “to “enhance the safety and security” of judges,

law enforcement officers, and other government officials. N.J.S.A. 56:8-166.3.

        Since its enactment, Daniel’s Law has been amended several times. E.g.,

N.J.S.A. 56:8-166.1 (2021); N.J.S.A. 56:8-166.1 (2023). In its current form, the

Law seeks to achieve its laudable objective by providing a mechanism for “any

covered person” – defined to include judges, law enforcement officers, and certain

other public officials, as well as immediate family members residing in the same


1
    Petitioners are listed in Addendum 1.

                                            2
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household – to “prohibit the disclosure of the[ir] home address or unpublished home

telephone number.” N.J.S.A. 56:8-166.1(a)(2), (d). The Law provides that upon

receipt of “written notice” that a covered person “is seeking nondisclosure,” a

“person, business, or association shall not disclose or re-disclose on the Internet or

otherwise make available” the covered person’s information. N.J.S.A. 56:8-

166.1(a)(1), (2).

      The Law broadly defines “disclose” as “to solicit, sell, manufacture, give,

provide, lend, trade, mail, deliver, transfer, post, publish, distribute, circulate,

disseminate, present, exhibit, advertise, or offer.” N.J.S.A. 56:8-166.1(d). The

definition also includes making information “available or viewable within a

searchable list or database, regardless of whether a search of such list or database is

actually performed.” Id. Its restrictions are not limited to disclosures over the

Internet; it bars any communication that “otherwise make[s] available” covered

information. N.J.S.A. 56:8-166.1(a)(2). Although both the Plaintiffs and the New

Jersey Attorney General have disavowed the Law’s reach, this sweeping definition,

on its face, applies to every conceivable transmission or transaction of covered

information, even internal corporate communications.

      Daniel’s Law does not specify how a non-disclosure notice is to be made,

other than that it be “written.” N.J.S.A. 56:8-166.1(a)(2). Nor does it require, or

provide any mechanism for, verification that the person seeking non-disclosure is a



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“covered person.” The Law only requires the notice to state that the person

providing notice is “authorized” to do so. Id. And it demands compliance by the

recipient “not later than 10 business days following receipt” of a notice, with no

exceptions. N.J.S.A. 56:8-166.1(a)(1).

      If the deadline is not met, “the covered person or the covered person’s

assignee” can “bring a civil action.” N.J.S.A. 56:8-166.1(b). The Law provides

that a “court shall award” “actual” damages “not less than” “$1,000 for each

violation,” which it calls “liquidated damages.” N.J.S.A. 56:8-166.1(c). It also

provides awards for attorney’s fees and litigation costs, as well as “punitive

damages upon proof of willful or reckless disregard of the law.” Id.

      Originally, the Law imposed damages only if “a reasonable person would

believe that providing . . . information would expose another to harassment or risk

of harm to life or property.” N.J.S.A. 56:8-166.1(a) (2021). The New Jersey

Legislature later amended the Law to remove that mens rea requirement.

      New Jersey also allows covered persons to seek redaction of their addresses

and phone numbers from some public records. N.J.S.A. 47:1B-2. That process

requires requests to be made to the state’s Office of Information Privacy, which has

no deadline to review and approve the requests. Id. Upon approval, public

agencies have 30 days to comply. Id. If they do not comply, there is no civil

remedy. Id. The law also includes an array of exceptions that, even after approved



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for redaction, allow government agencies to disclose covered persons’ information

– to other agencies, private actors, and in public records on the Internet. N.J.S.A.

47:1B-3.

II.    The Lawsuits And Petitioners’ Motion To Dismiss

       Beginning in February 2024, Atlas Data Privacy Corporation and several

individuals filed approximately 150 nearly identical lawsuits in New Jersey state

courts alleging violations of the newly amended Daniel’s Law. In each lawsuit,

Atlas purports to be an assignee asserting claims of more than 19,000 covered

persons. Many of the lawsuits, including those involved in this Petition, were

removed to federal court.

       Following the district court’s direction for how to sequence their

constitutional arguments, Petitioners moved to dismiss solely on the ground that

Daniel’s Law is facially unconstitutional. See Consolidated Motion to Dismiss,

Atlas Data Privacy Corp. v. Lightbox Parent L.P. (“Lightbox”), No. 1:24-cv-04105-

HB (D.N.J.) (ECF 20, 27-33).2 Petitioners argued that the Law violates the First

Amendment because, inter alia, it is (1) a content-based restriction on speech that

cannot satisfy strict scrutiny, and (2) a strict liability statute that regulates truthful



2
  Following the procedure directed by the district court instructions, each Petitioner
joined the consolidated motion filed in Lightbox. E.g., Ltr. Joining in Mot. to
Dismiss, Atlas Data Privacy Corp. v. Searchbug, Inc. (“Searchbug”), No. 1:24-cv-
5658-HB (D.N.J.) (ECF 13).

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speech with no culpability standard.

       Plaintiffs and the New Jersey Attorney General opposed the motion arguing,

inter alia, Daniel’s Law (1) regulates “data,” not speech; and (2) is content neutral,

regulates commercial speech, and/or is a privacy statute that satisfies a lower level

of scrutiny. See id. ECF 48, 49.3

III.   The District Court’s Order Denying The Motion To Dismiss

       The district court denied the motion to dismiss. Order, Searchbug (ECF 26)

(attached as Exhibit A). The court concluded that Daniel’s Law is a content-based

restriction on non-commercial speech, but nevertheless held it was not subject to

strict scrutiny. See Memorandum Opinion (“Mem.”) at 23, 27-28, Searchbug (ECF

25) (attached as Exhibit B). The court held the Law was exempt from strict

scrutiny because it protects covered persons’ “right to privacy,” not just their safety.

Id. at 25-27. The district court ruled “privacy laws” are assessed under a different

test set forth in Florida Star v. B.J.F., 491 U.S. 524 (1989), and Smith v. Daily Mail

Publishing Co., 443 U.S. 97 (1979). Mem. at 27-28. According to the district

court, that test considers: (1) whether the information at issue “is lawfully obtained

and is of public significance”; (2) whether “the law in question serves ‘a need to

further a state interest of the highest order’”; and (3) “whether the statute serves ‘the


3
 Subsequently, the district court remanded more than 30 cases in which defendants
had joined the consolidated motion to dismiss. That remand order is the subject of
pending petitions for review. See Nos. 24-8044, 24-8045 (3d Cir.).

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significant interests’ the state purports to advance and is not underinclusive.” Id. at

27-28. The district court held Daniel’s Law passed this test, reasoning that “the

distinctions made in Daniel’s Law are sound – not arbitrary or discriminatory,” and

that, although the Legislature could have made different policy choices, “the perfect

is not the enemy of the good.” Id. at 28-32.

         The district court recognized that the Law’s text does not include a mens rea

requirement and observed that if the Law imposed strict liability, it would be

unconstitutional. Id. at 37. To save the Law, the court read a “negligence” standard

into it. Id. at 38-39. The court held liability can be imposed “only if a defendant

unreasonably disclosed or made available the home addresses and unlisted

telephone numbers of covered persons after the statutory deadline had expired.” Id.

at 39.

         On December 2, the district court sua sponte certified its order for immediate

appeal. Order, Searchbug (ECF 27) (attached as Exhibit C).

         Petitioners now seek this Court’s permission to pursue an immediate appeal

of the threshold constitutional issues presented by the district court’s decision. To

be clear, Petitioners do not question the noble purpose that inspired Daniel’s Law.

Rather, they seek only to challenge whether the amended version of the Law’s

provisions imposing civil liability on private entities is facially unconstitutional.




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                            QUESTION PRESENTED

      Whether Daniel’s Law facially violates the First Amendment.

                                    ARGUMENT

      As the district court correctly recognized, the First Amendment questions

encompassed by its order merit interlocutory appeal. Under § 1292(b), immediate

appeal is warranted when (1) an interlocutory order presents “a controlling

question of law” that (2) involves “substantial ground[s] for difference of opinion,”

and (3) an immediate appeal “may materially advance the ultimate termination of

the litigation.” Simon v. United States, 341 F.3d 193, 199 (3d Cir. 2003). Section

1292(b) enables the “early appeal of a legal ruling when resolution of the issue

may provide more efficient disposition of the litigation,” Ford Motor Credit Co. v.

S. E. Barnhart & Sons, Inc., 664 F.2d 377, 380 (3d Cir. 1981), and avoid “possibly

wasted trial time and litigation expense,” Katz v. Carte Blanche Corp., 496 F.2d

747, 756 (3d Cir. 1974) (en banc). As the Supreme Court has observed, the

“preconditions for § 1292(b) review . . . are most likely to be satisfied” when a

case “involves a new legal question or is of special consequence.” Mohawk Indus.,

Inc. v. Carpenter, 558 U.S. 100, 110-11 (2009). That is the case here. Indeed, the

district court sua sponte held that all three requirements of § 1292 are satisfied.




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I.    Whether Daniel’s Law Facially Abridges The First Amendment
      Presents A Controlling Question Of Law.

      A controlling question of law is, “at the very least,” one “which, if

erroneous, would be reversible error on final appeal.” Katz, 496 F.2d at 755. It

also includes legal questions that are “serious to the conduct of the litigation, either

practically or legally.” Id.

      The question presented here is purely legal, requires no factual record, and is

controlling. If Daniel’s Law is facially unconstitutional, the district court

committed “reversible error,” and these 37 cases would be dismissed. Even if the

cases continue after interlocutory review, the Court’s guidance on the

constitutional issues addressed by the district court, including its newly created

“negligence” standard, will be essential. Without immediate review, these cases

will proceed under standards that, if erroneous, will result in substantial time and

resources being expended on litigation that would be moot. Resolution of those

issues now would materially impact the litigation, both practically and legally.

II.   There Are Substantial Grounds For Difference Of Opinion.

      Substantial grounds for difference of opinion exist when an “order involves

‘one or more difficult and pivotal questions of law not settled by controlling

authority,’” Knipe v. SmithKline Beecham, 583 F. Supp. 2d 553, 599 (E.D. Pa.

2008) (citation omitted), or “when there is genuine doubt or conflicting precedent

as to the correct legal standard,” Bush v. Adams, 629 F. Supp. 2d 468, 475 (E.D.


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Pa. 2009). Courts also find substantial grounds when “novel and difficult

questions of first impression are presented.” E.g., Couch v. Telescope Inc., 611

F.3d 629, 633 (9th Cir. 2010) (quotation omitted); accord In re Miedzianowski,

735 F.3d 383, 384 (6th Cir. 2013).

      This Petition presents a question of first impression. Before now, no federal

court has decided the facial constitutionality of Daniel’s Law. Indeed, as the

district court observed, the Supreme Court “has never ruled on a case like the ones

now before this court.” Mem. at 31. The question in this Petition carries profound

importance: whether Daniel’s Law unconstitutionally restricts protected speech,

including through severe penalties. See, e.g., Dahlstrom v. Sun-Times Media, LLC,

39 F. Supp. 3d 998, 1001 (N.D. Ill. 2014) (“Because First Amendment litigation

chills speech, prompt resolution of this case [through a § 1292(b) appeal] would

provide the added benefit of minimizing any such chilling effect.”). And, the

district court itself recognized substantial ground for disagreement by sua sponte

certifying its order for immediate appeal.

      A.     There are substantial grounds for difference of opinion about the
             correct level of constitutional scrutiny.

      The Supreme Court has long instructed that content-based restrictions on

speech are “presumptively unconstitutional.” Reed v. Town of Gilbert, 576 U.S.

155, 163 (2015). That presumption only can be overcome by satisfying “strict

scrutiny,” which requires that a law’s restrictions be “narrowly tailored to serve

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compelling state interests.” Id. In other words, to survive strict scrutiny, a law

must “curtail speech as little as possible.” Camp Hill Borough Republican Ass’n v.

Borough of Camp Hill, 101 F.4th 266, 271 (3d Cir. 2024).

      The district court ruled that, although Daniel’s Law is a content-based

restriction on speech, (1) strict scrutiny does not apply to content-based “privacy

laws”; (2) Daniel’s Law is a privacy law subject only to the test set forth in Florida

Star and Daily Mail; and (3) Daniel’s Law is constitutional under its formulation of

that test. There is substantial ground for difference of opinion on each issue.

      First, this Court recently considered – but left undecided – the level of First

Amendment scrutiny required for content-based privacy regulations. In Schrader

v. District Attorney of York County, 74 F.4th 120 (3d Cir. 2023), the plaintiff

sought to enjoin the government from prosecuting her for disclosing information

protected under Pennsylvania’s Child Protective Services Law. Id. at 123-24. The

plaintiff argued the law was “unconstitutional both on its face and as applied to

her.” Id. at 124. In considering those arguments, the Court acknowledged that

“picking the right level of scrutiny is tricky,” as “two lines of precedent apply”:

(1) when a “restriction on speech is content-based” – as this Court held that law to

be – courts “apply strict scrutiny”; and (2) when the government seeks to sanction

“publishing lawfully obtained, truthful information,” courts apply the Daily Mail

test. Id. at 126. The Court, ruling only on the plaintiff’s as-applied challenge, held



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that any prosecution of her would violate the First Amendment under either test.

Id. It thus declined “to reconcile these two lines of precedent.” Id.

      Courts around the country have applied strict scrutiny to content-based

speech restrictions that implicate privacy concerns. For example, in IMDb.com

Inc. v. Becerra, the Ninth Circuit applied strict scrutiny to a content-based

restriction on disclosing people’s ages and dates of birth. 962 F.3d 1111, 1125-27

(9th Cir. 2020). The court observed that “the First Amendment and an individual’s

right to privacy present competing concerns,” id. at 1124, but explained that only

very limited categories of speech, like true threats and obscenity, evade “the

normal prohibition on content-based restrictions,” id. at 1121, 1124 (quoting Nat’l

Inst. of Family & Life Advocates v. Becerra, 585 U.S. 755, 767 (2018)). The court

recognized that “privacy” was not one of those categories: “neither this court, nor

the Supreme Court, has held that content-based restrictions on public speech

touching on private issues escape strict scrutiny.” Id. at 1123. Likewise, earlier

this year, a court in the Eastern District of Pennsylvania applied strict scrutiny in

an as-applied challenge to a law that “protect[s] the privacy” of teachers and

students. Doe v. Schorn, 711 F. Supp. 3d 375, 405-06 (E.D. Pa. 2024).

      Here, in contrast to those cases, the district court held that strict scrutiny

could not apply. Yet, other district courts that have considered the facial

constitutionality of laws restricting disclosure of law enforcement officers’



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addresses and phone numbers have applied both strict scrutiny and the Daily Mail

test. See Sheehan v. Gregoire, 272 F. Supp. 2d 1135, 1144-48 (W.D. Wash. 2003)

(invalidating civil statute prohibiting disclosure of law enforcement officers’

addresses and phone numbers); Brayshaw v. City of Tallahassee, Fla., 709 F.

Supp. 2d 1244, 1249-50 (N.D. Fla. 2010) (invalidating similar criminal statute).

      By declining to apply strict scrutiny and applying only the Daily Mail test,

the district court relieved the Plaintiffs of their burden to overcome the

presumption of unconstitutionality attached to the Law’s content-based restriction,

required the Petitioners to show the speech at issue is a matter of public concern,

and avoided any analysis of whether Daniel’s Law, as currently drafted, is

overinclusive. Thus, the district court did not closely scrutinize either the Law’s

sweeping definition of “disclose,” which on its face prohibits everything from

“disseminating” voters’ addresses to advocacy groups to a company “making

available” addresses in an internal “database,” N.J.S.A. 56:8-166.1(d), or the

Law’s new assignment provision, which incentivizes the monetization of

thousands of claims, regardless of whether the alleged disclosures pose any

reasonable threat to an individual covered person’s safety or privacy.

      Second, the district court selected which test to apply based on its

characterization of Daniel’s Law as “involving the right to privacy.” Mem. at

27. That characterization was based on the district court’s view that Daniel’s Law



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is analogous to the law governing access to public records and privacy torts. Id. at

24-25, 30-31. Whether the court properly considered Daniel’s Law a “privacy

law” has significant constitutional implications for these cases, and there is

substantial ground for disagreement with the district court’s analogy, even within

the very cases on which it relied.

      For instance, the Freedom of Information Act cases cited by the district court

considered a person’s privacy interest only in connection with requests from

private actors seeking information in the government’s possession, not whether the

government can restrict private actors from publishing information they already

possess. See Mem. at 24-25, 30-31 (citing Paul P. v. Farmer, 227 F.3d 98, 101 (3d

Cir. 2000), and U.S. DOJ v. Reporters Comm. for Freedom of the Press, 489 U.S.

749, 764 (1989)). That is a very different question – a question at the heart of the

First Amendment’s command that the government “shall make no law” abridging

freedom of speech. See, e.g., IMDb.com, 962 F.3d at 1124 (FOIA case law

addressing whether “government must affirmatively disclose personally identifying

information” poses “different question entirely”).

      The tort law relied upon by the district court also shows substantial grounds

for disagreement. The district court cited a New Jersey Supreme Court case

holding that a plaintiff only has a claim for publication of private facts if the

information at issue is “actually private.” Romaine v. Kallinger, 537 A.2d 284,



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292 (N.J. 1988) (cited at Mem. at 25). Plaintiffs have not alleged that here. See

Compl., Searchbug (ECF 1-1). To the contrary, the district court recognized that

covered persons’ addresses and phone numbers appear in “property records,”

“voter registration lists,” and other public records, Mem. at 30, some of which are

readily available online, and have even been made publicly available by individual

plaintiffs on social media and in press releases.4

      In stark contrast to Daniel’s Law, the New Jersey case cited by the district

court and hornbook tort law make plain that “there is no liability for giving

publicity to facts about the plaintiff’s life that are matters of public record.”

RESTATEMENT (SECOND) OF TORTS § 652D cmt. b; Romaine, 537 A.2d at 292-93.

Indeed, the availability of covered persons’ information in public records raises

significant constitutional issues about the propriety of imposing liability on people

for disclosing that information, as reflected in another Supreme Court case upon

which the district court relied. Cox Broad. Corp. v. Cohn, 420 U.S. 469, 495

(1975) (cited at Mem. at 26) (“the First and Fourteenth Amendments command

nothing less than that the States may not impose sanctions on the publication of

truthful information contained in official court records open to public inspection”).



4
 E.g., Property Record, County of Essex, N.J.,
https://press.essexregister.com/prodpress/clerk/ClerkHome.aspx?op=basic (last
visited Dec. 11, 2024) (publicly searchable database with addresses); Lightbox,
ECF 27-3 through 27-10.

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      Third, there is substantial ground for disagreement with the district court’s

application of the Daily Mail test. The Supreme Court emphasized in Daily Mail

that, to survive constitutional scrutiny, a “sanction for publishing lawfully

obtained, truthful information” on a matter of public concern must serve “the

highest form of state interest to sustain its validity.” 443 U.S. at 101-02 (emphasis

added). The Court made clear that this level of scrutiny is the same as that

required for prior restraints, which “have been accorded the most exacting

scrutiny.” Id. at 102 (emphasis added). Likewise, in Florida Star, the Supreme

Court held that the government could only punish the publication of lawfully

obtained truthful information if the punishment is “narrowly tailored to a state

interest of the highest order.” 491 U.S. at 541 (emphasis added). This Court

explained the test the same way in Schrader. 74 F.4th at 128.

      The district court, however, considered only whether Daniel’s Law serves

“significant interests’” and “is not underinclusive” – not whether it was “narrowly

tailored” to serve an “interest of the highest order.” Compare, e.g., Mem. at 30-33

(concluding “[t]he perfect is not the enemy of the good”), with Florida Star, 491

U.S. at 534 (when “sensitive information is in the government’s custody,” it

“almost always” has narrower means to prevent dissemination, including

classifying or redacting it, and enacting “a damages remedy against the

government” for disclosures).



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      Further, although the district court held that addresses and phone numbers of

public officials are generally “not matters of public significance,” Mem. at 28,

other courts disagree, see Brayshaw, 709 F. Supp. 2d at 1249; Publius v. Boyer-

Vine, 237 F. Supp. 3d 997, 1014 (E.D. Cal. 2017); Sheehan, 272 F. Supp. 2d at

1145. Moreover, Supreme Court precedent indicates that when the government

provides information to the public, as it does here, that information is presumed to

be in the public interest. Cox Broad., 420 U.S. at 495 (“By placing the information

in the public domain on official court records, the State must be presumed to have

concluded that the public interest was thereby being served.”). And, just like the

government’s disclosure of covered information permitted under the Law, the

many types of disclosures by private entities prohibited by the Law are “necessary

for . . . society to function,” Mem. at 31, whether those disclosures are “giv[ing]”

customers’ addresses to vendors or “provid[ing]” litigants’ addresses for service of

process. N.J.S.A. 56:8-166.1(d).

      In sum, there is substantial ground for disagreement with each of the

determinations made by the district court involving the applicable level of

constitutional scrutiny.




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      B.      There are substantial grounds for disagreement with the district
              court’s constitutional analysis of the Law’s lack of any mens rea
              requirement.

      Under long-standing Supreme Court jurisprudence, a speaker cannot be

sanctioned without requiring some degree of fault. E.g., New York Times Co. v.

Sullivan, 376 U.S. 254, 278-79 (1964) (state-of-mind requirements are “essential”

to protect First Amendment freedoms). That jurisprudence is based on the

recognition that “[p]rohibitions on speech have the potential to chill, or deter,

speech outside their boundaries.” Counterman v. Colorado, 600 U.S. 66, 75

(2023). To prevent this chilling effect, the Supreme Court has repeatedly held that

liability can be imposed for speech only upon “a showing of a culpable mental

state.” Id.

      The district court acknowledged that the text of Daniel’s Law does not

include a mens rea requirement and recognized the Law would be unconstitutional

if it imposed strict liability. Mem. at 35. To save the statute, the court construed it

to contain a “negligence” requirement: the recipient of a written notice can only be

liable if it “unreasonably disclosed or made available” information “after the

statutory deadline had expired.” Id. at 39. There are substantial grounds for

disagreement with this approach – particularly given that the judiciary’s role is to

interpret state statutes, not rewrite them.




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      First, it is questionable whether the district court correctly “predict[ed]” that

the New Jersey Supreme Court would interpret Daniel’s Law to “conform to the

Constitution” by writing a mens rea standard into it. Id. at 36. Rather, the New

Jersey Supreme Court likely would not construe the Law in this manner and

instead would invalidate it. In State v. Pomianek, that court instructed that

constitutional “avoidance comes into play when a statute is susceptible to two

reasonable interpretations, one constitutional and one not.” 110 A.3d 841, 855

(N.J. 2014). The New Jersey Supreme Court then held it could not interpret a

section of a statute that was silent on mens rea to contain such a requirement:

“The Legislature pointedly decided not to include such an element in” the

subsection of the statute at issue, which was “evident by the presence of mens rea

elements” in two other subsections. Id. The court thus held the lower court “erred

by rewriting the statute to impose a mens rea element,” characterizing that decision

as “a judicial transplant” rather than “minor judicial surgery to save a statutory

provision.” Id.

      The decision below undertook just the kind of “judicial transplant”

Pomianek forbade. As in that case, Daniel’s Law requires “willful or reckless

disregard” to assess punitive damages, but the subsection imposing liability does

not include any mens rea requirement. N.J.S.A. 56:8-166.1(c)(1), (2). The

legislative history shows the New Jersey Legislature intended for Daniel’s Law to



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impose liability without a mens rea requirement. Originally, damages could be

imposed only if “a reasonable person would believe that providing . . . information

would expose another to harassment or risk of harm to life or property.” N.J.S.A.

56:8-166.1(a) (2021). But the Legislature later removed that language. It is well-

settled that courts must “presume” the Legislature “intend[ed]” this amendment “to

have real and substantial effect.” Ross v. Blake, 578 U.S. 632, 633 (2015).

      The ruling below also stands in contrast to federal appellate court decisions

not reading mens rea requirements into laws restricting speech to save them from

facial invalidation. See Video Software Dealers Ass’n v. Webster, 968 F.2d 684,

690-91 (8th Cir. 1992) (declaring unconstitutional statute imposing strict liability

for renting or selling violent videos to minors); Am.-Arab Anti-Discrimination

Comm. v. City of Dearborn, 418 F.3d 600, 613 (6th Cir. 2005) (holding statute

facially unconstitutional where it imposed strict liability for participating in a

march without a permit).

      Second, even if the district court properly concluded that a mens rea

standard could be read into Daniel’s Law, there is substantial ground for

disagreement about the standard it created. The district court adopted a

“negligence” standard, which it said was based on the standard required for “the

unreasonable publication of private facts.” Mem. at 38-39 (quoting Romaine, 537

A.2d at 291-92). The public disclosure tort’s “unreasonableness” standard,



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                                         JA046
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however, considers whether “the matters revealed were actually private” and

whether “dissemination of such facts would be offensive to a reasonable

person.” Romaine, 537 A.2d at 292. The district court’s “unreasonableness” test

diverges from that fault standard, as it is not tied to the harm Daniel’s Law seeks to

remedy, whether that harm is the security risk posed to the covered person or the

loss of privacy in the person’s address or phone number. Instead, the district

court’s test is tied to the defendant’s ability to take down information within the

ten-day period. Mem. at 38 (offering fire, hurricane, and computer failure as

exculpatory examples).

      This difference raises constitutional concerns. The Supreme Court has

repeatedly held that for speech to be actionable under the First Amendment, the

mens rea must be tailored to the harm the speech restriction seeks to prevent. For

example, the tort of defamation remedies reputational harm caused by a material

falsehood. Thus, when a public official brings a claim for defamation, the

Supreme Court requires a showing that the defendant either knew of, or recklessly

disregarded, a statement’s falsity. Sullivan, 376 U.S. at 280. Likewise, laws

punishing true threats remedy speech placing a person in fear that the speaker plans

to “commit an act of unlawful violence.” Counterman, 600 U.S. at

74. Accordingly, the Supreme Court requires a showing that the defendant

“consciously disregarded a substantial risk that his communications would be



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viewed as threatening violence.” Id. at 69. Here, in derogation of this precedent,

the district court adopted a standard that is not tethered to any harm the speech

restrictions imposed by Daniel’s Law seek to prevent.

III.   An Immediate Appeal Would Materially Advance The Ultimate
       Termination Of These Cases.

       An appeal materially advances the termination of litigation when it would

“eliminate the need for a trial,” “foreclos[e] complex issues,” or “enable the parties

to complete discovery more quickly or at less expense.” In re Chocolate

Confectionary Antitrust Litig., 607 F. Supp. 2d 701, 707 (M.D. Pa. 2009). This

third criterion is “closely tied” to the first; both are satisfied when an interlocutory

appeal speeds disposition of a case. Pub. Interest Rsch. Grp. of New Jersey, Inc. v.

Hercules, Inc., 830 F. Supp. 1549, 1557 (D.N.J. 1993) (citation omitted).

       If the Court reverses, these cases will come to an end. In that situation,

delaying appellate review until after final judgment would squander private and

judicial resources on sprawling, complex litigation that will have been

unnecessary. Cf. In re Cement Antitrust Litig. (MDL No. 296), 673 F.2d 1020,

1026 (9th Cir. 1981) (Section 1292(b) intended to avoid “protracted and expensive

litigation”).

       Even if the Court rules against Petitioners’ facial challenge after permitting

interlocutory appeal, that decision would provide guidance that would sharpen,




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streamline, and expedite resolution of Petitioners’ as-applied challenges and other

disputed issues that will shape the course of the litigation.

      An immediate appeal might also aid the resolution of the more than 100

similar cases pending in New Jersey state courts. See Klinghoffer v. S.N.C. Achille

Lauro Ed Altri-Gestione Motonave Achille Lauro in Amministrazione

Straordinaria, 921 F.2d 21, 24 (2d Cir. 1990) (“the impact that an appeal will have

on other cases is a factor that we may take into account in deciding whether to

accept an appeal”); APCC Servs., Inc. v. Sprint Commc’ns Co., 297 F. Supp. 2d 90,

100 (D.D.C. 2003) (“Resolution of this question would also assist many other

courts in resolving similar disputes.”). By deciding the merits of this appeal, the

Court would provide persuasive guidance and thereby aid the disposition of this

larger universe of cases and future cases likely to follow.

                                   CONCLUSION

      For the foregoing reasons, Petitioners respectfully request the Court grant

their Petition and permit interlocutory appeal.




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                      CERTIFICATE OF COMPLIANCE

     1.    This petition complies with the type-volume limitations of Federal Rule

           of Appellate Procedure 5(c)(1) because this petition contains 5,186

           words, excluding the part of the petition exempted by Federal Rules of

           Appellate Procedure 5(b)(1)(E) and 32(a)(7)(B)(iii).

     2.    This petition complies with the typeface requirements of Federal Rule

           of Appellate Procedure 32(a)(5) and the type-style requirements of

           Federal Rule of Appellate Procedure 32(a)(6) because this petition has

           been prepared in a proportionally spaced typeface using Microsoft

           Word in 14-point Times New Roman font.

     3.    I certify pursuant to Third Circuit Local Appellate Rules 28.3(d) and

           46.1(e) that I am a member of good standing of the Bar of this.

     4.    I certify pursuant to Third Circuit Local Appellate Rule 31.1(c) that the

           text of the brief filed electronically is identical to the text in the paper

           copies of the brief, and that electronic versions of the brief filed on ECF

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           Protection Antivirus, Version 1.421.690.0 (last update 12/8/2024 at

           11:12 PM EST) and no virus was detected.

Dated: December 12, 2024                       /s/ Angelo A. Stio III




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                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing with the Clerk of the

Court for the United States Court of Appeals for the Third Circuit by using the

appellate CM/ECF system on December 12, 2024.


      I further certify that copies of the foregoing were transmitted to all counsel

of record via email and commercial carrier for overnight delivery.


      Dated: December 12, 2024                         /s/ Angelo A. Stio




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                       ADDENDUM 1
       TO JOINT PETITION FOR LEAVE TO FILE APPEAL

              LIST OF PETITIONERS-DEFENDANTS


       Case Name and Civil Action No.             Petitioners-Defendants
1. Atlas Data Privacy Corp., et al v. We We Inform, LLC
    Inform, LLC, et al.
    Civil Action No. 1:24-cv-4037
2. Atlas Data Privacy Corp. et al. v.       Infomatics, LLC
    Infomatics, LLC, et al.
    Civil Action No. 1:24-cv-4041
3. Atlas Data Privacy Corp., et al v.       The People Searchers, LLC
    The People Searchers, LLC, et al.
    Civil Action No. 1:24-cv-4045
4. Atlas Data Privacy Corp., et al v. DM DM Group, Inc.
    Group, Inc., et al.
    Civil Action No. 1:24-cv-04075
5. Atlas Data Privacy Corp., et al v.       Deluxe Corporation
    Deluxe Corporation, et al.
    Civil Action No. 1:24-cv-4080
6. Atlas Data Privacy Corp., et al v.       Quantarium Alliance, LLC
    Quantarium Alliance, LLC, et al.        Quantarium Group, LLC
    Civil Action No. 1:24-cv-4098
7. Atlas Data Privacy Corp., et al v. Yardi Yardi Systems, Inc.
    Systems, Inc., et al.
    Civil Action No. 1:24-cv-4103
8. Atlas Data Privacy Corp., et al v.       Digital Safety Products, LLC
    Digital Safety Products, LLC, et al.
    Civil Action No. 1:24-cv-4141
9. Atlas Data Privacy Corp., et al v. Civil Civil Data Research
    Data Research
    Civil Action No. 1:24-cv-04143
10. Atlas Data Privacy Corp., et al v.      Scalable Commerce, LLC
    Scalable Commerce, LLC                  National Data Analytics, LLC
    Civil Action No. 1:24-cv-04160
11. Atlas Data Privacy Corp., et al v.      Labels & Lists, Inc.
    Labels & Lists, Inc..
    Civil Action No. 1:24-cv-4174
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         Case Name and Civil Action No.              Petitioners-Defendants
12.   Atlas Data Privacy Corp., et al v.       Innovis Data Solutions Inc.
      Innovis Data Solutions Inc.,
      Civil Action No. 1:24-cv-4176
13.   Atlas Data Privacy Corp., et al v.       Accurate Append, Inc.
      Accurate Append, Inc.
      Civil Action No. 1:24-cv-4178
14.   Atlas Data Privacy Corp., et al v.       Zillow, Inc.
      Zillow, Inc., et al.                     Zillow Group, Inc.
      Civil Action No. 1:24-cv-04256
15.   Atlas Data Privacy Corp., et al v.       Equimine, Inc.
      Equimine, Inc., et al.
      Civil Action No. 1:24-cv-04261
16.   Atlas Data Privacy Corp., et al v.       Melissa Data Corp.
      Melissa Data Corp., et al.
      Civil Action No. 1:24-cv-4292
17.   Atlas Data Privacy Corp., et al v.       Restoration of America
      Restoration of America, et al.           Voter Reference Foundation, LLC
      Civil Action No. 1:24-cv-4324
18.   Atlas Data Privacy Corp., et al v. i360, i360, LLC
      LLC, et al.
      Civil Action No. 1:24-cv-4345
19.   Atlas Data Privacy Corp., et al v.       GoHunt, LLC
      GoHunt, LLC, et al.                      GoHunt Management Holdings
      Civil Action No. 1:24-cv-04380           LLC
                                               GoHunt Management Holdings II,
                                               LLC
20.   Atlas Data Privacy Corp., et al v.       Accuzip, Inc.
      Accuzip, Inc.,
      Civil Action No. 1:24-cv-4383
21.   Atlas Data Privacy Corp., et al v.       Synaptix Technology, LLC
      Synaptix Technology, LLC, et al.         VoterRecords.com
      Civil Action No. 1:24-cv-4385
22.   Atlas Data Privacy Corp., et al v. Joy Joy Rockwell Enterprises, Inc.
      Rockwell Enterprises, Inc., et al.
      Civil Action No. 1:24-cv-4389
23.   Atlas Data Privacy Corp., et al v.       Fortnoff Financial, LLC
      Fortnoff Financial, LLC, et al.
      Civil Action No. 1:24-cv-04390

                                      A-2


                                     JA069
  Case: 25-1555       Document: 27     Page: 205     Date Filed: 04/14/2025

      Case: 24-8047   Document: 1-1    Page: 70    Date Filed: 12/12/2024




          Case Name and Civil Action No.           Petitioners-Defendants
24.   Atlas Data Privacy Corp., et al v.     MyHeritage, Ltd.
      MyHeritage, Ltd., et al.
      Civil Action No. 1:24-cv-4392
25.   Atlas Data Privacy Corp., et al v.     E-Merges.com, Inc.
      E-Merges.com, Inc.
      Civil Action No. 1:24-cv-4434
26.   Atlas Data Privacy Corp., et al v.     Nuwber, Inc.
      Nuwber, Inc., et al.
      Civil Action No. 1:24-cv-04609
27.   Atlas Data Privacy Corp., et al v.     RocketReach LLC
      RocketReach LLC, et al.
      Civil Action No. 1:24-cv-4664
28.   Atlas Data Privacy Corp., et al v.     Belles Camp Communications, Inc.
      Belles Camp Communications, Inc., et
      al.
      Civil Action No. 1:24-cv-04949
29.   Atlas Data Privacy Corp., et al v.     PropertyRadar, Inc.
      PropertyRadar, Inc., et al.
      Civil Action No. 1:24-cv-5600
30.   Atlas Data Privacy Corp., et al v.     The Alesco Group, L.L.C.
      The Alesco Group, L.L.C.               Alesco AI, LLC
      Civil Action No. 1:24-cv-5656          Alesco Marketing Solutions, L.L.C.
                                             Stat Resource Group Inc.
                                             Response Solutions Group, LLC
31.   Atlas Data Privacy Corp., et al v.     Searchbug, Inc.
      Searchbug, Inc.
      Civil Action No. 1:24-cv-05658
32.   Atlas Data Privacy Corp., et al. v.    Amerilist, Inc.
      Amerilist, Inc., et al.
      Civil Action No. 1:24-cv-05775
33.   Atlas Data Privacy Corp., et al. v. US US Data Corporation
      Data Corporation, et al.
      Civil Action No. 1:24-cv-7324
34.   Atlas Data Privacy Corp., et al. v.    Smarty, LLC
      Smarty, LLC, et al.
      Civil Action No. 1:24-cv-8075



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                                      JA070
      Case: 25-1555     Document: 27     Page: 206    Date Filed: 04/14/2025

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            Case Name and Civil Action No.        Petitioners-Defendants
    35. Atlas Data Privacy Corp., et al. v.  Compact Information Systems,
        Compact Information Systems, LLC, et LLC
        al.                                  Accudata Integrated Marketing,
        Civil Action No. 1:24-cv-8451        Inc.
                                             Alumnifinder
                                             ASL Marketing, Inc.
                                             College Bound Selection Service
                                             Deepsync Labs
                                             HomeData
                                             Student Research Group
    36. Atlas Data Privacy Corp., et al. v.  Darkowl, LLC
        Darkowl, LLC, et al.
        Civil Action No. 1:24-cv-10600
    37. Atlas Data Privacy Corp., et al. v.  Thomson Reuters Corporation
        Thomson Reuters Corp., et al.        Thomson Reuters Canada Limited
        Civil Action No. 1:24-cv-04269       Thomson Reuters Enterprise Centre
                                             GmbH
                                             West Publishing Corporation1




1
 The Complaint in this action originally named four defendants: Thomson Reuters
Corporation, Thomson Reuters Holdings Inc. (“TR Holdings”), Thomson Reuters
Canada Limited, and Thomson Reuters Applications Inc. (“TR Applications”).
See ECF No. 1. On December 10, 2024, the district court entered a Stipulated
Order pursuant to Rule 21 of the Federal Rules of Civil Procedure in which it
dismissed TR Holdings and TR Applications without prejudice and substituted
Thomson Reuters Enterprise Centre GmbH (“TREC”) and West Publishing
Corporation (“West”) as defendants, stating that TREC and West are subject to all
of the orders that it entered in the action, that TREC and West were deemed to
have joined the Consolidated Motion to Dismiss, and that the Order denying the
Consolidated Motion to Dismiss and the Order certifying that decision for
immediate interlocutory appeal were deemed filed in the action. See ECF 62.
Of the current defendants, only TREC and West have been served.
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                                       JA071
Case: 25-1555   Document: 27    Page: 207   Date Filed: 04/14/2025




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           EXHIBIT A



                               JA072
     Case: 25-1555   Document: 27    Page: 208    Date Filed: 04/14/2025


Case 1:24-cv-05658-HB Document1-1
      Case: 24-8047 Document:  26     Filed 11/26/24
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               IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF NEW JERSEY


 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4037
 WE INFORM, LLC, et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4041
 INFOMATICS, LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4045
 THE PEOPLE SEARCHERS, LLC,    :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4075
 DM GROUP, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4080
 DELUXE CORPORATION, et al.    :
________________________________________________________________


                                    JA073
        Case: 25-1555   Document: 27      Page: 209     Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document1-1
      Case: 24-8047 Document:  26    Filed 11/26/24
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 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4096
 DELVEPOINT, LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4098
 QUANTARIUM ALLIANCE, LLC,     :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4103
 YARDI SYSTEMS, INC., et al.   :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4141
 DIGITAL SAFETY PRODUCTS,      :
 LLC, et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4143
 CIVIL DATA RESEARCH           :
________________________________________________________________




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                                       JA074
        Case: 25-1555   Document: 27      Page: 210     Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document1-1
      Case: 24-8047 Document:  26    Filed 11/26/24
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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4160
 SCALABLE COMMERCE, LLC,       :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4174
 LABELS & LISTS, INC           :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4176
 INNOVIS DATA SOLUTIONS INC., :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4178
 ACCURATE APPEND, INC.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4256
 ZILLOW, INC., et al.          :
________________________________________________________________




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                                       JA075
         Case: 25-1555   Document: 27      Page: 211     Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document1-1
      Case: 24-8047 Document:  26    Filed 11/26/24
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ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :            NO. 24-4261
 EQUIMINE, INC., et al.        :
________________________________________________________________

ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :            NO. 24-4292
 MELISSA DATA CORP., et al.    :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
          v.                   :
                               :            NO. 24-4324
  RESTORATION OF AMERICA,      :
  et al.                       :
________________________________________________________________

ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :            NO. 24-4345
 i360, LLC, et al.             :
________________________________________________________________

ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :            NO. 24-4380
 GOHUNT, LLC, et al.           :
________________________________________________________________




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                                          JA076
        Case: 25-1555   Document: 27      Page: 212     Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document1-1
      Case: 24-8047 Document:  26    Filed 11/26/24
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 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4383
 ACCUZIP, INC., et al.         :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4385
 SYNAPTIX TECHNOLOGY, LLC,     :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4389
 JOY ROCKWELL ENTERPRISES,     :
 INC., et al.                  :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4390
 FORTNOFF FINANCIAL, LLC,      :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4392
 MYHERITAGE, LTD., et al.      :
________________________________________________________________




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                                       JA077
        Case: 25-1555   Document: 27      Page: 213     Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document1-1
      Case: 24-8047 Document:  26    Filed 11/26/24
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 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4434
 E-MERGES.COM, INC.            :
________________________________________________________________

 ATLAS DATA PRIVACY                 :               CIVIL ACTION
 CORPORATION, et al.                :
                                    :
         v.                         :
                                    :                 NO. 24-4609
 NUWBER, INC., et al.               :

________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4664
  ROCKETREACH LLC, et al.       :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-4949
 BELLES CAMP COMMUNICATIONS,    :
 INC., et al.                   :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5600
 PROPERTYRADAR, INC., ET AL.    :
________________________________________________________________




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                                        JA078
    Case: 25-1555   Document: 27     Page: 214     Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document1-1
      Case: 24-8047 Document:  26    Filed 11/26/24
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ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5656
 THE ALESCO GROUP, L.L.C.       :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5658
 SEARCHBUG, INC.                :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5775
 AMERILIST, INC., et al.        :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-7324
 US DATA CORPORATION, et al.    :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-8075
 SMARTY, LLC, et al.            :
________________________________________________________________




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                                   JA079
      Case: 25-1555   Document: 27        Page: 215    Date Filed: 04/14/2025

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      Case: 24-8047 Document:  26    Filed 11/26/24
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ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-8451
 COMPACT INFORMATION SYSTEMS,   :
 LLC, et al.                    :
________________________________________________________________

ATLAS DATA PRIVACY                   :                CIVIL ACTION
CORPORATION, et al.                  :
                                     :
        v.                           :
                                     :                NO. 24-10600
DARKOWL, LLC, et al.                 :

                                ORDER

          AND NOW, this 26th day of November, 2024, for the

reasons stated in the foregoing Memorandum, it is hereby ORDERED

that the consolidated motion of defendants to dismiss these

actions under Rule 12(b)(6) of the Federal Rules of Civil

Procedure on the ground that Daniel’s Law is unconstitutional on

its face is DENIED.

                                          BY THE COURT:



                                          /s/   Harvey Bartle III
                                                                            J.




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                                     JA080
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           EXHIBIT B



                               JA081
      Case: 25-1555   Document: 27    Page: 217    Date Filed: 04/14/2025


Case 1:24-cv-05658-HB Document1-1
       Case: 24-8047 Document: 25      Filed 11/26/24
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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4037
 WE INFORM, LLC, et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4041
 INFOMATICS, LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4045
 THE PEOPLE SEARCHERS, LLC,    :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4075
 DM GROUP, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4080
 DELUXE CORPORATION, et al.    :
________________________________________________________________


                                     JA082
        Case: 25-1555   Document: 27      Page: 218    Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document1-1
       Case: 24-8047 Document: 25    Filed 11/26/24
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 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4096
 DELVEPOINT, LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :             NO. 24-4098
 QUANTARIUM ALLIANCE, LLC,     :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4103
 YARDI SYSTEMS, INC., et al.   :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :             NO. 24-4141
 DIGITAL SAFETY PRODUCTS,      :
 LLC, et al.                   :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4143
 CIVIL DATA RESEARCH           :
________________________________________________________________




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                                       JA083
        Case: 25-1555   Document: 27      Page: 219    Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document1-1
       Case: 24-8047 Document: 25    Filed 11/26/24
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 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :             NO. 24-4160
 SCALABLE COMMERCE, LLC,       :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4174
 LABELS & LISTS, INC           :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :             NO. 24-4176
 INNOVIS DATA SOLUTIONS INC., :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :             NO. 24-4178
 ACCURATE APPEND, INC.,        :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4256
 ZILLOW, INC., et al.          :
________________________________________________________________




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                                       JA084
         Case: 25-1555   Document: 27      Page: 220    Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document1-1
       Case: 24-8047 Document: 25    Filed 11/26/24
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 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4261
 EQUIMINE, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4292
 MELISSA DATA CORP., et al.    :
________________________________________________________________

  ATLAS DATA PRIVACY           :           CIVIL ACTION
  CORPORATION, et al.          :
                               :
          v.                   :
                               :            NO. 24-4324
  RESTORATION OF AMERICA,      :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4345
 i360, LLC, et al.             :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4380
 GOHUNT, LLC, et al.           :
________________________________________________________________




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                                          JA085
        Case: 25-1555   Document: 27      Page: 221    Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document1-1
       Case: 24-8047 Document: 25    Filed 11/26/24
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 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4383
 ACCUZIP, INC., et al.         :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :             NO. 24-4385
 SYNAPTIX TECHNOLOGY, LLC,     :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :             NO. 24-4389
 JOY ROCKWELL ENTERPRISES,     :
 INC., et al.                  :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :             NO. 24-4390
 FORTNOFF FINANCIAL, LLC,      :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4392
 MYHERITAGE, LTD., et al.      :
________________________________________________________________




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                                       JA086
        Case: 25-1555   Document: 27      Page: 222     Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document1-1
       Case: 24-8047 Document: 25    Filed 11/26/24
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 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4434
 E-MERGES.COM, INC.            :
________________________________________________________________

 ATLAS DATA PRIVACY                 :              CIVIL ACTION
 CORPORATION, et al.                :
                                    :
          v.                        :
                                    :                 NO. 24-4609
 NUWBER, INC., et al.               :

________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
         v.                     :
                                :            NO. 24-4664
 ROCKETREACH LLC, et al.        :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-4949
 BELLES CAMP COMMUNICATIONS,    :
 INC., et al.                   :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5600
 PROPERTYRADAR, INC., ET AL.    :
________________________________________________________________




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ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5656
 THE ALESCO GROUP, L.L.C.       :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5658
 SEARCHBUG, INC.                :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5775
 AMERILIST, INC., et al.        :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-7324
 US DATA CORPORATION, et al.    :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-8075
 SMARTY, LLC, et al.            :
________________________________________________________________




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ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-8451
 COMPACT INFORMATION SYSTEMS,   :
 LLC, et al.                    :
________________________________________________________________

ATLAS DATA PRIVACY                    :              CIVIL ACTION
CORPORATION, et al.                   :
                                      :
          v.                          :
                                      :               NO. 24-10600
DARKOWL, LLC, et al.                  :


                               MEMORANDUM

Bartle, J.                                              November 26, 2024

             The plaintiffs in these 37 civil actions allege

violations of a New Jersey statute known as Daniel’s Law. 1

Before the court is the consolidated motion of defendants to

dismiss on the ground that Daniel’s Law is unconstitutional on

its face.      Defendants assert that it abridges their freedom of

speech.

             Daniel’s Law provides that judges, prosecutors and

other law enforcement officers as well as their immediate family

members (“covered persons”) may request in writing that any

person, business, or association not disclose or make available



1.   Daniel’s Law as amended is codified as follows: N.J.S.A.
2C:20-31.1, 17:46B-1.1, 19:31-18:1, 46:26A–12, 47:1-17, 47:1A-
1.1, 47:1A-5, 47:1B-1, 47:1B-2, 47:1B-3, 47:1B–4, 56:8-166.1,
56:8-166.3.

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                                     JA089
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their home addresses and unpublished telephone numbers.                It

creates a civil remedy for actual and punitive damages and

injunctive relief for non-compliance not only for covered

persons but also for their assignees.           There are also criminal

penalties.

             Plaintiffs are Atlas Data Privacy Corporation

(“Atlas”), Jane Doe-1, Jane Doe-2, Edwin Maldonado, Scott

Maloney, Justyna Maloney, Patrick Colligan, Peter Andreyev, and

William Sullivan.      The named individual plaintiffs, who are

police officers or correctional officers, allege they are

“covered persons” under Daniel’s Law.           Atlas is the assignee of

approximately 19,000 unnamed covered persons who used its

website to notify defendants to cease disclosure of their

personal contact information.         The defendants include real

estate businesses, direct-mailing and marketing companies, data

brokers, and other entities that provide fundraising support to

charities and other non-profits. 2          According to plaintiffs,

defendants are entities which continued to make available their

home address and unlisted phone numbers in violation of Daniel’s

Law.    There is no allegation that this information was

untruthful or that defendants obtained it illegally.




2.   There are also named as defendants ten “Richard Roes” and
ten “ABC Companies” in each complaint.
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                                      JA090
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                                       I.

             In or about February 2024 and thereafter, plaintiffs

filed these actions in the Superior Court in a number of

different counties in New Jersey.            Defendants, pursuant to 28

U.S.C. §§ 1441 and 1446, removed the actions to the United

States District Court for the District of New Jersey on the

ground that diversity jurisdiction exists pursuant to 28 U.S.C.

§ 1332(a).    The individual plaintiffs are citizens of New Jersey

while Atlas, a corporation, is a citizen of both Delaware and

New Jersey.    All defendants are citizens of states other than

New Jersey and Delaware.      There is no dispute that the requisite

amounts in controversy have been satisfied.

             All of the judges of the District of New Jersey

recused themselves.     On April 2, 2024, the Chief Judge of the

United States Court of Appeals for the Third Circuit reassigned

these and all related actions to the undersigned pursuant to 28

U.S.C. § 292(b).     E.g., Order, Atlas Data Privacy Corp. v.

Blackbaud, Inc., Civil Action No. 24-3993 (D.N.J. April 2, 2024)

(Doc. No. 13).

             This court held several status conferences in these

and other reassigned Daniel’s Law cases at which defendants made

it known that they intended to challenge Daniel’s Law on various




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                                    JA091
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grounds. 3   Some also maintained that subject matter jurisdiction

was absent.    The court, in an effort to proceed in an orderly

fashion, stayed all these actions except for motions to remand

for lack of subject matter jurisdiction and motions to dismiss

on the ground of facial unconstitutionality.            The court

thereafter remanded 39 Daniel’s Law cases for lack of diversity

jurisdiction.    It denied remand in one case, Atlas Data Privacy

Corp. v. MyHeritage Ltd., Civil Action No. 24-4392, because of

fraudulent joinder of a non-diverse defendant.             Memorandum at

31, Atlas Data Privacy Corp. v. MyHeritage Ltd., Civil Action

No. 24-4392 (D.N.J. Nov. 20, 2024) (Doc. No. 52). 4             The

consolidated motion being decided here relates to the actions

for which no challenge to subject matter jurisdiction is

pending.

             The court gave notice of these actions to the Attorney

General of New Jersey, who intervened.           See 28 U.S.C. § 2403(b);

Fed. R. Civ. P. 5.1(b).     With the court’s permission, the



3.   On March 25, 2024, even before the status conferences,
Delvepoint, LLC, the defendant in one of the cases, had moved to
dismiss. Atlas Data Privacy Corp. v. Delvepoint, LLC, Civil
Action No. 24-4096 (Doc. No. 3).
4.   In Atlas Data Privacy Corp. v. Thomson Reuters Corp., Civil
Action No. 24-4269 (D.N.J. filed Mar. 27, 2024), the court
granted remand on the ground that non-diverse defendants Thomson
Reuters Holdings and Thomson Reuters Applications had not proven
fraudulent joinder. The court has granted these defendants
leave to file a motion for reconsideration on or before December
2, 2024.
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                                    JA092
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National Association of Assistant United States Attorneys, the

New Jersey State Policemen's Benevolent Association, Inc., and

the National Association of Police Organizations filed an amicus

brief.    E.g., Brief for the Nat’l Ass’n of Assistant U.S. Att’ys

et al. as Amici Curiae, Atlas Data Privacy Corp. v. Lightbox

Parent, L.P., Civil Action No. 24-4105 (D.N.J. Aug. 1, 2024)

(Doc. No. 47-1).

                                      II.

            The complaints recite and the court at the outset

takes judicial notice of the tragic circumstances that led to

the passage of Daniel’s Law.        In July 2020, a disgruntled lawyer

who had litigated before United States District Judge Esther

Salas sought to assassinate her at her home in New Jersey.

Esther Salas, My Son Was Killed Because I’m a Federal Judge,

N.Y. Times (Dec. 8, 2020), https://www.nytimes.com/

2020/12/08/opinion/esther-salas-murder-federal-judges.html.

After finding her home address on the Internet, the lawyer

showed up on a Sunday evening armed and dressed as a delivery

driver.    Id.   Daniel Anderl, Judge Salas’s twenty-year-old son,

answered the door and was fatally shot by the lawyer.                Id.   Her

husband and Daniel’s father was severely wounded.              Id.     The

lawyer then fled.     In response to these crimes, the New Jersey

Legislature passed Daniel’s Law in November 2020 and has amended

it thereafter.

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           Daniel’s Law, as declared by the New Jersey

Legislature, was enacted to serve the following goals:

                      This act shall be liberally
           construed in order to accomplish its purpose
           and the public policy of this State, which
           is to enhance the safety and security of
           certain public officials in the justice
           system, including judicial officers, law
           enforcement officers, child protective
           investigators[,] . . . and prosecutors, who
           serve or have served the people of New
           Jersey, and the immediate family members of
           these individuals, to foster the ability of
           these public servants who perform critical
           roles in the justice system to carry out
           their official duties without fear of
           personal reprisal from affected individuals
           related to the performance of their public
           functions.

N.J.S.A. 56:8-166.3 (emphasis added).

           The law prohibits any entity when requested from

thereafter disclosing the home address and unpublished telephone

number of a covered person:

                     Upon notification pursuant to
           paragraph (2) of this subsection, and not
           later than 10 business days following
           receipt thereof, a person, business, or
           association shall not disclose or re-
           disclose on the Internet or otherwise make
           available, the home address or unpublished
           home telephone number of any covered
           person . . . .

Id. at 56:8-166.1(a)(1).      The notice must be in writing and

state that the person seeking non-disclosure is a person

authorized to do so.     Id. at 56.8-166.1(2).         A “covered person”

is defined as “an active, formerly active, or retired judicial

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officer, law enforcement officer, or child protective

investigator . . ., or prosecutor and any immediate family

member residing in the same household as such [individual].”

Id. at 56:8-166.1(d).

           “Disclose” means “to solicit, sell, manufacture, give,

provide, lend, trade, mail, deliver, transfer, post, publish,

distribute, circulate, disseminate, present, exhibit, advertise,

or offer” and includes “making available or viewable within a

searchable list or database, regardless of whether a search of

such list or database is actually performed.”             Id.

           The prohibition on disclosure is triggered, as noted

above, when a covered person transmits to an entity written

notice requesting non-disclosure.            The entity must comply with

the request no later than 10 business days after receipt.                Id.

If it does not, it is “liable to the covered person or the

covered person’s assignee, who may bring a civil action in the

Superior Court.”     Id. at 56:8-166.1(b) (emphasis added).             Under

Daniel’s Law, an “[a]ssignee’ means a person or entity to whom

or which an authorized person has assigned, in writing, a

covered person’s right to bring a civil action for violation of

subsection a. of this section.” 5        Id. at 56:8-166.1(d).



5.   Covered persons may also request through the New Jersey
Office of Information Privacy that public agencies redact or
cease to disclose home addresses. Public agencies shall redact
such information no later than 30 days after the request has
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                                    JA095
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           Non-compliance carries a monetary penalty and the

award of appropriate equitable relief.           The court shall award:


                (1) actual damages, but not less than
                    liquidated damages computed at the
                    rate of $1,000 for each violation of
                    this act;
                (2) punitive damages upon proof of
                    willful or reckless disregard of the
                    law;
                (3) reasonable attorney’s fees and other
                    litigation costs reasonably incurred;
                    and
                (4) any other preliminary and equitable
                    relief as the court determines to be
                    appropriate.

Id. at 56:8-166.1(c).     In addition, Daniel’s Law provides for

criminal liability. 6



been approved by the Office of Information Privacy.               N.J.S.A.
47:1B-2.

6.   Daniel’s Law provides:

     Upon notification pursuant to subsection c. of
     this section, and not later than 10 business days
     after receipt thereof, a person shall not
     knowingly, with purpose to expose another to
     harassment or risk of harm to life or property,
     or in reckless disregard of the probability of
     such exposure, post, repost, publish, or
     republish on the Internet, or otherwise make
     available, the home address or unpublished home
     telephone number of any covered person, except in
     compliance with any court order, law enforcement
     investigation, or request by a government agency
     or person duly acting on behalf of the agency.

N.J.S.A. 2C:20-31.1(b).

     It also provides that: “[a] reckless violation of
subsection b. is a crime of the fourth degree. A purposeful
                                      -15-


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             In limited circumstances, Daniel’s Law exempts certain

governmental and other entities from the prohibition against the

disclosure of a home address—but not the home telephone number—

of a covered person.     Id. at 47:1B-3.         For example, a county

recording officer is not required to redact the home address of

a covered person from property records which are publicly

available.    Id. at 47:1B-3(a)(2).          Similarly, a government

agency may disclose the home address of a covered person to a

third-party contractor but only for the purposes of carrying out

its contract with the agency.         Id. at 47:1B-3(a)(5).

                                      III.

             Defendants, pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure, move to dismiss the plaintiffs’

complaints on the ground that Daniel’s Law is unconstitutional

on its face.    As stated in Neitzke v. Williams, “Rule 12(b)(6)

authorizes a court to dismiss a claim on the basis of a

dispositive issue of law.”      490 U.S. 319, 326 (1989).           The court

must accept as true all well-pleaded facts in the complaints.

Nat’l Rifle Ass’n of Am. v. Vullo, 602 U.S. 175, 195 (2024).

The court may also consider exhibits attached to the complaints

and take judicial notice of matters of public record.               Pension

Benefit Guar. Corp. v. White Consol. Indus., Inc., 998 F.2d



violation of subsection b. is a crime of the third degree.”                 Id.
at 2C:20-31.1(d).
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1192, 1196 (3d Cir. 1993) (citing 5A Charles Allen Wright &

Arthur R. Miller, Federal Practice and Procedure § 1357 (2d ed.

1990)).

           The eight individual plaintiffs, two of whom are

correctional officers and six of whom are police officers,

allege that they were threatened with violence as a result of

his or her public service. 7     For present purposes, these

allegations must be accepted as true.          After Daniel’s Law was



7.   Officer Jane Doe-1 is a law enforcement officer who was
surveilled along with her young child at her home by a major
criminal organization that she was investigating.
     Officer Jane Doe-2 is a correctional officer who discovered
a note left behind by an inmate in the correctional facility’s
law library that contained her full name and home address.
     Detective Edwin Maldonado, a law enforcement officer, moved
after receiving death threats from the criminal organization
Mara Salvatrucha-13 (“MS-13”) at his home. When MS-13 could not
locate him at his new address, they targeted his mother and
attempted to burn down her building.
     Sergeant Scott Maloney and Officer Justyna Maloney are both
law enforcement officers who received death threats and demands
for ransom by phone after Officer Maloney’s encounter with a
civilian was filmed and posted online. Two individuals were
arrested after they were spotted by a neighbor circling the
Maloneys’ house, armed and wearing ski masks.
     Detective Patrick Colligan, during his 32 years in law
enforcement, has received numerous threats targeted at him and
his family. He has a surveillance camera and alarm system and
trained his family how to respond to an attack on his home.
     Officer Peter Andreyev, a law enforcement officer, has
received numerous death threats and threats of violence targeted
at himself and his family members.
     Officer William Sullivan, a correctional officer, has
likewise received death threats and threats of violence directed
at himself and his family.

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enacted, each individual plaintiff sent defendants written

notices requesting that defendants cease disclosing or re-

disclosing his or her home address and unlisted telephone

number.

           Atlas owns and operates an online platform for covered

persons to identify data brokers and send written notices.                 To

use the service, covered persons must sign up for an account and

set up an email address with Atlas.          They can then use the

platform to identify which entities are disclosing their

personal information and send written notices to those entities

using their Atlas email account.         Approximately 19,000 covered

persons signed up with Atlas and used its platform to send

written notices to defendants.

           In exchange for using the platform, these covered

persons agreed to Atlas’s terms of service.            Those terms of

service state that, upon receipt of written notice from Atlas, a

covered person using Atlas’s platform is “deemed . . . to have

irrevocably assigned to [Atlas] all of [his or her] rights to

bring a claim (and seek damages, other legal remedies, and fees,

costs, and litigation expenses) for violations of [his or her]

rights under” Daniel’s Law.      The terms of service further

provide that “[Atlas] will have the exclusive right to bring

such civil enforcement actions” after assignments take place.

At that point, these covered persons have assigned absolutely

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                                    JA099
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their claims under Daniel’s Law to Atlas.          Under their agreement

with Atlas, Atlas will remit 65% of any recovery to the covered

persons and retain 35% for itself.

             Atlas and the individual plaintiffs claim that

defendants never responded to the written notices and never

redacted the personal information of the individual plaintiffs

or of the 19,000 unnamed covered persons who have assigned their

claims to Atlas.

                                    IV.

             The First Amendment to the Constitution, on which

defendants rely, states in relevant part: “Congress shall make

no law . . . abridging the freedom of speech . . . .”             This

constitutional prohibition also applies to the laws of the

states through the due process clause of the Fourteenth

Amendment.    Manhattan Cmty. Access Corp. v. Halleck, 587 U.S.

802, 808 (2019).    To succeed on a facial challenge in a First

Amendment case, the party making the challenge must establish

that “the law’s unconstitutional applications substantially

outweigh its constitutional ones.”          Moody v. NetChoice, LLC, 144

S. Ct. 2383, 2397 (2024).

             The court will quickly dispose of the plaintiffs’

first argument that Daniel’s Law is regulating only data and

therefore is not restricting speech.          If plaintiffs are correct,

there is no First Amendment issue to be resolved.            The Supreme

                                    -19-


                                    JA100
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Court has described speech as expressive activity intended and

reasonably understood as communicative.           Clark v. Cmty. for

Creative Non-Violence, 468 U.S. 288, 294 (1984).            If, for

example, defendants simply published statistics compiled by the

Census Bureau, the information would probably be characterized

as data.    That is not what is happening here.         Instead, the home

addresses and unlisted phone numbers being disseminated are tied

to specific persons.    In other words, the defendants are telling

the world that Police Officer Jane Jones resides at 123 Main

Street, Camden and can be reached at 609-000-0000.

            If Daniel’s Law limits speech, plaintiffs assert that

the law simply restricts commercial speech which is subject to a

lesser standard of judicial scrutiny and is afforded less

protection under the First Amendment than other forms of speech.

Cent. Hudson Gas & Elec. Corp. v. Pub. Serv. Comm’n of N.Y., 447

U.S. 557, 562-63 (1980).    The Supreme Court has defined

commercial speech as “expression related solely to the economic

interests of the speaker and its audience,” that is expression

which serves the economic interests of both the speaker and

consumer.    Id. at 561 (emphasis added).         The Court has also

described commercial speech as “speech that does no more than

propose a commercial transaction.”         United States v. United

Foods, Inc., 533 U.S. 405, 409 (2001).         Our Court of Appeals has

observed that commercial speech is generally found in

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                                    JA101
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advertising for the sale of goods and services.           U.S.

Healthcare, Inc. v. Blue Cross of Greater Phila., 898 F.2d 914,

933 (3d Cir. 1990).

            Commercial speech may be restricted when the message

is either inaccurate or misleading or when the message promotes

unlawful activity.    Cent. Hudson, 447 U.S. at 566.          Otherwise it

may be limited only where the government’s interest in

regulating such speech is substantial, the government’s

regulation directly advances that interest, and the regulation

is no more extensive than necessary.        Id. at 571-72.       This level

of review of commercial speech is generally called intermediate

scrutiny.   Greater Phila. Chamber of Com. v. City of Phila., 949

F.3d 116, 137-38 (3d Cir. 2020).

            While Daniel’s Law includes to “sell” and to

“advertise” within the definition of “disclose,” they are merely

two verbs among many that are enumerated.          The definition also

encompasses to “give, . . . post, . . . disseminate, [and]

exhibit.”   In addition, “disclose” in Daniel’s Law means to make

“available or viewable within a searchable list or database.”

N.J.S.A. 56:8-166.1(d).     The Supreme Court has explained that

commercial speech must relate solely to the economic interests

of its speaker and its audience.       Daniel’s Law allows covered

persons to prevent the dissemination of certain personal

information regardless of the means or reasons for the

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                                    JA102
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dissemination.    Its stated purpose in limiting expression is to

enhance the safety and security of judges, prosecutors, and law

enforcement officers and to foster their ability to carry out

their duties without fear of reprisal.          The expression in issue

here is not about the economic interests of the plaintiffs, the

defendants, or the public, let alone solely about their economic

interests.    The speech certainly does not propose a commercial

transaction.    Daniel’s Law, in this court’s view, does not

concern commercial speech.

             The court must decide whether Daniel’s Law is content-

based or content-neutral on its face since the level of judicial

scrutiny will depend on this distinction.          See Reed v. Town of

Gilbert, 576 U.S. 155, 166 (2015).          The Supreme Court has

explained that “government regulation of speech is content based

if a law applies to particular speech because of the topic

discussed or the idea or message expressed.”           Id. at 163.

Speech is content-based when it is regulated by subject matter,

when there are restrictions on a particular viewpoint, or when

there is a prohibition of a particular topic.           Id. at 169.      In

contrast, a law is content-neutral when it is “justified without

reference to the content of the regulated speech.”            Bartnicki v.

Vopper, 532 U.S. 514, 526 (2001) (quoting Ward v. Rock Against

Racism, 491 U.S. 781, 791 (1989)).



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                                    JA103
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            Daniel’s Law authorizes covered persons to request

non-disclosure of their home addresses and unpublished phone

numbers.    It clearly regulates particular subject matter.

Accordingly, Daniel’s Law is content-based.

            The Supreme Court’s more recent decision in City of

Austin v. Reagan Nat’l Advertising of Austin, LLC, 596 U.S. 61

(2022), cited by plaintiffs, does not mandate a contrary result.

There, the Court upheld the constitutionality of a city

ordinance regulating on-premises signs differently than off-

premises signs.      The ordinance dealt with such matters as their

size, illumination and location.        The Court ruled that the

ordinance was “agnostic as to content” and thus was content

neutral so as to be subject to intermediate and not strict

scrutiny.    The facts in City of Austin contrast markedly from

the situation here.      Id. at 69-71.

            As Daniel’s Law limits content-based speech, the

defendants maintain that it is subject to strict scrutiny.

Under that standard, the law would be “presumptively

unconstitutional and may be justified only if the government

proves that [it is] narrowly tailored to serve compelling state

interests.”    Reed, 576 U.S. at 163.

            Plaintiffs urge that a somewhat different analysis

should be applied in deciding the constitutionality of Daniel’s

Law because Daniel’s Law is a privacy statute.            Plaintiffs

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                                     JA104
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describe it as creating a right of action for judges,

prosecutors and other law enforcement officers to redress the

invasion of their privacy.    It provides that they may notify

entities, large and small, to refrain from disclosing their home

addresses and unlisted phone numbers upon 10 days written

notice.   If an entity fails to adhere to the request, a covered

person or his or her assignee may sue for actual damages but not

less than $1,000 in liquidated damages as well as for injunctive

relief.   Plaintiffs cite Daniel’s Law as part of the long

history of common law torts and statutes whose purpose is to

afford redress to persons whose privacy is invaded from

disclosure of personal information, albeit truthful, that is not

of public interest.    See, e.g., Samuel D. Warren & Louis D.

Brandeis, The Right to Privacy, 4 Harv. L. Rev. 193 (1890);

William L. Prosser, Privacy, 48 Cal. L. Rev. 383 (1960).

            Our Court of Appeals recognized in 2000 that a

significant range of people including public officials,

performers and ordinary folks regard home addresses as private

information.   The court understood this reality even while

referencing the wide availability of telephone directories at

the time.   Our Court of Appeals also wrote that the Freedom of

Information Act exempts home addresses from disclosure as it

would be a “clearly unwarranted invasion of privacy.”             Paul P.

v. Farmer, 227 F.3d 98, 101 (3d Cir. 2000); 5 U.S.C.

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                                   JA105
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§ 552(b)(6).    If anything, the sentiment that such information

is private has intensified as most people today have unlisted

numbers and the presence of telephone directories that include

addresses is virtually a thing of the past.

             The defendants counter that Daniel’s Law is not a

privacy law but rather a law to provide for the safety and

security of covered persons.        The court rejects this narrow

reading.   Privacy has generally been defined as the right to be

let alone.    Warren & Brandeis, The Right to Privacy, supra, at

195 (quoting Cooley on Torts 29 (2d ed. 1888)).            The New Jersey

Legislature has concluded that covered persons should have the

right to be let alone insofar as their home addresses and

unpublished phone numbers are concerned.          The reason the

Legislature has protected this information is not only to

enhance the safety and security of covered persons but also to

safeguard them from the fear of reprisal for doing their jobs.

Daniel’s Law is analogous to the long-standing common law tort

for invasion of privacy for disclosure of the intimate details

of a person’s private life.     There the law allows for damages

for disclosure of such information in order to compensate for

causing embarrassment and humiliation.          Romaine v. Kallinger,

537 A. 2d 284, 292 (N.J. 1988).        Here, Daniel’s Law furnishes a

remedy for disclosing certain private information and exposing



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                                    JA106
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covered persons to fear of reprisal and to personal danger.

Whatever else it may be, Daniel’s Law is a privacy statute.

            The Supreme Court has recognized the tension that

exists between privacy law and the right of freedom of speech

and the press under the First Amendment.         It has decided a

number of cases where it has had to resolve this tension.              The

cases that have been cited focus on state statutes which block

the dissemination of the identity of rape victims and of

juvenile offenders even when the information was legally

obtained.   Some involved criminal statutes while others

concerned statutes providing for civil redress for persons whose

privacy has been invaded.    See, e.g., The Florida Star v.

B.J.F., 491 U.S. 524 (1989); Smith v. Daily Mail Publ’g Co., 443

U.S. 97 (1979); Oklahoma Publ’g Co. v. Oklahoma Cnty Dist. Ct.,

430 U.S. 308 (1977); Cox Broad. Corp. v. Cohn, 420 U.S. 469

(1975).   In all of these cases the Supreme Court ruled that the

First Amendment carried the day over the right to privacy.                See

also Bowley v. City of Uniontown Police Dept., 404 F.3d 783 (3d

Cir. 2005).   Nonetheless, the Court has continually stressed

that it was not announcing a blanket rule that free speech must

always prevail and that publication of truthful and lawfully

obtained information can never be blocked or punished.              The

Florida Star, 491 U.S. at 532.       It has emphasized that each case



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                                   JA107
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must be decided on its particular facts.          Id. at 533.      It

reiterated in The Florida Star:

           Our holding today is limited. We do not
           hold that truthful publication is
           automatically constitutionally protected, or
           that there is no zone of personal privacy
           within which the State may protect the
           individual from intrusion by the press, or
           even that a State may never punish
           publication of the name of a victim of a
           sexual offense.

Id. at 541.

           As noted above, defendants assert this court should

apply strict scrutiny to Daniel’s Law, a standard which the

Supreme Court has applied in Reed and other cases.             The words

“strict scrutiny” and the strict scrutiny standard of review,

however, do not appear in the above cited Supreme Court

decisions involving the right to privacy.           Instead, the Supreme

Court has outlined three specific factors that a court must

consider in balancing the right of privacy against the right of

free speech.      In The Florida Star, which involved a civil

statute imposing damages for the publication of the name of a

rape victim, the Court established that the first inquiry is

whether the information is lawfully obtained and is of public

significance. 8    Id. at 536.   A court must then determine whether



8.   In these pending actions, it is not contested that
defendants obtained the covered persons’ home addresses and
unlisted phone numbers lawfully. Accordingly, the court need
not consider this issue.
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                                     JA108
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the law in question serves “a need to further a state interest

of the highest order.”    Id. at 537 (quoting Daily Mail, 443 U.S.

at 103).   Finally, the court must decide whether the statute

serves “the significant interests” which the state purports to

advance and is not underinclusive.          Id. at 540.   Since Daniel’s

Law is a privacy law, this is the proper analysis to be applied

in the pending cases.

             First, the court concludes that the home addresses and

unpublished phone numbers are not matters of public

significance.    The narrow limitation under Daniel’s Law

constitutes but a tiny part of the life story of covered persons

and is not information that is necessary or pertinent for public

oversight.    Daniel’s Law does not inhibit in any meaningful way

the public’s knowledge of public officials or its ability to

hold them accountable for their performance and behavior.              In

contrast to the limited scope of Daniel’s Law, the restricted

speech in the cited Supreme Court cases concerned criminal

activity and its prosecution.       The public clearly has a vital

interest in such information while the same cannot be said of

the speech governed by Daniel’s Law.

             The defendants raise the specter of a number of

hypotheticals where the home address or the unlisted phone

number of a covered person may be newsworthy and thus of public

significance.    If any of these hypotheticals ever comes to pass,

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                                    JA109
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the defendants’ remedy is to challenge Daniel’s law as

unconstitutional as applied.        See United States v. Hansen, 599

U.S. 762, 784-85 (2023).

            Second, the court must determine whether Daniel’s Law

serves a need to further a state interest of the highest order.

The New Jersey Legislature declared in Daniel’s Law itself that

its purpose was to enhance the safety and security of judges,

prosecutors, and other law enforcement officers so that they are

able to carry out their official duties without fear of personal

reprisal.   The court need not tarry by reciting in detail the

support for the well-known fact, amply documented by the record

here, that in recent years judges, prosecutors, police,

correctional officers, and others in law enforcement have been

the subject of an ever increasing number of threats and even

assassinations.     Some of these threats and assassinations, as

alleged in the complaints and of which the court takes judicial

notice, have been facilitated by malefactors obtaining the home

address or unlisted phone number of their targets.             Indeed, the

immediate motivation for the passage of Daniel’s Law was the

tragedy that occurred when an individual with grievances against

Judge Salas obtained her home address from the Internet,

proceeded to her home with the intent to kill her, and killed

her son and wounded her husband.        None of the parties appears to

contest that Daniel’s Law, in aiming to protect covered persons

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                                    JA110
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from fear, threats, injury and death, serves a need to further a

state interest of the highest order.

             Finally, the defendants assert that Daniel’s Law fails

because it is underinclusive.        By invoking underinclusiveness,

they mean that New Jersey is not really pursuing or the law is

not advancing its compelling state interest in protecting

judges, prosecutors, and other law enforcement officers from

threats and assassinations.     See Williams-Yulee v. Florida Bar,

575 U.S. 433, 448-49 (2015).        Defendants reference that Daniel’s

Law has a number of exemptions allowing for disclosure of home

addresses.    The law, for example, does not block access to home

addresses which appear on property records or on voter

registration lists.    The short answer is that this type of

information is generally more difficult to extract from public

records than information found on the Internet.            The Supreme

Court has emphasized that the right of privacy in compiled or

computerized information does not evaporate simply because the

information may be found in other places.           It explained that

there is “a vast difference between public records that might be

found after a diligent search of courthouse files, county

archives, and local police stations throughout the country and a

computerized summary located in a single clearinghouse of

information.”    U.S. Dep’t of Just. v. Reps. Comm. for Freedom of

the Press, 489 U.S. 749, 764 (1989).         The fact that the home

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                                    JA111
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addresses and unlisted phone numbers of individual covered

persons may be discovered elsewhere in various scattered

locations does not make Daniel’s Law underinclusive.

             The defendants also fault the law because it treats

private and business entities more strictly than public

agencies.    The law does not limit the use of information by

governmental agencies in the same way it does private entities.

In some instances, the availability of home addresses and even

phone numbers is necessary for the government and society to

function.    It also allows the State more time to remove

information from public access.        This is understandable

considering the numerous state agencies, counties, and

municipalities which may hold such information.            This reality

does not make Daniel’s Law underinclusive.           See Fraternal Order

of Police v. City of Phila., 812 F.2d 105, 118 (3d Cir. 1987).

             The distinctions made in Daniel’s Law are sound—not

arbitrary or discriminatory.        All non-governmental entities are

treated the same.    The New Jersey Legislature has had to grapple

with a very complex and important issue in trying to protect

covered persons who seek to uphold the rule of law and who by

the very nature of their jobs are in the public eye.              The

Supreme Court has dictated that each case must be decided on its

own facts.    It has never ruled on a case like the ones now

before this court.    The law is not unconstitutional simply

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                                    JA112
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because the Legislature may not have come up with a complete

answer to the problem of the safety, security, and fear of

reprisal of covered persons.        It acted in response to the

attempted assassination of Judge Salas, the murder of her son,

and the wounding of her husband, all of which resulted after an

assailant obtained her home address through the Internet.               The

special although not total focus of Daniel’s Law is to prevent

the use of the Internet as the source of intelligence to

facilitate other such tragedies.        The Legislature cannot be

faulted for its approach based on a very real set of facts,

which unfortunately are not unique.          The perfect is not the

enemy of the good.

            The Supreme Court in Williams-Yulee, supra, did

recognize that underinclusiveness can be a red flag in

determining whether a law limiting speech advances a state

interest.   In that case, the Court upheld against an

underinclusive First Amendment challenge a regulation of the

Florida Bar prohibiting a judicial candidate from personally

soliciting money for her election.          Williams-Yulee, 575 U.S. at

455-56.   This narrowly drawn regulation did not prevent the

candidate from establishing a committee of lawyers to raise

money for her campaign and did not ban her from sending thank-

you notes to her contributors.        Nor did it require an elected



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                                    JA113
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judge to recuse in any case in which a lawyer-contributor

appeared.     The Court observed:

             A State need not address all aspects of a
             problem in one fell swoop; policymakers may
             focus on their most pressing concerns. We
             have accordingly upheld laws – even under
             strict scrutiny – that conceivably could
             have restricted even greater amounts of
             speech in service of their stated interests.

Id. at 449.     The present situation is no different.            Daniel’s

Law is not underinclusive because it may not address “all

aspects of the problem in one fell swoop.”            Rather, it does

materially promote the state’s interest of the highest order in

protecting judges, prosecutors and other law enforcement

officers from harm.

             The defendants challenge other aspects of Daniel’s

Law.    They criticize the law’s sweep in not limiting notice of

non-disclosure to situations where there are “true threats.”                  By

then, any notice not to disclose a home address and unlisted

telephone number is probably too late.           That would be analogous

to closing the barn door after the horse has left.              The

Legislature was not unreasonable in determining that the law to

be effective must allow covered persons to request non-

disclosure preemptively.       Defendants also argue that the

definition of “disclose” is too broad.           The law reads as it does

to advance the state’s significant interest in protecting the



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                                      JA114
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lives and well-being of covered persons.         This argument is not

persuasive.

           Defendants further suggest that a protective order

would be a sufficient remedy.       It is questionable that the entry

of a protective order would be effective after the information

is released.    The court disagrees that this legislative scheme

is invalid.

           Defendants take issue with the assignment provision of

Daniel’s Law.   The Legislature made a rational decision in

allowing covered persons to assign their claims.            In its view,

it will make the enforcement more effective.           It is not hard to

imagine that many covered persons may find it too difficult, too

cumbersome, or too expensive to hire counsel or to proceed

against dozens of defendants on their own without an assignee.

           The court has considered the various other challenges

defendants raise to the form of the law.         They are all without

merit.   Defendants are simply disagreeing with the Legislature’s

policy choices.     Reasonable people of course may have different

views about those choices.     Simply because the law could have

been written differently does not make it unconstitutional.

                                     V.

           The defendants in addition assert that Daniel’s Law is

unconstitutional on its face because it is a strict liability

statute, that is because it provides for actual or liquidated

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                                    JA115
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damages for non-compliance without regard to fault.             It is the

fallback position of the defendants that plaintiffs must

establish that the defendants had the specific intent to violate

the requirements of Daniel’s Law.          Plaintiffs and the New Jersey

Attorney General counter that the standard of liability is

negligence.   They take the position that plaintiffs must prove

that defendants acted unreasonably in failing to take down the

requested home addresses and unlisted phone numbers.

            Liability without fault is known both to the civil and

criminal law.   See, e.g., Smith v. California, 361 U.S. 147, 150

(1989).   The Supreme Court, however, has carved out an exception

against strict liability where a law restricts the freedom of

speech.   The Court has held unconstitutional an ordinance which

provided for strict criminal liability against booksellers who

had an obscene or indecent writing or book in their places of

business.   Id. at 155.   Likewise, the Court in The Florida Star

ruled invalid under the First Amendment a civil privacy statute

which provided for a negligence per se standard of culpability.

491 U.S. at 539-40, 541 n.9.

            Daniel’s Law provides a covered person or the person’s

assignee with a civil remedy.       Relief is only available after a

covered person takes the initiative to transmit a written notice

of non-disclosure to an entity.       The covered person must also

state he or she is a person authorized to request non-

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                                   JA116
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disclosure.   The entity has 10 business days thereafter not to

disclose or not to make available the home address and

unpublished phone telephone number of the covered person.

N.J.S.A. 2C:20-21.1(6).     For failure to comply, the court shall

award to a covered person or his or her assignee: (1) actual

damages but not less than liquidated damages at the rate of

$1,000 for each violation; (2) punitive damages upon proof of

willful or reckless disregard of the law; and (3) preliminary

and equitable relief.    N.J.S.A. 56:8-166.1(c).

           The standard for determining culpability under

Daniel’s Law for actual or liquidated damages is of course a

matter of state law.    See Erie R.R. Co. v. Tompkins, 304 U.S.

64, 78 (1938).   To the extent that the state law itself does not

on its face set forth the standard, this court must look to its

construction by the New Jersey Supreme Court.           If that court has

not had occasion to address the issue, this court must predict

how it would rule.    Packard v. Provident Nat’l Bank, 994 F.2d

1039, 1046 (3d Cir. 1993).

           In deciding what standard applies, the court must keep

in mind relevant principles of statutory construction applied in

New Jersey.   To this end, statutes must be construed to conform

to the Constitution if the statute is reasonably susceptible to

such a construction.    State v. Carter, 255 A.3d 1139, 1153 (N.J.

2021); State v. Burkert, 174 A.3d 987, 998 (N.J. 2017).              Courts

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                                    JA117
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must also avoid an interpretation of a statute which leads to

absurd results.     N.J. Republican State Comm. v. Murphy, 236 A.3d

898, 908 (N.J. 2020).

           Daniel’s Law does not state explicitly what standard

of liability applies for actual or liquidated damages.              However,

it does require that the offending conduct amount to “willful or

reckless disregard of the law” in order for the award of

punitive damages.     It would be nonsensical and effect an absurd

result for the court to read into Daniel’s Law a standard of

civil liability for actual or liquidated damages which requires

the same degree of culpability as or a higher degree of

culpability than the standard of civil liability enunciated in

the statute for punitive damages.          Thus, liability for actual or

liquidated damages does not demand a showing of specific intent

or of willful or reckless conduct when recovery of punitive

damages may occur only with proof of willful or reckless

conduct.

           That leaves the question whether the standard for

actual and liquidated damages is either liability without fault

or negligence.    If Daniel’s Law imposes strict liability, it

likely runs afoul, as a privacy statute, of the above cited

precedents of the United States Supreme Court.           The Court has

invalidated strict liability statutes that restrict speech.

See, e.g., The Florida Star, 491 U.S. at 541.           Based on New

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                                    JA118
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Jersey precedents, this court must read the Daniel’s Law to

avoid this outcome if it is reasonably susceptible to a

constitutional construction.

           To ascribe a strict liability standard to Daniel’s Law

not only would likely render the law unconstitutional but also

could lead to absurd results.       Under such a standard, a noticed

entity would be liable even if it would be unreasonable or

impossible under the circumstances to meet the statutory 10 day

take-down deadline.    Damages under this scenario would have to

be awarded if a hurricane or other natural disaster had taken

place which totally impeded the ability of the noticed entity to

comply in a timely manner.     The same result would be forthcoming

if a fire had destroyed a mailed notice shortly after receipt

and the direction for non-disclosure was lost through no one’s

fault before it could be implemented.        The noticed entity would

also be on the hook if its computer system failed after having

received thousands of notices at one time, and it was unable to

take down all the information within the allotted period.

           Daniel’s Law is reasonably susceptible to a

construction with a negligence standard of liability.             It is a

privacy statute analogous to the common law tort of invasion of

privacy of the intimate details of a person’s life.             The New

Jersey Supreme Court has explained that recovery for this tort

requires proof of “the unreasonable publication of private

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                                   JA119
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facts.”    Romaine, 537 A.2d at 291-92.      This is a negligence

test.   There is no reason to think that the New Jersey Supreme

Court would not apply the same test here as it did in Romaine. 9

Daniel’s Law must be read as imposing liability only if a

defendant unreasonably disclosed or made available the home

addresses and unlisted telephone numbers of covered persons

after the statutory deadline had expired.

            In summary, the court concludes that Daniel’s Law does

not mandate a specific intent standard of liability or a

standard of liability without fault for actual or liquidated

damages.    The inclusion of a negligence standard of liability

for actual or liquidated damages is a reasonable construction of

Daniel’s Law, avoids absurd results, is consistent with

analogous New Jersey privacy law, and saves the law from

constitutional repugnancy.

            This court predicts that the Supreme Court of New

Jersey would construe Daniel’s Law as requiring a covered person

or assignee to establish an entity’s negligence in order to




9.   The New Jersey Model Civil Jury Charges classify the
various privacy torts under the rubric “Intentional Torts.” New
Jersey Courts, Model Civil Jury Charges System §§ 3.10-3.14,
http:www.uscourts.gov/courts/civil/model-civil-jury-charges.
This classification does not have the imprimatur of the New
Jersey Supreme Court and cannot supersede Romaine. See
Graphnet, Inc. v. Retarus, Inc., 269 A.2d 413, 423 (N.J. 2022).
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       Case: 24-8047 Document: 25    Filed 11/26/24
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obtain an award of actual or liquidated damages under N.J.S.A.

56:8-166.1(c)(1).

                                    VI.

           The United States Supreme Court has declared that

courts should decide cases on their particular facts and

circumstances when they involve the interaction of privacy and

the right of free speech with the caveat that any privacy

statute restricting speech is likely unconstitutional if it

imposes liability without fault.       At this stage of the pending

cases, the court must accept as true the well-pleaded facts and

may take judicial notice as appropriate of other facts.              After

applying the legal analysis enumerated by the Supreme Court to

the particular facts and circumstances presented here, Daniel’s

Law with its negligence standard of liability for actual or

liquidated damages is constitutional on its face.            The speech

that is restricted is not of public significance, the law

imposing the restriction serves to further a need of the highest

order of the State of New Jersey, and the law serves the

significant interest of the State and is not fatally

underinclusive.




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                                   JA121
    Case: 25-1555   Document: 27     Page: 257      Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document1-1
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           The consolidated motion of the defendants to dismiss

these actions on the ground that Daniel’s Law is facially

unconstitutional will be denied.



                                           BY THE COURT:



                                           /s/   Harvey Bartle III
                                                                             J.




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                                   JA122
Case: 25-1555   Document: 27    Page: 258    Date Filed: 04/14/2025




Case: 24-8047   Document: 1-1    Page: 123   Date Filed: 12/12/2024




            EXHIBIT C



                               JA123
      Case: 25-1555   Document: 27    Page: 259   Date Filed: 04/14/2025


Case 1:24-cv-05658-HB Document
      Case: 24-8047 Document: 1-127 Page:
                                     Filed 124
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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY


 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4037
 WE INFORM, LLC, et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4041
 INFOMATICS, LLC, et al.       :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4045
 THE PEOPLE SEARCHERS, LLC,    :
 et al.                        :
________________________________________________________________

 ATLAS DATA PRIVACY            :            CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4075
 DM GROUP, INC., et al.        :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4080
 DELUXE CORPORATION, et al.    :
________________________________________________________________


                                     JA124
        Case: 25-1555     Document: 27     Page: 260    Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document
      Case: 24-8047 Document: 1-127 Page:
                                     Filed 125
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ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :            NO. 24-4096
 DELVEPOINT, LLC, et al.       :
________________________________________________________________

ATLAS DATA PRIVACY             :            CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :             NO. 24-4098
 QUANTARIUM ALLIANCE, LLC,     :
 et al.                        :
________________________________________________________________

ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :            NO. 24-4103
 YARDI SYSTEMS, INC., et al.   :
________________________________________________________________

ATLAS DATA PRIVACY             :            CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :             NO. 24-4141
 DIGITAL SAFETY PRODUCTS,      :
 LLC, et al.                   :
________________________________________________________________

ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :            NO. 24-4143
 CIVIL DATA RESEARCH           :
________________________________________________________________




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                                         JA125
        Case: 25-1555     Document: 27     Page: 261    Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document
      Case: 24-8047 Document: 1-127 Page:
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ATLAS DATA PRIVACY             :            CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :             NO. 24-4160
 SCALABLE COMMERCE, LLC,       :
 et al.                        :
________________________________________________________________

ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :            NO. 24-4174
 LABELS & LISTS, INC           :
________________________________________________________________

ATLAS DATA PRIVACY             :            CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :             NO. 24-4176
 INNOVIS DATA SOLUTIONS INC., :
 et al.                        :
________________________________________________________________

ATLAS DATA PRIVACY             :            CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :             NO. 24-4178
 ACCURATE APPEND, INC.,        :
 et al.                        :
________________________________________________________________

ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :            NO. 24-4256
 ZILLOW, INC., et al.          :
________________________________________________________________




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                                         JA126
         Case: 25-1555     Document: 27     Page: 262    Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document
      Case: 24-8047 Document: 1-127 Page:
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ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :            NO. 24-4261
 EQUIMINE, INC., et al.        :
________________________________________________________________

ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :            NO. 24-4292
 MELISSA DATA CORP., et al.    :
________________________________________________________________

 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
          v.                   :
                               :            NO. 24-4324
  RESTORATION OF AMERICA,      :
 et al.                        :
________________________________________________________________

ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :            NO. 24-4345
 i360, LLC, et al.             :
________________________________________________________________

ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :            NO. 24-4380
 GOHUNT, LLC, et al.           :
________________________________________________________________




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                                           JA127
        Case: 25-1555     Document: 27     Page: 263    Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document
      Case: 24-8047 Document: 1-127 Page:
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ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :            NO. 24-4383
 ACCUZIP, INC., et al.         :
________________________________________________________________

ATLAS DATA PRIVACY             :            CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :             NO. 24-4385
 SYNAPTIX TECHNOLOGY, LLC,     :
 et al.                        :
________________________________________________________________

ATLAS DATA PRIVACY             :            CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :             NO. 24-4389
 JOY ROCKWELL ENTERPRISES,     :
 INC., et al.                  :
________________________________________________________________

ATLAS DATA PRIVACY             :            CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :             NO. 24-4390
 FORTNOFF FINANCIAL, LLC,      :
 et al.                        :
________________________________________________________________

ATLAS DATA PRIVACY             :           CIVIL ACTION
CORPORATION, et al.            :
                               :
         v.                    :
                               :            NO. 24-4392
 MYHERITAGE, LTD., et al.      :
________________________________________________________________




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                                         JA128
        Case: 25-1555     Document: 27     Page: 264     Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document
      Case: 24-8047 Document: 1-127 Page:
                                     Filed 129
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 ATLAS DATA PRIVACY            :           CIVIL ACTION
 CORPORATION, et al.           :
                               :
         v.                    :
                               :            NO. 24-4434
 E-MERGES.COM, INC.            :
________________________________________________________________

 ATLAS DATA PRIVACY                   :              CIVIL ACTION
 CORPORATION, et al.                  :
                                      :
          v.                          :
                                      :                NO. 24-4609
 NUWBER, INC., et al.                 :

________________________________________________________________

 ATLAS DATA PRIVACY             :           CIVIL ACTION
 CORPORATION, et al.            :
                                :
          v.                    :
                                :            NO. 24-4664
 ROCKETREACH LLC, et al.        :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-4949
 BELLES CAMP COMMUNICATIONS,    :
 INC., et al.                   :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5600
 PROPERTYRADAR, INC., ET AL.    :
________________________________________________________________




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                                          JA129
    Case: 25-1555    Document: 27     Page: 265     Date Filed: 04/14/2025

Case 1:24-cv-05658-HB Document
      Case: 24-8047 Document: 1-127 Page:
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                                                      Filed:712/12/2024
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ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5656
 THE ALESCO GROUP, L.L.C.       :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5658
 SEARCHBUG, INC.                :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-5775
 AMERILIST, INC., et al.        :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-7324
 US DATA CORPORATION, et al.    :
________________________________________________________________

ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-8075
 SMARTY, LLC, et al.            :
________________________________________________________________




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                                    JA130
    Case: 25-1555    Document: 27     Page: 266     Date Filed: 04/14/2025

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      Case: 24-8047 Document: 1-127 Page:
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ATLAS DATA PRIVACY              :           CIVIL ACTION
CORPORATION, et al.             :
                                :
         v.                     :
                                :            NO. 24-8451
 COMPACT INFORMATION SYSTEMS,   :
 LLC, et al.                    :
________________________________________________________________

ATLAS DATA PRIVACY                    :              CIVIL ACTION
CORPORATION, et al.                   :
                                      :
         v.                           :
                                      :              NO. 24-10600
DARKOWL, LLC, et al.                  :

                                    ORDER

           AND NOW, this     2nd day of December, 2024, it is
hereby ORDERED, pursuant to 28 U.S.C. § 1292(b), that it is the

opinion of the court that its Order dated November 26, 2024

involves a controlling question of law as to which there is a

substantial ground for difference of opinion and that an

immediate appeal from the order may materially advance the

ultimate termination of the litigation.

                                            BY THE COURT:




                                                                             J.




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                                    JA131
         Case: 25-1555      Document: 27     Page: 267    Date Filed: 04/14/2025

            Case: 24-8047    Document: 1-2    Page: 1    Date Filed: 12/12/2024
24-8047 Case Caption                  1             December 17, 2024 2:05 PM
Atlas Data Privacy Corporation et al. v. We Inform, LLC
(D.N.J. No. 1:24-cv-04037)

Atlas Data Privacy Corporation et al. v. Infomatics, LLC
(D.N.J. No. 1:24-cv-04041)

Atlas Data Privacy Corporation et al. v. The People Searchers, LLC
(D.N.J. No. 1:24-cv-04045)

Atlas Data Privacy Corporation et al. v. DM Group, Inc.
(D.N.J. No. 1:24-cv-04075)

Atlas Data Privacy Corporation et al. v. Deluxe Corporation
(D.N.J. No. 1:24-cv-04080)

Atlas Data Privacy Corporation et al. v. Quantarium Alliance, LLC, and
Quantarium Group, LLC
(D.N.J. No. 1:24-cv-04098)

Atlas Data Privacy Corporation et al. v. Yardi Systems, Inc.
(D.N.J. No. 1:24-cv-04103)

Atlas Data Privacy Corporation et al. v. Digital Safety Products, LLC
(D.N.J. No. 1:24-cv-04141)

Atlas Data Privacy Corporation et al. v. Civil Data Research, LLC
(D.N.J. No. 1:24-cv-04143)

Atlas Data Privacy Corporation et al. v. Scalable Commerce, LLC, and National
Data Analytics, LLC
(D.N.J. No. 1:24-cv-04160)

Atlas Data Privacy Corporation et al. v. Labels & Lists, Inc.
(D.N.J. No. 1:24-cv-04174)

Atlas Data Privacy Corporation et al. v. Innovis Data Solutions, Inc.
(D.N.J. No. 1:24-cv-04176)

Atlas Data Privacy Corporation et al. v. Accurate Append, Inc.
(D.N.J. No. 1:24-cv-04178)

Atlas Data Privacy Corporation et al. v. Zillow, Inc., and Zillow Group, Inc.
(D.N.J. No. 1:24-cv-04256)

Atlas Data Privacy Corporation et al. v. Equimine, Inc

                                           JA132
         Case: 25-1555     Document: 27     Page: 268      Date Filed: 04/14/2025

           Case: 24-8047    Document: 1-2       Page: 2   Date Filed: 12/12/2024
24-8047 Case Caption                        2                  December 17, 2024 2:05 PM
(D.N.J. No. 1:24-cv-04261)

Atlas Data Privacy Corporation et al. v. Thomson Reuters Corporation, Thomson
Reuters Holdings Inc., Thomson Reuters Canada Limited, Thomson Reuters
Applications Inc., Thomson Reuters Enterprise Centre GmbH, and West
Publishing Corporation
(D.N.J. No. 1:24-cv-04269)

Atlas Data Privacy Corporation et al. v. Melissa Data Corp.
(D.N.J. No. 1:24-cv-04292)

Atlas Data Privacy Corporation et al. v. Restoration of America and Voter
Reference Foundation LLC
(D.N.J. No. 1:24-cv-04324)

Atlas Data Privacy Corporation et al. v. i360, LLC
(D.N.J. No. 1:24-cv-04345)

Atlas Data Privacy Corporation et al. v. GoHunt, LLC, GoHunt Management
Holdings, LLC, and GoHunt Management Holdings II, LLC
(D.N.J. No. 1:24-cv-04380)

Atlas Data Privacy Corporation et al. v. AccuZIP, Inc.
(D.N.J. No. 1:24-cv-04383

Atlas Data Privacy Corporation et al. v. Synaptix Technology, LLC, and
Voterrecords.com
(D.N.J. No. 1:24-cv-04385)

Atlas Data Privacy Corporation et al. v. Joy Rockwell Enterprises, Inc.
(D.N.J. No. 1:24-cv-04389)

Atlas Data Privacy Corporation et al. v. Fortnoff Financial, LLC
(D.N.J. No. 1:24-cv-04390)

Atlas Data Privacy Corporation et al. v. MyHeritage Ltd. and MyHeritage
(USA), Inc.
(D.N.J. No. 1:24-cv-04392)

Atlas Data Privacy Corporation et al. v. E-Merges.com Inc.
(D.N.J. No. 1:24-cv-04434)

Atlas Data Privacy Corporation et al. v. Nuwber, Inc.
(D.N.J. No. 1:24-cv-04609
                                                                 .

                                          JA133
         Case: 25-1555      Document: 27     Page: 269    Date Filed: 04/14/2025

            Case: 24-8047    Document: 1-2    Page: 3    Date Filed: 12/12/2024
24-8047 Case Caption                  3             December 17, 2024 2:05 PM
Atlas Data Privacy Corporation et al. v. RocketReach LLC
(D.N.J. No. 1:24-cv-04664)

Atlas Data Privacy Corporation et al. v. Belles Camp Communications, Inc.
(D.N.J. No. 1:24-cv-04949)

Atlas Data Privacy Corporation et al. v. PropertyRadar, Inc.
(D.N.J. No. 1:24-cv-05600)

Atlas Data Privacy Corporation et al. v. The Alesco Group, L.L.C., Alesco AI,
LLC, Alesco Marketing Solutions, L.L.C., Stat Resource Group Inc., and
Response Solutions Group, LLC
(D.N.J. No. 1:24-cv-05656)

Atlas Data Privacy Corporation et al. v. Searchbug, Inc.
(D.N.J. No. 1:24-cv-05658)

Atlas Data Privacy Corporation et al. v. Amerilist, Inc.
(D.N.J. No. 1:24-cv-05775)

Atlas Data Privacy Corporation et al. v. US Data Corporation
(D.N.J. No. 1:24-cv-07324)

Atlas Data Privacy Corporation et al. v. Smarty, LLC, and SmartyStreets, LLC
(D.N.J. No. 1:24-cv-08075)

Atlas Data Privacy Corporation et al. v. Compact Information Systems, LLC,
Accudata Integrated Marketing, Inc., Alumnifinder, ASL Marketing, Inc.,
College Bound Selection Service, Deepsync Labs, Homedata, and Student
Research Group
(D.N.J. No. 1:24-cv-08451)

Atlas Data Privacy Corporation et al. v. DarkOwl, LLC
(D.N.J. No. 1:24-cv-10600)

We Inform, LLC; Infomatics, LLC; The People Searchers, LLC; DM Group, Inc.;
Deluxe Corporation;
Quantarium Alliance, LLC; Quantarium Group, LLC; Yardi Systems, Inc.; Digital
Safety Products, LLC;
Civil Data Research; Scalable Commerce, LLC; National Data Analytics, LLC;
Labels & Lists, Inc.;
Innovis Data Solutions Inc.; Accurate Append, Inc.; Zillow, Inc.; Zillow
Group, Inc.; Equimine, Inc.; Melissa Data Corp.
                         )
Restoration of America; Voter Reference Foundation, LLC; i360, LLC; GoHunt,
LLC

                                           JA134
         Case: 25-1555     Document: 27     Page: 270    Date Filed: 04/14/2025

           Case: 24-8047    Document: 1-2    Page: 4    Date Filed: 12/12/2024
24-8047 Case Caption                  4             December 17, 2024 2:05 PM
GoHunt Management Holdings LLC; GoHunt Management Holdings II, LLC; AccuZIP,
Inc.;
Synaptix Technology, LLC; VoterRecords.com; Joy Rockwell Enterprises, Inc.;
Fortnoff Financial, LLC;
MyHeritage, Ltd.; E-Merges.com, Inc.; Nuwber, Inc.; RocketReach LLC; Belles
Camp Communications, Inc.;
PropertyRadar, Inc.; The Alesco Group, L.L.C.; Alesco AI, LLC; Alesco
Marketing Solutions, L.L.C.;
Stat Resource Group Inc.; Response Solutions Group, LLC; Searchbug, Inc.;
Amerilist, Inc.; US Data Corporation;
Smarty, LLC; Compact Information Systems, LLC; Accudata Integrated Marketing,
Inc.; Alumnifinder;
ASL Marketing, Inc.; College Bound Selection Service; Deepsync Labs;
HomeData;
Student Research Group; DarkOwl, LLC; Thomson Reuters Corporation; Thomson
Reuters Canada Limited;
Thomson Reuters Enterprise Centre GmbH; and West Publishing Corporation,

                                                          Petitioner




   ;

                                          JA135
         Case: 25-1555      Document: 27        Page: 271         Date Filed: 04/14/2025

         Case: 24-8047      Document: 1-3       Page: 1       Date Filed: 12/12/2024



                                      OFFICE OF THE CLERK


PATRICIA S. DODSZUWEIT       UNITED STATES COURT OF APPEALS                            TELEPHONE

     CLERK                             FOR THE THIRD CIRCUIT                        215-597-2995
                                 21400 UNITED STATES COURTHOUSE
                                         601 MARKET STREET
                                      PHILADELPHIA 19106-1790
                                Website: www.ca3.uscourts.gov

                                     December 17, 2024



RE: Petitions for Permission to Appeal
Case Numbers: 24-8046 & 24-8047


PACER account holders are required to promptly inform the PACER Service Center of
any contact information changes. In order to not delay providing notice to attorneys or pro
se public filers, your information, including address, phone number and/or email address,
may have been updated in the Third Circuit database. Changes at the local level will not
be reflected at PACER. Public filers are encouraged to review their information on file
with PACER and update if necessary.


To All Parties:

The Clerk has received two petitions for leave to appeal docketed at Nos. 24-8046 and
24-8047.

The two $600 fees paid for these petitions have been refunded. No fee is due for a
petition for permission to appeal. If a petition is granted, fees will be required for each
resultant appeal. See Fed. R. App. P. 5(d).

All inquiries should be directed to your Case Manager in writing or by calling the Clerk’s
Office at 215-597-2995. This Court’s rules, forms, and case information are available on
our website at http://www.ca3.uscourts.gov.

Counsel for Petitioners:

As counsel for Petitioners you must file:
1. Application for Admission (if applicable);
2. Appearance Form;
3. Disclosure Statement for each Petitioner.

                                            JA136
        Case: 25-1555     Document: 27      Page: 272      Date Filed: 04/14/2025




         Case: 24-8047     Document: 1-3      Page: 2     Date Filed: 12/12/2024




These forms must be filed within seven (7) days from the date of this letter.

Should the Court grant a petition for permission to appeal, additional forms will be
required.

Any response in opposition must be filed within 10 days after the petition was served.
All responses must be accompanied by an Appearance Form and Disclosure
Statement.

The petitions and any response(s) will be forwarded to the Court for disposition. The
parties will be advised when an order is entered by the Court. Parties who do not intend
to participate in the petition must notify the Court in writing.


Very truly yours,
Patricia S. Dodszuweit, Clerk


By: s/ Pamela
Case Manager
267-299-4943


cc: all counsel




                                         JA137
        Case: 25-1555     Document: 27      Page: 273       Date Filed: 04/14/2025



Case 1:24-cv-04037-HB       Document 44      Filed 03/18/25     Page 1 of 5 PageID: 1163




        UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                      ECO-031


                                      No. 24-8046

                Atlas Data Privacy Corporation et al. v. Delvepoint, LLC
                               (D.N.J. No. 1:24-cv-04096)

                                   Delvepoint, LLC,
                                                         Petitioner


                                      No. 24-8047

Atlas Data Privacy Corporation et al. v.           Atlas Data Privacy Corporation et al. v.
           We Inform, LLC                                   Yardi Systems, Inc.
      (D.N.J. No. 1:24-cv-04037)                         (D.N.J. No. 1:24-cv-04103)

Atlas Data Privacy Corporation et al. v.           Atlas Data Privacy Corporation et al. v.
           Infomatics, LLC                              Digital Safety Products, LLC
      (D.N.J. No. 1:24-cv-04041)                         (D.N.J. No. 1:24-cv-04141)

Atlas Data Privacy Corporation et al. v.           Atlas Data Privacy Corporation et al. v.
      The People Searchers, LLC                           Civil Data Research, LLC
      (D.N.J. No. 1:24-cv-04045)                         (D.N.J. No. 1:24-cv-04143)

Atlas Data Privacy Corporation et al. v.           Atlas Data Privacy Corporation et al. v.
           DM Group, Inc.                          Scalable Commerce, LLC, and National
      (D.N.J. No. 1:24-cv-04075)                            Data Analytics, LLC
                                                         (D.N.J. No. 1:24-cv-04160)
Atlas Data Privacy Corporation et al. v.
         Deluxe Corporation                        Atlas Data Privacy Corporation et al. v.
      (D.N.J. No. 1:24-cv-04080)                            Labels & Lists, Inc.
                                                         (D.N.J. No. 1:24-cv-04174)
 Atlas Data Privacy Corporation et al. v.
Quantarium Alliance, LLC, and Quantar-             Atlas Data Privacy Corporation et al. v.
            ium Group, LLC                               Innovis Data Solutions, Inc.
       (D.N.J. No. 1:24-cv-04098)                        (D.N.J. No. 1:24-cv-04176)

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Atlas Data Privacy Corporation et al. v.           Atlas Data Privacy Corporation et al. v.
        Accurate Append, Inc.                         Synaptix Technology, LLC, and
      (D.N.J. No. 1:24-cv-04178)                             Voterrecords.com
                                                         (D.N.J. No. 1:24-cv-04385)
Atlas Data Privacy Corporation et al. v.
 Zillow, Inc., and Zillow Group, Inc.              Atlas Data Privacy Corporation et al. v.
      (D.N.J. No. 1:24-cv-04256)                       Joy Rockwell Enterprises, Inc.
                                                         (D.N.J. No. 1:24-cv-04389)
Atlas Data Privacy Corporation et al. v.
            Equimine, Inc.                         Atlas Data Privacy Corporation et al. v.
      (D.N.J. No. 1:24-cv-04261)                           Fortnoff Financial, LLC
                                                         (D.N.J. No. 1:24-cv-04390)
 Atlas Data Privacy Corporation et al. v.
Thomson Reuters Corporation, Thomson               Atlas Data Privacy Corporation et al. v.
Reuters Holdings Inc., Thomson Reuters                MyHeritage Ltd. and MyHeritage
 Canada Limited, Thomson Reuters Ap-                             (USA), Inc.
 plications Inc., Thomson Reuters Enter-                 (D.N.J. No. 1:24-cv-04392)
prise Centre GmbH, and West Publishing
                Corporation                        Atlas Data Privacy Corporation et al. v.
        (D.N.J. No. 1:24-cv-04269)                           E-Merges.com Inc.
                                                         (D.N.J. No. 1:24-cv-04434)
Atlas Data Privacy Corporation et al. v.
          Melissa Data Corp.                       Atlas Data Privacy Corporation et al. v.
      (D.N.J. No. 1:24-cv-04292)                                Nuwber, Inc.
                                                         (D.N.J. No. 1:24-cv-04609)
Atlas Data Privacy Corporation et al. v.
Restoration of America and Voter Refer-            Atlas Data Privacy Corporation et al. v.
         ence Foundation LLC                                 RocketReach LLC
      (D.N.J. No. 1:24-cv-04324)                         (D.N.J. No. 1:24-cv-04664)

Atlas Data Privacy Corporation et al. v.           Atlas Data Privacy Corporation et al. v.
              i360, LLC                             Belles Camp Communications, Inc.
      (D.N.J. No. 1:24-cv-04345)                         (D.N.J. No. 1:24-cv-04949)

Atlas Data Privacy Corporation et al. v.           Atlas Data Privacy Corporation et al. v.
 GoHunt, LLC, GoHunt Management                             PropertyRadar, Inc.
Holdings, LLC, and GoHunt Manage-                        (D.N.J. No. 1:24-cv-05600)
        ment Holdings II, LLC
      (D.N.J. No. 1:24-cv-04380)

Atlas Data Privacy Corporation et al. v.
            AccuZIP, Inc.
      (D.N.J. No. 1:24-cv-04383)
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Atlas Data Privacy Corporation et al. v.           Atlas Data Privacy Corporation et al. v.
The Alesco Group, L.L.C., Alesco AI,               Smarty, LLC, and SmartyStreets, LLC
  LLC, Alesco Marketing Solutions,                       (D.N.J. No. 1:24-cv-08075)
L.L.C., Stat Resource Group Inc., and
   Response Solutions Group, LLC                 Atlas Data Privacy Corporation et al. v.
      (D.N.J. No. 1:24-cv-05656)                Compact Information Systems, LLC, Ac-
                                                cudata Integrated Marketing, Inc., Alum-
Atlas Data Privacy Corporation et al. v.         nifinder, ASL Marketing, Inc., College
            Searchbug, Inc.                        Bound Selection Service, Deepsync
      (D.N.J. No. 1:24-cv-05658)                 Labs, Homedata, and Student Research
                                                                 Group
Atlas Data Privacy Corporation et al. v.               (D.N.J. No. 1:24-cv-08451)
            Amerilist, Inc.
      (D.N.J. No. 1:24-cv-05775)                   Atlas Data Privacy Corporation et al. v.
                                                               DarkOwl, LLC
Atlas Data Privacy Corporation et al. v.                 (D.N.J. No. 1:24-cv-10600)
         US Data Corporation
      (D.N.J. No. 1:24-cv-07324)

          We Inform, LLC; Infomatics, LLC; The People Searchers, LLC; DM
       Group, Inc.; Deluxe Corporation; Quantarium Alliance, LLC; Quantarium
      Group, LLC; Yardi Systems, Inc.; Digital Safety Products, LLC; Civil Data
      Research; Scalable Commerce, LLC; National Data Analytics, LLC; Labels
       & Lists, Inc.; Innovis Data Solutions Inc.; Accurate Append, Inc.; Zillow,
       Inc.; Zillow Group, Inc.; Equimine, Inc.; Melissa Data Corp.; Restoration
      of America; Voter Reference Foundation, LLC; i360, LLC; GoHunt, LLC;
        GoHunt Management Holdings LLC; GoHunt Management Holdings II,
       LLC; AccuZIP, Inc.; Synaptix Technology, LLC; VoterRecords.com; Joy
      Rockwell Enterprises, Inc.; Fortnoff Financial, LLC; MyHeritage, Ltd.; E-
      Merges.com, Inc.; Nuwber, Inc.; RocketReach LLC; Belles Camp Commu-
      nications, Inc.; PropertyRadar, Inc.; The Alesco Group, L.L.C.; Alesco AI,
       LLC; Alesco Marketing Solutions, L.L.C.; Stat Resource Group Inc.; Re-
        sponse Solutions Group, LLC; Searchbug, Inc.; Amerilist, Inc.; US Data
      Corporation; Smarty, LLC; Compact Information Systems, LLC; Accudata
        Integrated Marketing, Inc.; Alumnifinder; ASL Marketing, Inc.; College
        Bound Selection Service; Deepsync Labs; HomeData; Student Research
       Group; DarkOwl, LLC; Thomson Reuters Corporation; Thomson Reuters
         Canada Limited; Thomson Reuters Enterprise Centre GmbH; and West
                                Publishing Corporation,
                                                         Petitioners


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                                     No. 25-8002

               Atlas Data Privacy Corporation et al. v. Spy Dialer, Inc.
                             (D.N.J. No. 1:24-cv-11023)

                                   Spy Dialer, Inc.,
                                                       Petitioner


                                     No. 25-8003

       Atlas Data Privacy Corporation et al. v. Lighthouse List Company, LLC
                            (D.N.J. No. 1:24-cv-11443)

                           Lighthouse List Company, LLC,
                                                       Petitioner


Present: BIBAS, FREEMAN, and CHUNG, Circuit Judges

 1. Petitions for Permission to Appeal under 28 U.S.C. § 1292(b) Filed by

     Delvepoint, LLC
     We Inform, LLC; Infomatics, LLC; The People Searchers, LLC; DM Group, Inc.;
     Deluxe Corporation; Quantarium Alliance, LLC; Quantarium Group, LLC; Yardi
     Systems, Inc.; Digital Safety Products, LLC; Civil Data Research; Scalable Com-
     merce, LLC; National Data Analytics, LLC; Labels & Lists, Inc.; Innovis Data So-
     lutions Inc.; Accurate Append, Inc.; Zillow, Inc.; Zillow Group, Inc.; Equimine,
     Inc.; Melissa Data Corp.; Restoration of America; Voter Reference Foundation,
     LLC; i360, LLC; GoHunt, LLC; GoHunt Management Holdings LLC; GoHunt
     Management Holdings II, LLC; AccuZIP, Inc.; Synaptix Technology, LLC;
     VoterRecords.com; Joy Rockwell Enterprises, Inc.; Fortnoff Financial, LLC;
     MyHeritage, Ltd.; E-Merges.com, Inc.; Nuwber, Inc.; RocketReach LLC; Belles
     Camp Communications, Inc.; PropertyRadar, Inc.; The Alesco Group, L.L.C.;
     Alesco AI, LLC; Alesco Marketing Solutions, L.L.C.; Stat Resource Group Inc.;
     Response Solutions Group, LLC; Searchbug, Inc.; Amerilist, Inc.; US Data Corpo-
     ration; Smarty, LLC; Compact Information Systems, LLC; Accudata Integrated
     Marketing, Inc.; Alumnifinder; ASL Marketing, Inc.; College Bound Selection Ser-
     vice; Deepsync Labs; HomeData; Student Research Group; DarkOwl, LLC; Thom-
     son Reuters Corporation; Thomson Reuters Canada Limited; Thomson Reuters En-
     terprise Centre GmbH; and West Publishing Corporation
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       Spy Dialer, Inc.
       Lighthouse List Company, LLC

 2. Plaintiffs’ Answer in Nos. 24-8046 and 24-8047

 3. Petitioners’ Motion in No. 24-8047 for Leave to File Reply, with Proposed Reply
    Attached

 4. Plaintiffs’ Answer in No. 25-8002

                                                        Respectfully,
                                                        Clerk

_________________________________ORDER________________________________
      The motion by the petitioners in No. 24-8047 to file a reply is GRANTED, and we
have considered the reply attached to their motion.

        Delvepoint’s petition to appeal in No. 24-8046 is DENIED. All other parties’ peti-
tions to appeal are GRANTED.

       Within five (5) days, the petitioners must pay the district clerk all required fees.
See Fed. R. App. P. 5(d)(1). The Clerk will then docket the appeals. See Fed. R. App. P.
5(d)(3).

       The appeals will be consolidated for all purposes.

      The appeals will be EXPEDITED. Briefing will proceed under the following per-
emptory schedule:
              Appellants’ joint opening brief must be filed by April 14, 2025.
              Appellees’ joint response brief must be filed by May 12, 2025.
              Appellants’ joint reply brief must be filed by May 27, 2025.

The Clerk will calendar the appeals for submission to a merits panel during the week of
July 7, 2025.

                                                        By the Court,

                                                        s/Stephanos Bibas
                                                        Circuit Judge

Dated: March 18, 2025
PDB/cc: All Counsel of Record
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